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                                        FIL~O
                                     EX-PARTS APPLICATION
                                                                    Z'.Z1 CK.2~~ ~ ~
                  1011 MAY 27 ~M !0~ 9
      MEMORANDUM ~i~GP       - ~. ~ AN~AAUTHORITIES IN SUPPORT
                      K Q~INTS
 2                          G EFITR,IL '~'~'           ~;;.,~i,~
                                   L, ~I ,". Fr t.t.
 3   I.PRELIMINARY STATEMENT. `.                               Jg
 4
          Out of fear and intimidation, PETITIONER, Abanoob Abdel-Malak,
 5
     brings yet, another        action that represents a road Respondents) have
 6
     traveled down before, and continue to travel, since 1998 with Horace
 7
     Roberts. The pattern and practice of Defendant illustrates why the
 8
     Defendant's Supervisor John Tavaglione has stated "I think we need to
 9
     say we're looking at sheriff for changing practices and training", in which
l0
     is the reason why Riverside County officials are urging the Sheriff's
11

12
     Department to do more to limit lawsuits that have cost taxpayers millions

13   of dollars. But yet, these practices and training have failed; in which an

14   estimated $136 million in legal payouts have Riverside County finances in
15   an `emergency situation' as officials warns.
16        First, In 1997, Preliminary Injunction was granted against
17   Respondents) denying the PETITIONER his constitutional rights and
18   due process (Watson v. County of Riverside). In 1998, the County of
19   Riverside, falsely imprisoned Horace Roberts for the murder of Terry
20 Cheek, and was wrongly imprisoned for a murder he did not do,just as in
21   my Ex-Parte Application, the Respondent(s)' suppressed evidence showing
22
     that Horace Roberts was innocent and fabricated other evidence, he is
23
     now free thanks to DNA evidence. In 2008, David Johansen of Riverside
24
     Police Department, shot and killed an unarmed man resulting in a
25
     $800,000 settlement(Douglas Steven Cloud v. County of Riverside). In
26
     2011, a Pepsi driver was awarded more than $325,000 for a false arrest
27
     incident that occurred in 2004(Perrin v. County of Riverside). In 2013,
28
     Defendant's beat a man to death costing the Respondents) to reach a
                                       - is-
                       INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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     settlement for $1.1 million (Johnson v. County of Riverside). In February
 2 2019, a jury awarded a mother $2.5 million for Riverside County Sheriff

 3 in a fatal shooting for the death of a mentally ill man (Smith v.
                                                                     County of
 4
     Riverside). In October 2019, Horace Roberts sues County of Riverside for
 5
     false imprisonment for over 20 years (Roberts v. County of Riverside).
 6
     Despite these repeated injunctions and actions against Respondent(s),
 7
     once again, an innocent individual deprived of his Federally protected
 8
     rights comes to court to request another order directing Respondents) to
 9
     stop the pattern and practice to stop violating the rights secured to the
to
     PETITIONER by the United States Constitution.
11
          This civil rights action is brought to meet the requirements for an
12
     attempted Ex-Parte for a Temporary Restraining Order, Preliminary
13

14
     Injunction. Due to the lack of legal knowledge; and physical, mental, and

15 psychological impairment from the misconduct the PETITIONER,

16 Abanoob Abdel-Malak, has suffered, PETITIONER respectfully request

17 legal assistance in serving, amending and drafting, and correcting any

ig mistakes as a Pro Se litigant. The PETITIONER, Abanoob Abdel-Malak
19 request immediate assistance of legal assistance, to stop the HATE

20 CRIMES and irreparable harm from prior and current harassment

21 encountered by Respondents) and to properly bring his claim against the

22 Respondent(s), as described in the Ex-Parte Application. The

23 PETITIONER, Abanoob Abdel-Malak's valid Ex-Parte Application

24
     requires a Temporary Restraining Order and Preliminary Injunction to
25
     have fundamental fairness, due process, privacy to properly prepare for
26
     this matter, and to stop living in fear of Respondents) past acts and
27
     unpredictable future acts against PETITIONER.
28

                                           - 19-
                       INSERT DOCiJMENT TITLE (e.g., MOTION TO STRIKE)
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                                 EX-PARTS APPLICATION


 1        This civil rights action seeks compensatory and punitive damages on
 2   behalf of the (known and unknown) Respondents) Color of Law violations
 3   and Failure to Intervene under the United States Constitution (and/or
 4
     federal law), and under the California Constitution (and/or state law)in
 5
     connection to a false arrest and obstruction of justice regarding a federally
 6
     protect activity, when the PETITIONER, Abanoob Abdel-Malak, was
 7
     falsely arrested inside the Superior Court of California, County of
 s
     Riverside, Family Law Division located at 4175 Main Street, Riverside,
 9
     California 92501 while attempting to file an Ex-Parte as an indigent
l0
     Defendant in Pro Se and to purchase certified copies of court documents to
11
     adequately defend himself in regards to the criminal cause as guaranteed
12
     under the California Constitution Article I, § 15.
13

14
          In addition to the above Hate Crime, while the PETITIONER,

15   Abanoob Abdel-Malak, was falsely imprisoned, the Respondents)

16   attempted to place Methamphetamine on the PETITIONER to
17   fabricate evidence, denied the PETITIONER Medical Care, denied
18   the PETITIONER food and water for an excess of 12 hours, denied
19   and/or blocked the PETITIONER's call's for legal counsel and call
20 to the FBI's West Covina office, did not return the PETITIONER's
21   court document's for his Ex-Parte and did not provide just
22   compensation for his property, and the Respondent(s)' only
23   released the PETITIONER once he cried about chest pain needing
24
     to go the hospital upon the medical staff strongly urging
25
     Respondent(s)'to release him to seek medical treatment.
26
          The PETITIONER is an American Citizen and Californian Citizen,
27
     who has been denied equal protection of the law and due process from
28
     January, 2019 until now. Beginning from January 2019, the
                                       -Zo-
                       INSERT DOCiJMENT TITLE (e.g., MOTION TO STRIKE)
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                                    EX-PARTS APPLICATION


     PETITIONER has been denied nearly every right under the United States
 2   constitution given to a defendant in a criminal prosecution case. The
 3   PETITIONER, Abanoob Abdel-Malak, an American born citizen, brings
 4
     this action to halt Respondent(s)' reckless, outrageous, and unfair use of
 5
     public courts', V.A.W.A. Funding &Resources, and request protection
 6
     from threats, intimidation, fear, and coercion resulting from the false
 7
     arrest and harassment by Respondent(s).
 8
          The American Citizen respectfully seeks a temporary restraining
 9
     order and preliminary injunction against any arrests, threats of arrest,
to
     criminal charges, threats of further criminal charges, prosecutions arising
11
     from alleged violation of DVRI 1901830 and; refrain Respondent(s)'from
12
     using CLETS in recording communications, monitoring Internet activity
13

14
     of PETITIONER. Preliminary Injunction Relief is needed and warranted

15   because the American Citizen has been deprived of Federally Protected

16   rights, because the Respondents) have unjustly secured and continue to

17   secure criminal charges from an investigation and/or prosecution based on
18   this unconstitutional trial, and therefore the physical liberty, due process,
19   and fundamental fairness of Abanoob Abdel-Malak are being violated. The
20   Fourteenth Amendment secures the right to due process; the Eighth
21   Amendment prohibits the use of cruel and unusual punishment. During
22   an arrest or detention, these rights can be violated by the use of force
23   amounting to punishment(summary judgment). The person accused of a
24
     crime must be allowed the opportunity to have a trial and should not be
25
     subjected to punishment without having been afforded the opportunity of
26
     the legal process.
27
          Respondents) acts and omissions constitute unfair practices in
28
     violation of color of law and hate crimes by Respondent(s). In addition to
                                          - Zi -
                          INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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      putting the public at serious risk of further hate crimes. Respondents)
 2I   have thereby placed American citizens and California citizens in jeopardy
 3    of other serious harms, such as the loss of employment and employment
 4
      opportunities. Law enforcement officers and other officials like judges and
 5
      prosecutors have been given tremendous power by local, state, and federal
 6
      government agencies—authority they must have to enforce the law and
 7
      ensure justice in our country. These powers include the authority to
 8
      ~, detain and arrest suspects, to search and seize property, to bring criminal
 9
      charges, to make rulings in court, and to use deadly force in certain
10
      situations.
11
            Therefore, due to the Defendant's pattern and practice, failure to
12
      intervene, failure to keep from harm, and deprivation of federal activities,
13

14
      and motive of conspiring against PETITIONER. Respondent(s)' unwitting

15    victims, such as myself and those mentioned above, cannot reasonably

16    avoid injury because they are unlikely to discover that Respondents) have

17    openly misused their power and have caused increase in loss of tax dollars
18    due to law suits arising out of color of law violations. Individuals' who lack
19    knowledge of how court's operate are unable to prevent injuries by the
20 Respondent(s)'.
21          Courts are important because they help protect our constitutional
22    rights to equal protection and due process under the law. Second, both
23    criminal and civil courts provide the opportunity for the parties to have
24
      their cases heard by neutral judges and/or juries. This process ensures
25
      that all cases are decided in a fair and consistent manner. Third, Courts
26
      provide a forum to resolve disputes and to test and enforce laws in a fair
27
      and rational manner. Fourth, Courts are an impartial forum, and judges
28
      are free to apply the law without regard to the states wishes or the weight
                                            - 22-
                         INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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 1   of public opinion but in line with human rights. Fifth, Court decisions are
 2   based on what the law says and what the evidence proves; there is no
 3   place in the courts for suspicion, bias or favoritism.
 4
           This is why justice is often symbolized as a blindfolded figure
 5
     balancing a set of scales, oblivious to anything that could detract from the
 6
     pursuit of an outcome that is just and fair. Sixth, Courts exist to do
 7
     justice, to guarantee liberty, to enhance social order, to resolve disputes,
 8
     to maintain the rule of law, to provide for equal protection to all
 9
     regardless of background and to ensure the due process of law. Seventh,
to
     Courts exist so that the equality of individuals and the state is reality
11
     rather than empty rhetoric and to ensure that the rights enshrined in the
12
     ECHR are applied in its decisions and complied with by legislation.
13

14
     Lastly, preventing abuse of this authority, however, is equally necessary

15   to the health of our nation's democracy. That's why it's a federal crime for

16   anyone acting under "color of law" to willfully deprive or conspire to
17   deprive a person of a right protected by the Constitution or U.S. law.
Is "Color of law" simply means the person is using authority given to him or
19   her by a local, state, or federal government agency.
20        A Temporary Restraining Order ("TRO") is necessary to immediately
21   halt Respondent(s)' illegal practices and protect the public. The proposed
22   TRO filed herewith would enjoin Respondent(s)' illegal conduct, require
23   the immediate investigation of CLETS misuse, and Court misuse. This
24
     relief is critical to prevent further harm to injured individual's like myself
25
     and preserve the Court's ability to provide effective final relief. A
26
     Temporary Restraining Order is needed to prevent imminent harm to
27
     PETITIONER. Defendant has made clear through repeated seizure and
28
     destruction of PETITIONERs'court documents' and property that this is
                                           - 23-
                        INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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                                 EX-PARTS APPLICATION


     part of an ongoing procedure and practice to deprive an American citizen
 2 of his Federally Protected rights and ongoing Color of Law violations. As

 3 recently of March 14, 2019, Respondent(s)' acts of forging the

 4
     PETITIONERS'signature was the start of"fabricating evidence against
 5
     and falsely arresting an individual also violates the color of law statute,
 6
     taking away the person's rights of due process and unreasonable seizure".
 7
     In the case of deprivation of property, the color of law statute would be
 s
     violated by unlawfully obtaining or maintaining a person's property,
 9
     which oversteps or misapplies the official's authority. Unless restrained
l0
     by an Order of this Court, these unlawful acts will continue and result in
11
     another false arrest and possible heart attack, to stop the current
12
     irreparable injury and deprivation of federal activities, and allow the
13

14
     PETITIONER to enter state courts without fear of a false arrest.

15        PETITIONER brings this action to halt Respondent(s)' continued

16   misuse of CLETS with the intention and practice to prevent the
17   PETITIONER to secure and search for legal representation to seek
18   damages arising from Respondent(s)' false arrest on the PETITIONER on
19   July 1st, 2019 while inside the Riverside Family Courthouse located at
20   4175 Main Street, Riverside, CA. Respondent(s)' have continued to
21   deprive the PETITIONER's his constitutional rights' and privacy. The
22   Respondent(s)' have denied the PETITIONER the right to file court
23   documents, denied the PETITIONER the right to view the original file to
24
     his case as a defendant, denied the right to purchase certified copies, and
25
     denied the PETITIONER the right to issue one Subpoena from his 15 plus
26
     Witness List to key witnesses in his case, and have denied the
27
     PETITIONER the right to electronically file documents through e-submit.
2s
     The Respondent(s)' conduct has placed the PETITIONER at substantial
                                          - 24-
                       INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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                                  EX-PARTS APPLICATION


      risk of another heart attack, fraud, invasion of privacy, and job loss.
      Respondent(s)' conduct also exposes a motive to once again falsely arrest
 3 PETITIONER,in order to refrain the PETITIONER
                                                 to sue Defendant for
 4.
      damages arising from Civil Rights' violations and California Tort Claims.
 5
      Respondent(s)' actions have demonstrated a pattern or practice of conduct
 6
      that deprives persons of rights protected by the Constitution or U.S. laws,
 7
      as in the past with Horace Roberts v. County of Riverside, and now with
 8
      Abanoob Abdel-Malak. This law, commonly referred to as the Police
 9
      Misconduct Statute, gives the Department of Justice authority to seek
10
      civil remedies in cases where law enforcement agencies have policies or
11
      practices that foster a pattern of misconduct by employees. This action is
12
      directed against an agency, not against individual officers.
13

14
           As a result of the foregoing, Respondents) are engaged in ongoing

15 violations founded on a claim and/or right arising under the laws of the

16 United States. Article VI, Paragraph 2 of the U.S. Constitution is

17 commonly referred to as the Supremacy Clause. It establishes that the

18 federal constitution, and federal law generally, take precedence over state

19 laws, and even state constitutions. It prohibits states

20 from interfering with the federal government's exercise of its

21 constitutional powers, and from assuming any functions that are

22 exclusively entrusted to the federal government. The following ongoing

23 violations violate Color of Law violations; i. Amendment IV: Search and

24
      Arrest Warrants, ii. Amendment V: Rights in Criminal Cases, iii.
25
      Amendment VI: Rights to a Fair Trial, iv. Amendment VIII: Bails, Fines,
26
      and Punishments, v. Title 42, U.S.C., Section 14141, vi. Title 18, U.S.C.
27
      Section 241 Conspiracy of Rights, vii. Title 18, U.S.C., Section 242
28
      Deprivations of Rights under Color of Law, viii. Title 18, USC, Section 245
                                           - 25-
                        INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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 1 —Federally Protected Activities, which prohibits unfair or deceptive acts
 2 or practices in or affecting United States citizens.

 3
     I II. FACTUAL AND PROCEDURAL BACKGROUND
 4

 5        Due to the reckless and unlawful behavior of the law enforcement
 6   officers, judicial officers, and court clerks and others described as
 7   Respondent(s), I, Abanoob Abdel-Malak, the PETITIONER was falsely
 8   arrested; subjected to illegal strip searches; falsely imprisoned for a period
 9   in excess of 12 hours, denied food and water during the imprisonment;
10   while falsely imprisoned I was subject to excessive force, assault, battery,
11   and deprived of medical care; falsely charged with criminal offenses, and
12   compelled at considerable expense and personal inconvenience to return
13
     to the Superior Court of California -County of Riverside while out of state
14
     in fear of RESPONDENTS)to defend myself of the false and illegal
is
     charges and/or possible false arrest warrant arising from Federally
16
     Protected Activities.
17
          Moreover, I, Abanoob Abdel-Malak, was the victim of unreasonable
18
     and excessive force when Deputies stole my court document's and did not
19
     return them, and denied food and water while false imprisoned for over 12
20
     hours during my illegal arrest. In addition, while falsely imprisoned, I
21
     was denied the right to call counsel and calls were blocked. I was only
22

23
     released until I begged needing to get the hospital urgently, and inmates

24 had to get Deputies attention to tell them to check on me, because I was

25 ignored by Deputies and locked in a room, See Exhibit C.

26        Following the false arrest and false imprisonment on July 1st, 2019,

27 ~ I had to leave the State of California on July 5th, 2019, and lost my new

28

                                           - 26-
                        INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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                                   EX-PARTS APPLICATION


  1   job I just started on July 1st, 2019. See Exhibit I and Declaration in
 2    Support line 14.
 3          Currently, Defendant, forged a court document with my signature in
 4
      which they misspelled my name,falsely arrested and falsely imprisoned
 5
      me, illegally accessed my medical records to conspire against me, have
 6
      illegally granted the right to record my communications and monitor my
 7
      Internet for 5 years.
 8
           Due to Respondent(s)' pattern and practice of color of law violations
 9
      and past unlawful conduct, I have not been able to receive calls from
 10
      important attorney's that would be able to assist me with this matter. I
11
      have no privacy whatsoever.
12
           Below will demonstrate hate crimes against the
13

14
      PETITIONER because of his race of being ,name,ethnicity, and

15    gender, all resulting in Color of Law violations during federally

16    protected activities, as: The six enumerated `federally protected

17    activities' are: `(A) enrolling in or attending any public school or
18    public college;(B) participating in or enjoying any benefit,
19    service, privilege, program,facility or activity provided or
20 administered by any State or subdivision thereof;(C)applying for
21    or enjoying employment,...;(D)serving...as grand or petit juror;
22 (E)traveling in or         using any facility of interstate commerce,...;(F)
23    enjoying the goods [or] services [of certain places of public
24
      accommodation].' 18 U.S.C.§ 245(b)(2).]
2s
26

27
        On or about January 31st, 2019, Officer #1356 Detective David
28
   Johansen of Riverside Police Department who is 115 Qualified and
   Supervising Officer #0152 Robert Tipre opens false police reports to begin
   framing me for my ex-girlfriend s Dad, David Pierce. The police reports
                                           - 2~-
                        INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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                                 EX-PARTE APPLICATION


     are needed and in accordance with getting a Criminal Protective Order
     and/or V.A.W.A. Stalking to trx and get me in jail by opening a criminal
     case against me. An investigation began on me around this time without
     my consent or any probable cause. This is the beginning of Invasion of
     Privacy.
           A. Stalking
           B. Corporal Injury to a Spouse
           On February 8th of 2019, PETITIONERS Desiree Pierce and David
     Pierce refused to enter into a legal agreement, a mutual joint stipulation,
     that would have served the same purpose.as a restraining order. This
     mutualjoint stipulation could have satisfied strongly represents the
     corruption stemming from RESPONDENTS)"s color of law violations.
        On February 12th, 2019, Officer #1356 Detective David Johansen of
   Riverside Police Department who is 115 Qualified and Supervising Officer
   #0152 Robert Tire reo ens false police reports to begin framin me for
   my ex-girlfriend s Dad, avid Pierce. The police reports are nee~ed and in
10 accordance with getting a Criminal Protective Order and/or V.A.W.A.
   Stalking to try and get me in jail by opening a criminal case against me.
11 An investigation began on me around this time without my consent or any
   probable cause. This is once again an Invasion of Privacy.
12      A. Stalking
        B. Corporal Injury to a Spouse
13
           On February 21st, 2019 I, was the Petitioner filed a domestic
14   violence prevention order in tie Superior Court of California in San
     Bernardino, to restrain Desiree Pierce from further contact or
15   communication with me, in order to prevent David Pierce from forcing his
     daughter Desiree Pierce to file a restraining order against me. Such a
16   restraining order,,a false allegation which would appear on my record,
     would negatively impact my character and fitness to become an attorney
17   and my future.job prospects. I am still in fear of and am fighting against
     the assassination of my character, in light of the theft-by-extortion of my
1s   relationship with Desiree Pierce, and the ongoing aggressive and
     fraudulent actions taken a ainst me, by David Pierce court clerks, and
19   law enforcement to cover t~eir pattern and practice off' Color of Law
     violations. This is the beginning of where m due process and equal
20   protection is denied and 6th Amendment of ~ights to a Fair Trial is
     violated.
21
           On March 12, 2019 or March 13, 2019, Deputy F. Wilkerman from
22   San Bernardino County Sheriff Department and personnel from Riverside
     County Sheriff Department invade my privacy and illegally hear my
23   conversation with the court clerk about what day I should have my
     continued hearing, April 2, 2019, April 3 .2019, or April 4, 2019; invasion
24   of privacy once again and intentional infliction of emotional distress. This
     was a clear disregand to my due process and equal protection of the law,
25   beginnin from this incident until today I have,been stripped of physical
     liberty,(~ due pr~ocess, and (3)fundamental fairness under the
26   Constitution of United Stated.
27       On March 13, 2019, Officer #1356 Detective David Johansen of
   Riverside Police Department who is 115 Qualified and Supervising Officer
2s #0152 Robert Tipre reopen false police re~orts to begin framing me for my
   ex-girlfriend's Dad, David Pierce. The police reports are needed and in
                                       - 2g-
                       INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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     accordance with getting a Criminal Protective Order and/or V.A.W.A.
     Stalking to try and get me in jail by opening a criminal case against me.
     An investigation began on me around this time without my consent or any
     probable cause. This is the beginning of Invasion of Privacy.
          A. Stalkin
          B. Corpora Injury to Spouse
     On March 14th,.Bailiff F. Wilkerson Court Reporter Karen Digs #7789,
     and forged my signature on a "Stipu~ation for Judge Pro Temp and filed
     it at the San Bernardino Family Court House, case FAMSS 1901320. The
     fact that the forged signature is on the right side of the form raises the
     suspicion that the forged signature may be intended to be transferred to
     other different documents, and suggests why the Riverside County Family
     Courthouse refuses to allow me to purchase a certified copy of the
     document. This is a clear example of conspiring against Federally
     Protected Activities.
     Sometime between March 14, 2019 —July 2019, I go to the Rancho
l0 Cucamonga County Law Library and call 911 and/or Rancho Cucamonga
       olice department to make a report about the forged document and
11   ~Officer
      raudulent action on behalf of the County San Bernardino, the Unknown
              or Deputy was a Hispanic woman from San Bernardino County
12 Sheriff Department and refused to allow me to make a police report,
     instead attempted to accuse me of being under the influence, and once I
13 stated to her ou can speak to my attorney, she left me alone. The Rancho
     Cucamonga ~olice Department who is contracted with San Bernardino
14 County Sheriff owed me a duty to make a police report.

15 Sometime between March 14, 2019 —July 2019, I call 911 in the City of
     Fontana and make police reports with the City of Fontana about the
16 incidents that have been occurring and request them to investigate the
     forged document, the officer's explain to.me that I need to present the
17 document to Commissioner Gassner. Prior to this incident, I attempted
     numerous times with Riverside Police Department, but they deny helping
18 me in any way.

19 The false and/or altered restrainin~ order AND CRIMINAL
     PROTECTIVE ORDER wasn't on file until the 3rd of April, which would
20 explain why they refused to give me certified copies of it, refused to allow
     me to issue subpoenas, and on that same day forged my signature on a
21 "Stipulation for the Appointment of Court Commissioner as Judge Pro
     Tem." I need legal counsel to properly explain how important the forged
22 Stipulation is in my claim.

23 On April 2nd, 2019, the Petitioner's Father, David Pierce, pushes my
     sister and scares my mom while walking between my sister, and mother
24 at 8:28 a.m., 2 minutes before our scheduled hearing formy DV case
     FAMSS 1901320, at 8:30 a.m. at the San Bernardino Court House in front
25 of courtroom 555. Due to David Pierce harassing and scaring my Mother
     & Sister, I refused to bring them to my hearing as witnesses on April 3rd.
26 2019 as well as speak out loud regarding the evidence I have of Parent
     Abuse. My sister went to file a Police Report,# 801900050. The police
27 report did not describe what the real incident was. The Reporting Officer
     wrote the wrong information and stated the crime was an incident".
28 Officer J.G. Medrano of the San Bernardino County Sheriff Department
     fabricates the police report.
                                           -29-
                        INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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                                  EX-PARTS APPLICATION



     On A ril 17th, 2019, alleged PETITIONER Desiree Pierce finally signs
     the "stipulation for the Appointment of Court Commissioner as Judge Pro
     Tem.
     On or around May 9th, 2019 I visit the San Bernardino Sheriff's office to
     purchase a certified copy of tie police report of when David Pierce pushed
     my sister inside the courthouse. The police report was inaccurate of" what
     occurred. I decided to report this to the FBI along with the forged court
     document with signature and report that officer's refused to allow me
     to make a police report.
     On or around May 9th, 2019, I visited the FBI-West Covina satellite office
     to make a report of the false police reports and corruption oing on with
     my case, specifically the forged signature and fabricated~o~ice reports
     from the H,ESPONllENT(S)s'. The a~ent makes a copy o the document's I
     provided her with as well as David Pierce pushing my mom and sister,
     along with him chasing me in his truck on March 27th, 2019.
to
   On June 28th, 2019, I notified Mario Rivas, the attorney of Desiree and
11 David Pierce, that I would file in person for an Ex-Parte on July 1st, 2019
   at or around 7:30 a.m. at the Riverside Family Courthouse located at 4175
12 Main Street, Riverside, California and in accordance with Court rules.

13
      IMPRISONMENT'
                  2HAfiECRIMEANDCOLOROF LAW VIOLATION
14
           On July 1st, 2019, as I stood in line to file for an Ex-Parte hearing at
15   the Riverside Family Court, I was falsely arrested by Riverside County
     Sheriff Bailiff H. Lopez(and four other lleputies),for "trespassing" and
16   "contempt of court," in order to prevent me from filing my court
     documents. In the process of the arrest, the bailiff confiscated my Ex-
17   Parte application. 1 was detained at the Riverside County Jail until
     around 10:00 pm that evening. The arrest caused me to lose my new 1'ob
18   and suffer injuries to my heart, resulting in a tri to ur ent care. ~I also
     have a video that I can provide as evidence. SE~ EX~BIT N O THE
19   COURT FILINGS PETITIONER WAS P~EVENTED FROM FILING
     AND INSTEAD FALSELY ARRESTED IN LINE TO OBSTRUCT
20   JUSTICE. THE COURT DOCUMENT'S WERE DESTROYED AND
     TAKEN AWAY FROM ME SEE BOOKING INTAKE RECEIPT:"NO
21   OTHER ITEMS" AS SEEl~ IN EXHIBIT C.
22
          Title 42, U.S.C., Section 14141 makes it unlawful for state or local
23 law enforcement agencies to allow officers to engage in a pattern or
   practice of conduct that derives persons of rights protected by the
24 (;onstitution or U.S. laws. his law, commonly referred to as the Police
   Misconduct Statute, gives the Department of Justice authority to seek
25 civil remedies in cases where law enforcement agencies have policies or
   practices that foster a pattern of misconduct by employees. This action is
26 directed against an agency, not against individual officers.

27       Title 18, USC,.Section 241 —Conspiracy Against Rights
   This statute makes it unlawful for two or more persons to conspire to
28 injure, oppress, threaten, or intimidate any person of any state, territory
   or district in the free exercise or enjoyment of any right or privilege
                                            - 30-
                        INSERT DOCiJMENT TITLE (e.g., MOTION TO STRIKE)
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      secured to him/her by the Constitution or the laws of the United States,
     (or because of his/her having exercised the same). It further makes it
      unlawful for two or more persons to go in disguise on the highway or on
      the premises of another with the intent to prevent or hinder his/her free
      exercise or enjoyment of any rights so secured.
         On July 1st, 2019 Deputies assaulted me inside the facility and
   attempted to place Methamphetamine on my clothes and medical
   report I denied. I am detained all day and Deputies attempt to
   place Meth on a medical test I denied. A bail of~50,000.00 is
    laced for allegin~g the charge of"Contempt of ourt" and
    Tres ass" at ~F075 Main Street Riverside, CA. But I was at 4175
   Main ~treet, Riverside, CA, anc~ my car was parked in the arking
   lot of Riverside Family Court House. See Booking Intake ~eceipt,
   and my court documents we're taken from me. A criminal case
   was for "Trespassing" and "Contempt of Court" with a case
   hearing scheduled on July 17, 2019. 1 notified my employer via
   email explainin that this was the soonest I could contact them,in
10 which July 1st, 019 was my first day at my new job after being
   unemployed for months and searching for employment.
11
   While I was detained inside the jail facility, I attempted to call the FBI —
12 West Covina office to get emergency assistance, but the Riverside County
   Sheriff Department blocked my call.
13
     While I was detained inside the jail facility, I attempted to call various
14 attorney's of number's I had memorized to get emergency assistance,
     because the Riverside Sheriff deputies would not ive me my cell phone to
15 get my Attornly contacts, but the Riverside Coun~y Sheriff llepartment
     blocked my ca 1.
16
     While I was detained, I was assaulted, denied medical care requesting to
17 get to a hospital as soon as possible, denied food and water all day. I was
     sub~ect to deputies attemptin to place Methamphetamine on my clothes
1s an~ a medical test, in whichdenied to take the medical test.
19 Once I was finally released, I was only released because I needed to get to
     a hospital, my court document's were not returned to me. See Booking
20 Intake Receipt regarding my Items list, Exhibit C.
21   C. POST FALSE ARREST AND FALSE IMPRISONMENT —HATE
     CRIME AND COLOR OF LAW VIOLATION
22
           On July 2nd, 2019; my.employer terminates my employment due to
23 the false arrest &false imprisonment and trauma, lamaging my career
     and licensing requirements. The False Arrest and False lmprisonment
24 caused me to lose my new job later in November 2019.

25       On July 2nd, 2019, from 5:39 p.m. — 7:20 p.m. I visit the FBI West
   Covina office in person once again to report the false arrest and provide
26 them with detail's of what occurred inside the jail facility and informed
   them I attempted to call them from inside the cell but the officer's blocked
27 the calls I attempted to make. I spoke to duty agents, Shane and Sabrina.
   While speaking to Shane and Sabrina, they refused to listen to a
2s suspicious voicemail I received and refused to stay on the phone while I
   call them regarding the call, I received from a Rachel from Lawyer Letter.
                                           - 31-
                        INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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      After speaking with Shane &Sabrina, they said they were goin to
      investigate my claim, but the body language and meetin only aced me
      in fear, and the "duty agents" refused to let me speak wi the ~BI agent
      spoke with back in May, 2019. My gut told me, that the duty agents and
      some FBI employees were going to conspire against me to cover up the
      corruption.
            On July 5th, 2019, in fear and under Post Traumatic Stress
      Disorder, I fly out of the state of California after the ongoing harassment
      and in fear of Kiverside County Sheriff. halt the harassment and misuse
      of CLETS by the County of Riverside and/or County of San Bernardino, I
      moved out of the State of California in fear of law enforcement attempting
      or attempting to fabricate more evidence against me to put me in jail.
          On July 17th — 29th, 2019, while living in North Carolina, I had to
     o to the hospital and the medical staff found that my heart was losing
      ~
      nzymes, so 1 was admitted to different hospital to monitor my heart and
    perform more chest test. I need.legal counsel to investigate my medical
10 reports and incident with certain events at the hospital. Since a Judge
    and Law Enforcement do not need to abide by_HIPYA,. I can prove that
1 1 law enforcement, whether it was the FBI in West Covina or any law
    enforcement from California.
 12
            On Ju~ly 30, 2019, I notarized a court document, Electronically Filed,
 13   I receive a Notice of Return.
 14        On August 8, 2019, my ex-attorney and court clerks file a
      Substitution of Attorney, I terminated him over a month ago.
 15
         Sometime between August 8 2019 —September 9, 2019, Ryan
 16Nevans of Riverside City contacts ~ioke County Sheriff's Office in Raeford,
   North Carolina, and to ask me police questioning, Investigating Deputy,
17 Quiles, Phone Number (910) 875-5111. Hoke County Sheriff go visit my
   sister in person at her dome residence to ask about me.
is
         On September 9, 2019, Commissioner Wendy Harris denies my
19 "power of attorney' document while I was out of state for my sister to
   appear for me while I was in Georgia. After my sister tells me she denied
20 the Power of attorney, and said the hearing ~was cancelled because I was
   not present. I finally call "Detective" Ryan Nevans. He begins asking me
21 questions such as:
   i.    "Did you send a package to Gail O'Rane?"
22 ii.   "Why did you send a package to Gail O'Rane?"
   iii. "Do you intend to return to California?"
23 iv. "You're located in Hinesville, Georgia, huh?"

24 Attempting to use police questioning to have a reason to arrest me, using
   the strategyin Miranda v. Arizona, 1966. I told him I would sue for the
25 continued harassment and false arrest and to leave me and my family
   alone.
26
         On September 20, 2019, I filed court documents with the Los
27 Angeles Federal Courthouse requesting an attorney to assist me with a
   Notice of Removal. The original Judge advises the case to ADR. I
28 requested a Motion to Appoint Legal G~ounsel and was offer ADR but then
   the case was randomly assigned to a corrupt Judge who helps Riverside
                                           - 32-
                        INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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     County Sheriff department with their corruption. The Judge David O
     Carter was in Orange County in which he has no jurisdiction regarding
     the matter. I would like to emphasize, my notice of removal was not
     correctly filed with the Federal Court because Riverside Family Court
     refuses to give me certified copies, in which a Notice of Removal requires
     all court documents and proceedings to be attached to a "Notice of
     Removal".
           On September 23, 2019, the case is randomly assigned to District
     Judge David O. Carter who was in Oran e County and he remands the
     case back to the State Court, Riverside ~amily Court House where I was
     falsely arrest and stripped of my court documents. He has also remanded
     other court cases for Civil Rights the statement of facts against Riverside
     County Sherriff Department.
         On October 22, 2019 I visit the FBI West Covina satellite office for
   the third and last time, te~ling them they need to do something about
   what has occurred and the false arrest and false imprisonment from what
l0 occurred on July 1st, 2019.

11         On November 20, 2019, I rec~uest a change of venue for the following
     reasons: The current Judge,(and 13ailif~, and court house exhibits
12   Prejudice against the me. I am requesting a Judge over a Commissioner.
     The court house does not have any qualified Judges for this complex case.
13   Commissioner Wendy Harris is Caucasian and so is the Petitioner, I feel
     due the type of name and ethnic background I am at a disadvantage. As
14   well as, because Gail O'Rane will be in trouble for allowin her Bailiff H.
     Lopez to falsely arrest me on July 1st, 2019 she has a ves~ed interest to
15   help her friend Gail O'Rane from law school in Pe~ pperdine. Bailiff Ryan
     Evans harassed my sister Mary Roman while in North Carolina sending
16   Hoke Count Police to my sister's house to attempt to get me to for "police
     questioning'. I also do not know how Riverside County Sheriff retrieved
17   my sister's home address in North Carolina. On September 9th, 2019:
     Hearing was dismissed. Commissioner Wendy Harris disapproved of my
18   power of attorney document my sister presented when I was out of state
     in Georgia, and had no money to return to California for that hearing.
19
          On November 21, 2019: court clerks refuse to allow me to file
20 an ex-parte once again before my hearing. Because of once again
   being denied to file and Ex-Parte as a Self-R~e~resented Indigent
21 Defendant, I request Commissioner Wend Harris to recuse herself as
   allowed by California Family Law Court ~ules. she refuses to recuse
22 herself after I orally request my first request to have a jud~e removed
   from my case. I orally stated to recuse herself pursuant to alifornia Code
23 of Civil Procedure §170.6 and that she is bias because she has not
   appointment me legal counsel, or issued me any subpoena's to at least one
24 witness from my witness list of 15+ witness I intended to call.

25       On November 22, 2019: Commissioner Wendy Harris refuses to give
   me her California State Bar License Number. I explained to her that my
26 health is not fit to provide my defense to this case as I desperately need
   an attorney and that I already suffered a heart from the false arrest by
27 the bailiff's in the court room. She refused to provide me with everyone's
   name inside the court room. She stated she does not practice law in
28 California. And practices outside the state of California. She grants the
   Criminal Protective Order for 5 years, allowing the same law enforcement
                                          - 33 -
                       INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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                                   EX-PARTS APPLICATION


      agency who arrested me to continue to record my communications and
      monitor my Internet, in which they can arrest me without notice.
            From January 14, 2020 —until now I have been attempting to .
      appeal the decision. The court clerks refuse to accept my electronic filing
      and now have altered the case summary and fabricated information that
      is crucial to my ap~peal. If I cannot file court documents? purchase certified
      copies, and I was falsely imprisoned for attem ting to file an Ex-Parte
      resulting in my heart to su~~"er, I fear I will su~fer another heart condition
      from the stress and corruption to conspire against me.
            Due to the false arrest and false imprisonment, I am in fear of doing
      in person to file court documents or pick up court documents as I am in
      the Court of Appeals now. As well as, due to my lack knowledge in the
      legal field, I do not know what exact documents to draft and file, as well
      as, I do not have experience with electronic filing.
             Petitioner/Plaintiff filed the original complaint against
 10   Respondent/Defendant(s) on February 18, 2020, only in order to satisfy
      court rules and procedures for an ex-parte applacation and temporary
 11   restraining order for in'unctive relief. In addition, Magristrate Judge
      Kenly Kiya Kato was t~e same Magistrate Judge that preformed
 12   "discovery pursuant to General Order No. 05-07 on 5:1ycv1808 in order to
       et the case randomly assigned to Honorable District Judge David O
 13   ~ arter, in which she is a Respondent/Defendant I plan to bring suit
      against in this action. Under General Order No. 05-07, it states that
 14   "llistrict judges in the Central District of California refer all discovery-
      related motions to the "Assigned Magistrate Judge", and in this matter,
 15   the original "Assi ned M~ag~strate Judge" was Honorable Alka Sagar, not
      Magistrate Judge~enly,Kiya Kato.
 16          This case was original filed and labeled with LACV20-01570-CJC-
      ASx, and after searching online all day yesterday and today for my case
 17   with the case title and name I discovered that the case is labeled
      EDCV20-00322-CJC-KKk. This is different from what I received from the
18    court clerk yesterday at 3:23 p.m. and not the onganal filing of court
      documents and not the Conformed Copies Honorable District Judge
19    Cormac J. Carney's rules and procedures request..In six minutes,
      Ma~ristrate Judge Kenyl Kiya Kato participated in an activity to chan~e
20    the Ilang time stamp and name. Once again, a court tactic that is out o
      my hands and placing me under an immense amount of stress.
21          The court filings, was scanned to alter my evidence. My evidence
      was in part in color, but was scanned in black and darkened so much that
22    my evidence detail's was permanentl damaged. In addition, the Exhibit's
      A — K, were so important for my Ex-~arte Application and can be deemed
23    as why all my orders were denied, my evidence was damaged and lost.
      The Chamber's office of District Judge Cormac J. Carney have also
24    recycled my Exhibit's and the court no lon er has hard physical copies of
      what I filed and only have the electronic P~F of evidence that has been
25    blackened and darkened.
            Abanoob Abdel-Malak, filed the original complaint and ex-parte
26    application with Exhibits A - K on February 18, 2020 at 3:23 p.m., only in
      order to satisfy court rules and procedures for an ex-parte ap lication and
27    temporary restraining order for emer ency in unctive relief. his case was
      originally filed and labeled with LAC~20-0150-CJC-ASx, I discovered
2s    that the case was altered and was refiled WITHOUT MY CONSENT
      labeled EDCV20-00322-CJC-KKk on February 18, 2020 at 3:30 p.m. and I
                                            - 34-
                         INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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      was never notified of the thange until I attempted to re aster for E-Filing
      and staff found no such case labeled LACV20-01570-~C-ASx. This is
      different from what I received from the court clerk and not the original
      filing.of court documents and not the Conformed Copies Honorable
      District Judge Cormac J. Carney's rules and procedures request. In six
      minutes, Magristrate Judge Kenyl Kiya Kato and/or the court clerk's
      participated in an activity to change the filing time stamp and name.
      Unce again, a court tactic that is out of my hands and placing me under
      an immense amount of stress.
             Following the discovery of the altered case number, I was forced to
      File a Motion to Disqualify ~J udges, but it not have evidence attached,
      because the evidence I attached was altered and destroyed. On February
      21, 2020, the court clerk made an error and it was never filed until Mr.
      Powers reached out to me and we discussed all the errors and issues with
      my initial filing. Not until March 26 or 27, 2020 was my Motion to
      Disqualify Judges finally filed. The errors caused me to have an unfair
      trial and no irreparably in1ury by my orders all being denied and evidence
      being altered and damaged.
 10          Sadly, these.errors were more than just a mistake in my opinion,
      based on my previous filing in September 20, 2019, case number 5:19-cv-
11    01808. The court filings, was scanned to alter my evidence. My evidence
      was in part in color, but was scanned in black and darkened so much that
12    my evidence detail's was permanentl damaged. In addition, the Exhibit's
      A — K, were so important for my Ex-~arte Application and can be deemed
13    as why all my orders were denied, my evidence was damaged and lost.
             The Chamber's office of District Judge Cormac J. Carney have also
14    recycled my Exhibit's and the court no lon er has hard physical copies of
      what I filed and only have the electronic P~F of evidence that has been
15    blackened and darkened. Petitioner/Plaintiff was not tom ensated for
      these unlawful takings of his~rivate property. SEE EXH~IT 4.
16           Due to each and ever H,espondent/llefendants atrocious actions,
      Petitioner/Plaintiff has su~ered extensive physical.injuries.
17    Petitioner/Plaintiff's injuries continue and he requires ongoing medical
      treatment.
18           Duran the entire incidents and each and every
      Respondent~efendant mentioned herein, Petitioner/Plaintiff was
19    unarmed, defenseless, and made no furtive movements or gestures
      whatsoever.
20           The Respondent/Defendants' brutal treatment and extortion of
      Petitioner/Plaintiff caused him to fear for his life and caused
21    Petitioner/Plaintiff serious physical in ury.
             Respondent/Defendants, and eac~ of them, acted under color of state
22    law as law enforcement officers of the Riverside Sheriff's Department.
            The Respondent/Defendants' actions were reckless and callously
23    indifferent to the Petitioner/Plaintiffs federal and state protected rights.
            The use of force a ainst the Petitioner/Plaintiff was the result of the
24    policy, practice and cus~om of the each Respondent/Defendant's
      llepartment to inadequately supervise and discipline law enforcement
25    officers who use excessive force, including deadly force.
            The inadequate supervision and discipline of Sheriff's deputies by
26    the County of Riverside, County of San Bernardino, and County of Los
      Angeles, and F.B.I., has led to the unnecessary and illegal use of excessive
27    force, including deadly force.
            The policy practice and custom of the Respondent/Defendants' each
28    and every one off' them is that when deputies use excessive force, other
      officers do not intervene to prevent the use of the illegal force, do not
                                            - 35-
                        INSERT DOCi1MENT TITLE (e.g., MOTION TO STRIKE)
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     arrest the officer engaging in the illegal activity, and. do not report the
     illegal activity.
           The policy, practice and custom of the County of Riverside with
     respect to allegations of excessive force reported by citizens, is to conduct
     a minimal investsgation designed to exonerate the officer involved rather
     than discover the true facts of the incident.
           As a result of this code of silence adhered to by Riverside County
     Sheriff"s Deputies and the inadequate investigation of allegations of the
     use of excessive force, deputies reasonably conclude that their use of
     excessive force will not result in discipline, termination, or criminal
     prosecution against them.
           The above policies and practices have resulted in a culture of
     violence in which the use of excessive force is an accepted and customary
     part of police work in the County of Riverside.
     A. Respondent/Defendants/Respondents:
         R an Nevins, David Johansen, Robert Tipre, Teresa Jones,
10 Kathy avid Graciela Miera, Kamari Williams, Tiffany, Jill
    Williams R. ill, Wendy Harris, H. Lopez Carter Juan Munoz,
~ 1 Estrada ~Z. Guerrero Sergio Mercado Robert Defiler, and Carlos F.
    Flores, Gail O Ranetogether,"Responc~ent(s)") are current or former
12 officers and employees of the Riverside County Sheriff's Department
    and/or the County of Riverside, California. Respondents) participated in
13 the investigation and/or conspired and/or prosecution a out the
    misconduct alleged in this Ex-Parte Application.
14
        Res ondent~~ DAVID GARY PIERCE, MARIO RNAS,and
15 ROBER~ DELL ,participated in the investigation and/or conspired
   and/or prosecution about the misconduct alleged in this Ex-Parte
16 Application

17          State of California: Coun~ty of Riverside: City of Riverside: Riverside
     Sheriff Department: Deputy:.H. Lo ez• —Initial arresting officer.on July
18   1St, 2019 and on Booking Receipt. 1 0~ 4 cueputies who arrested me inside
     the Su~ perior Court of California —Riverside Family Law Courthouse at
19   4175 Main Street Riverside, CA 92501. He was also the Bailiff in my case
     and he is Gail O'l~,ane's bailiff for courtroom F301. Location: Outside the
20   Riverside Family Law Courthouse on the back side next to the~ gate. He
     also denied to make a police report regarding the incident on March 21,
21   2019 with K. Williams refusing to let me purchase certified copies.
     Deputy: Unknown #1: Caucasian Male —Short and Overweight (he was
22   the Deputy that actually arrested me). Deputy: Unknown #~• Caucasian
     Male —Tall drove me to the Riverside Detention Center with I~. Lopez
23   sitting in the passenger seat. 1 of 4 deputies who arrested me inside the
     Superior Court of California —Riverside Family Law Courthouse at 4175
24   Main Street, Riverside, CA 92501. He knows David Pierce and Sherrie
     Pierce. Deputy:Unknown #3; Caucasian and/or Hispanic —Female and
25   wore glasses. 1 of 4 de uties who arrested me inside the Superior Court of
     California — Riverside~amily Law Courthouse at 4175 Main Street,
26   Riverside CA 92501; Deputy: Unknown #4• Caucasian Male, He
     attemptech to put "Meth" on my clothes, a mec~ical test I denied, and later
27   when 1 was detained inside the detention center; Deputy:Unknown #5;
     Caucasian and/or Hispanic Male with a dark black mustache. He
28   attempted to put "Meth" on my clothes, a medical test I denied, and later
     when 1 was detained inside the detention center. Deputy: Unknown #5;
                                            - 36-
                        INSERT DOCiJMENT TITLE (e.g., MOTION TO STRIKE)
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     Caucasian and/or Hispanic Male with a dark black mustache. He
     attempted to put "Meth" on my clothes, a medical test I denied, and later
     when 1 was detained inside the detention center. Deputy: Ryan Nevans;
     Acted as a Detective and harassed me with police questioning,Bailiff in
     my case. Riverside Police Department: Officer #1356, David Johansen
      he made false~police reports with David Pierce and Sherrie
       fierce) Officer #0152 Robert Tipre; Officer #1881, Ricardo Guerrero-
     Estrada; Officer #108 Juan Munoz; Superior Court of California —
     County of Riverside — ~,iverside Family Law Court: Court Clerks:
          Count of San Bernardino: San Bernardino Sheriff Department:
    Deputy: F ~ilkerman; forged my si nature on the Stipulation on March
    14, 2019.1~ttempted to arrest me on~arch 27, 2019 while distracting me
    when I was filling out my court forms trying to file an Ex-Parte regarding
    the forged stipulation Deputy: J.G. Medrano• he fabricated the police
    report regarding the I~ad llavid Pierce when ~e pushed my sister, mother,
    and me on April 2nd, 2019 ri ht before the hearing at 8:30 a.m. at S55 at
    Superior Court of California~ocated at San Bernardino Family
l0 Courthouse. Superior.Court of California —County of San Bernardino -
    San Bernardino District Family Law Court Clerk, Court Clerk: Karen
1 1 Diggs; Rancho Cucamonga Police Department: City of Rancho
    Cucamonga: Government Code § 910, 910.2, Fontana Police Department:
12 City of Fontana: Government Code § 910, 910.2,

13      And, Defendant Unknown Officers of the San Diego Police
   Department participated in the misconduct alleged in this Ex-Parte
14 Application.

15       Defendant Unknown Officers of the Riverside County Sheriffs
   Department participated in the misconduct alleged in this Ex-Parte
16 Application. llefendant Unknown Officers of the Riverside Police
   De artment participated in the misconduct alle ed in this Ex-Parte
17 Application. llefendant Unknown Officers of theSan Bernardino County
   Sheriff's Department participated in the misconduct alleged in this Ex-
18 Parte Application.

19      Defendant Unknown Officers of the Rancho Cucamonga Police
   Department, in which the Rancho Cucamonga City is contracted with San
20 Bernardino Count Sheriff's Department, participated in the misconduct
   alleged in this Ex-~arte Application.
21
          Defendant Unknown Officers of the Riverside County Sheriff's
22   Department participated in the misconduct alleged in this Ex-Parte
     Application.
23
          Defendant Unknown Officers of the Riverside Police Department
24   participated in the misconduct alleged in this Ex-Parte Application.
25        Defendant Unknown Officers of the Fontana Police De~artment
     participated in the misconduct alleged in this Ex-Parte Application.
26
          Defendant Unknown Officers of the San Bernardino County Sheriff's
27   Department participated in the misconduct alleged in this Ex-Parte
     Application.
28

                                         -37-
                      INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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 1       Each Defendant, known or unknown, acted under color of law and
   within the scope of his or her employment at all times relevant to this
 2 lawsuit. Unless otherwise noted, Respondents) are sued in their
   individual and official capacity.
 3

 4 '         PETITIONER is unaware of the true names and capacities of those
 5     Respondents) named herein as RESPONDENT(S). PETITIONERS will
       amend this Ex-Parte Application to allege said Respondent(s)' true names
 6
       and capacities when that information becomes known to PETITIONERS;
 7     and based on the decision of the Ex-Parte Application. PETITIONERS are
 8     informed and believes, and thereon alleges that RESPONDENTS)are
 9
       legally responsible and liable for the incident, injuries, and damages
       hereinafter set forth, and that each of said Respondents) proximately
10
       caused the injuries and damages by reason of negligent, careless,
11     deliberately indifferent, intentional, willful, or wanton misconduct,
12     including the negligent, careless, deliberately indifferent, intentional,
13     willful, or wanted misconduct in creating in creating and otherwise
       causing the incidents, conditions, and circumstances hereinafter set forth,
14
       or by reason of direct or imputed negligence or vicarious fault or breach of
15     duty arising out of the matters herein alleged. PETITIONERs will seek to
16     amend this Ex-Parte Application to set forth said true names and
17     identities of the unknown named DOE Respondents) when they are
       ascertained.
is
19          C. Respondent(s)' Pattern and Practice and Past Unlawful
            Conduct
20
         A. Res ondent(s)'SUPERIOR COURT OF CALIFORNIA —
21 RIVERSID~ COUNTY OF RIVERSIDE, RIVERSIDE POLICE
   DEPARTMENT,RNERSIDE COUNTY SHERIFF DEPARTMENT'S
22 will be labeled as RIVERSIDE.

23          The 1997 Preliminary Injunction: In Watson v. County of
24 Riverside, the PETITIONER police officer was ordered to write a report

25 about an incident in which he was accused of using excessive force. He

26 requested a consultation with an attorney prior to writing the report, but

27
       his request was denied. He was ultimately fired. The officer filed suit and
28
       obtained a preliminary injunction to prevent the county from using his
                                            - 38-
                         INSERT DOCUMENT TITLE (e.g., MOTION TO STRIKE)
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      report during the administrative appeal of his termination. the
 2I   preliminary injunction provided the entire injunctive relief the
 3    PETITIONER sought: his report was excluded from the administrative
 4
      proceeding. This is an example of the Defendant's pattern and practice is
 5
      disobeying the United States Constitution towards non-white's, hence the
 6
      Preliminary Injunction was granted against the County for denying the
 7
      PETITIONER his constitutional rights and due process. Watson v. County
 8
      of Riverside (C.D.CaI. 1997)976 F.Supp. 151.
 9
           After the former deputy sheriff made an arrest in which he struck
to
      suspects with his baton, the deputy's superior officers were aware that the
11
      arrest was likely to give rise to a criminal investigation and an internal
12
      administrative disciplinary proceeding affecting the deputy's employment.
13

14
      Upon returning to the sheriffs station, the deputy was ordered to prepare

15    a report concerning the pursuit and arrest. The deputy was denied the

16    opportunity to consult with his attorney prior to writing the report.
17 Although the deputy's Fifth Amendment privilege against self-

18 incrimination was not violated where the deputy's job required him to

19 write the report, the court granted the deputy's motion for a preliminary

20 injunction prohibiting the introduction of the report at any administrative

21    hearing concerning the deputy's discharge. The court determined that the
22 deputy had a fair chance of proving that he was deprived of his right to

23 due process by the denial of counsel under circumstances where there was

24
      a substantial risk that the deputy could be erroneously deprived of his
25
      interest in not being fired and not being prosecuted for criminal offenses.
26
     (Watson v. County of Riverside (C.D.Cal. 1997)976 F.Supp. 951, 952.)
27
           The court granted a preliminary injunction prohibiting the county
28
      and individual officers from introducing in any administrative proceeding
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        concerning the former deputy sheriffs discharge a report that the deputy
 2 prepared regarding a particular pursuit and arrest.(Watson v. County of
 3 ~1
        Riverside (C.D.CaI. 1997) 976 F.Supp. 951, 952.)
 4
              Controversial shooting death of Tyisha Miller: In 1998, the
 5
        RIVERSIDE'S four Riverside police officers, three white and one
 6
        Hispanic, arrived and tried to wake the woman as she sat in her locked
 7
        Nissan Sentra with the windows rolled up. A few moments later, Ms.
 8
        Miller was dead. Family members said her body and car were riddled with
 9
        as many as two dozen bullets. A 19-year-old black woman was killed here
10
        in a hail of police bullets as she sat in her disabled car, a gun in her lap,
11
        early Monday, leading family members to accuse the officers of murder
12
        and local civil rights officials to ask for calm. Reforms were ordered after
13

14
        Miller was shot to death by officers who saw her passed out in a car with a

15 gun on her lap. A state investigation revealed widespread civil rights

16 violations by police officers and concluded that the department had failed

17 to uniformly enforce the law

18           The Cloud case: In 2008, the RNERSIDE once again violated
19 Federal laws, as officer, David Johansen, of Riverside Police Department,

20 shot and killed an unarmed man resulting in a $800,000 settlement

21 (Douglas Steven Cloud v. County of Riverside). The Riverside Police

22 Department fulfilled its court-ordered reforms prompted by the

23 controversial shooting death of Tyisha Miller in 1998. The reforms were

24
        ordered after Miller was shot to death by officers who saw her passed out
25
        in a car with a gun on her lap. A state investigation revealed widespread
26
        civil rights violations by police officers and concluded that the department
27
        had failed to uniformly enforce the law.
28

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 1         The Perrin case: In 2011, RIVERSIDE was once again
 2   performing a pattern and practice by acting under color of law. A Pepsi
 3   driver was awarded more than $325,000 for a false arrest incident that
 4
     occurred in 2004 (Perrin v. County of Riverside). The jury's malicious
 5
     prosecution verdict ruled in favor of Perrin was supported by substantial
 6
     evidence. A reasonable jury could have concluded that Deputies
 7
     intentionally submitted false reports about Perrin's arrest and that the
 8
     prosecutor relied entirely on those reports in filing charges. See
 9
     Blankenhorn v. City of Orange, 485 F.3d 463, 483-84 (9th Circuit 2007);
10
     Awabdy v. City of Adelanto, 368 F.3d 1062, 1067-68(9th Cir.2004).
11
     Evidence of other acts by a defendant is admissible to prove
12
     discriminatory motive or intent, Fed.R.Evid. 404(b), and the district court
13

14
     concluded that the other act at issue was sufficiently similar to the one

15   before the court as to be probative intent and found discriminatory intent.

16   (Perrin v. County of Riverside (9th Cir. 2014) 555 F.App'x 702.)

~~         The Johnson case: In 2013, RIVERSIDE beat a man to death
18   costing the COUNTY to reach a settlement for $1.1 million (Johnson v.
19   County of Riverside). A group of Riverside County sheriffs deputies
20 allegedly beat Raymond Johnson to death in a Burger King drive-through
21   lane in October 2013. Johnson's killing gave rise to two civil lawsuits filed
22   by his surviving spouse and other family members against the County of
23   Riverside, the City of Moreno Valley, and several individual officers. The
24
     cases contend Respondents) violated various provisions of the federal
25
     Constitution and California tort law. Respondents) admit the central
26
     issue in this case -- whether the beating amounted to excessive force --
27
     cannot be resolved without a trial, but have moved for partial summary
28
     judgment or adjudication on the claims that(1) Respondents) unlawfully
                                           -41 -
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 1   detained and arrested Johnson before the fatal application of force;(2) two
 2 of the later-arriving officers are liable for their conduct; and (3) the

 3 municipalities caused Johnson's death.(Johnson v. County of Riverside

 4
     (C.D.CaI. Feb. 17, 2015, No. EDCV 14-00013-VAP (DTBx)) 2015
 5
     U.S.Dist.LEXIS 192459, at *4.)(Johnson v. Cty. of Riverside (C.D.Cal.
 6
     May 13, 2015, No. EDCV 14-00013-VAP (DTBx)) 2015 U.S.Dist.LEXIS
 7
     192358.)
 8
          The Smith case: 5:16-cv-00227: In February 2019, a jury awarded
 9
     a mother $2.5 million for Riverside County Sheriff in a fatal shooting for
10
     the death of a mentally ill man (Smith v. County of Riverside).
11
          The Roberts case: 5:19-cv-018778: In October 2019, Horace
12
     Roberts sues County of Riverside for false imprisonment for over 20 years
13

14
     (Harris v. County of Riverside). PETITIONER Horace Roberts was a

15 forty-year-old U.S. Marine Corps veteran, hardworking professional, and

16 father of two young children when Respondents)framed him for the 1998

17 murder of Terry Cheek. In 1999, PETITIONER was wrongly convicted. He

18 spent two decades in prison. This is nearly the same incident I have

19 undergone with Riverside Superior Court.

20         County of Riverside Misuse of CLETS:In 2017, in Riverside
21   County more law enforcement employees resigned or were fired -- than in
22 any other county in California -- for abusing a statewide electronic

23 database that contains people's personal information collected during

24
     routine police work. Out of 16 investigations, five Riverside County
25
     employees resigned or were terminated last year after it was found abuse
26
     had occurred, according to data collected by the California Department of
27
     Justice. Law enforcement agencies across the state reported a total of 143
28
     investigations resulting in 22 staff being terminated or resigning in 2017
                                          - 42-
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 1 for abusing the California Law Enforcement Telecommunications System

 2 (CLETS). Even though Riverside County, with a population of 2.4 million,

 3 accounts for about six percent of the total population of California, almost

 4
     a quarter of all CLETS abuse firings or resignations came from the
 5
     county.
 6
          Misuse of V.A.W.A. Funding and Technology in the Hands of
 7
     Law Enforcement with CLETS Misuse and Color of Law
 8
     Violations: Defendant, RIVERSIDE's, acts and omissions constitute
 9
     unfair practices in violation of color of law and hate crimes by
to
     Respondent(s). In addition to putting the public at serious risk of further
11
     hate crimes. Respondents) have thereby placed American citizens and
12
     California citizens in jeopardy of other serious harms, such as the loss of
13

14
     employment and employment opportunities. Law enforcement officers and

15 other officials like judges and prosecutors have been given tremendous

16 power by local, state, and federal government agencies—authority they

17 must have to enforce the law and ensure justice in our country. These

18 powers include the authority to detain and arrest suspects, to search and
19 seize property, to bring criminal charges, to make rulings in court, and to

20 use deadly force in certain situations.
21        Such as the V.A.W.A. Interstate Stalking funding from other
22 Respondents) and resources that were and are being used against me

23 because of my gender, race, and ethnicity and denying me equal

24
     protection and due process of the law. RIVERSIDE has been monitoring
25
     my Internet, communications, and harassing me while out of state in
26
     North Carolina and Georgia, sending Fontana Police Department to my
27
     home, in order to cover up the false arrest and false imprisonment, in
28

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 1 1 ~ addition to color of law   violations. This is a clear indication of why I am in
 2I   fear of Respondent(s).
 3         The Riverside Police Officer, David Johansen, the same officer,
 4
      Detective David Johansen who opened and investigated false police
 5
      reports against me, a friend of David Pierce and Sherrie Pierce. He is the
 6
      Detective and Officer who made the false police reports, same officer from
 7
      the Johnson case. An officer who has killed someone and is still employed,
 8
      demonstrates the lack of policies and practices of RNERSIDE.
 9
           HATE CRIMES AGAINST PETITIONER BECAUSE OF RACE,
io
      NAME, ETHNICITY, AND GENDER, CONSPIRACY OF CIVIL RIGHTS,
1~
      FEDERAL PROTECTED ACTIVITIES. WHEN TECHNOLOGY AND
12
      POWERFUL RESOURCES ARE IN THE HANDS OF BAD GUYS.
13

14
      OPENING FALSE POLICE REPORTS AND GETTING V.A.W.A

is STALKING AND CORPORAL INJURY TO A SPOUSE AGAINST AN
16    INNOCENT PERSON. DETECTIVE DAVID JOHANSEN.

17
           D. Agency and Concert of Action
18
           At all times herein mentioned, Respondent(s), and each of them,
19
      hereinabove, were the agents, servants, employees, partners, aiders and
20    abettors, co-conspirators, and/or joint venturers of each of the other
21    Respondents) named herein and were at all times operating and acting
22
      within the purpose and scope of said agency, service, employment,
      partnership, enterprise, conspiracy, and/or joint venture, and each
23
      Defendant has ratified and approved the acts of each of the remaining
24    Respondent(s). Each of the Respondents) aided and abetted, encouraged,
25    and rendered substantial assistance to the other Respondents)in
26    breaching their obligations to the PETITIONER, as alleged herein. In
      taking action to aid and abet and substantially assist the commission of
27
      these wrongful acts and other wrongdoings complained of, as alleged
28    herein, each of the Respondents) acted with an awareness of his/her/its
                                            - 44-
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 1 primary wrongdoing and realized that his/her/its conduct would
 2 substantially assist the accomplishment of the wrongful conduct, wrongful

 3
   goals, and wrongdoing.

 4

 5   'STATEMENT OF FACTS

 6
                Prevailing Party
    U.S. Supreme Court Defines Prevailing Party for § 1988 Purposes
 7        The U.S. Supreme Court held that the touchstone of the prevailing
 8 party inquiry must be the material alteration of the legal relationship of
    the parties in a manner that Congress sought to promote in the fee
 9
    statute. This action was brought by Texas' Garland Education
10 Association, alleging that school policies infringed upon Teachers' rights
    to engage in speech and activities related to employee organization and
11
    union activities.
12        The action resulted in materially altering the school district's policy
13
    limiting the teachers' rights, but also resulted in the teachers losing on
    several issues. See: Texas State Teachers Association v. Garland
14 Independent School District, 777 F.2d 1046 (1985), cert denied; 479 U.S.

15 801, 107 S.Ct. 41, 93(Ed. 2d 4(1986)). The teachers then moved for an
    award of attorneys'fees as the prevailing party. The Texas District Court
16
   recognized the teachers achieved "partial success," but indicated that "in
17 this circuit the test for prevailing party status is whether the plaintiff
    prevailed on the central issue by acquiring the primary relief." The court
18
    held the teachers did not prevail on the central issue and denied an
19 attorney fee award. The court of Appeals affirmed. See: 837 F. 2d 190

20 (1988).
          The Supreme Court said,"the search for `central' and `tangential'
21 issues in the lawsuit, or for the `primary,' as opposed to the `secondary,'

22 relief sought, much like the search for the golden fleece, distracts the
    district court from the primary purposes behind [42 U.S.C.] D1988 and is
23
    essentially unhelpful in defining the term prevailing party."
24        The Court held the plaintiff is prevailing party if there is "success"
   on "any significant issue in litigation which achieved some of the benefit
25
   the parties sought in bringing the suit." At a minimum, the plaintiff must
26 be able to point to a resolution of the dispute that changes the legal

27 relationship between itself and the defendant. If a plaintiff's success on a
   legal claim can be characterized as purely technical or de minimus, a
28 district court would be justified in concluding the "generous formulation"

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  1has not been satisfied. The Court held the teachers were prevailing
 2 parties and reversed the lower courts'judgment. See: Texas State
   Teachers Association v. Garland Independent School District, 489 U.S.
 3 782, 109 S. Ct. 1486, 103(Ed. 2d 866 (1988)).

 4
            Prevailing party status requires a material alteration of the legal
 5    relationship between the~ parties that was udiciall~ sanctioned. Li u.
      Keisler, 505 F.3d 913, 917 (9th Cir. 2007)orde-r,(citing Buckhannon Bd.
 6    and Care Home, Inc. v. West Vir inia Dept of Health and Human Res.
      532 U.S. 598 604-05 (2001)). [~]he petitioner s success in obtaining tie
 7    desired relief from the federal court is critical to establishing prevailing
      party status under Buckhannon, regardless of whether the federal court's
 8    order addressed the merits of the underlying case.:' Id. The court has
      held that a Circuit Mediator's remand order satisfies this standard. Id. at
 9    918.
 to         When a petitioner has obtained a remand for further consideration,
      he or she is a prevailing party. Rueda-Menicucci v. INS, 132 F.3d 493,
 11   495 9th Cir. 1997). See also Carbonell v. INS, 429 F.3d 894, 899-902(9th
      Cir. 005)(holding that a district court's order incorporating a voluntary
 12   stipulation to a stay of deportation materially altered the relationship
      between Carbonell and the government, and that the alteration was
 13   judicially sanctioned making the applicant a prevailin~ party); Perez-
      Arellano u. Smith, 2'~9 F.3d 791, 795 (9th Cir. 2002)(holding that
 14   applicant who was granted naturalization at the administrative level
      while the federal court action was held in abeyance was not a prevailing
 15   party because he "unmistakably did not gain a change in his legal
      relationship with the INS by judgment or consent decree").
 16
           A "prevailing arty" is one who "has been awarded some relief by a
 17        " Bukhannon ~oard of Care &Home Inc. v. West Vir inia
           rtment o eat an         uman esources,                       (2001).
 18        oner is a prevai ing party . ecause e received the relief he sought,
      na   lithe granting of his petition for review and a remand of the matter
 19 to

20
          "In order to qualify as a prevailing party, a plaintiff must have
21
   succeeded on the merits ofat least some ofits claims." Parks Sch. ofBus.,
22 Inc. v. Symington, 51 F.3d 1480, 1489(9th Cir. 1995); see also Sole v.

23 Wyner, 551 U.S. 74, 82(2007); Hewitt v. Helms,
                                                       482 U.S. 755, 759-60
   (1987); Cummings v. Connell, 402 F.3d 936, 946(9th Cir. 2005)."In short,
24 a plaintiff'prevails' when actual relief on the merits of [the plaintiffs]

25 claim materially alters the legal relationship between the parties by
    modifying the defendant's behavior in a way that directly benefits the
26
    plaintiff." Farrar v. Hobby, 506 U.S. 103, 111-12(1992); see also Sole, 551
27 U.S. at 82-83; Tex. Teachers Ass 'n v. Garland Indep. Sch. Dist., 489 U.S.
   782, 791-92(1989); Gerling Global Reinsurance Corp. ofAm. v.
28
    Garamendi, 400 F.3d 803, 806 (9th Cir.), amended by 410 F.3d 531 (9th
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     Cir. 2005)(order); Friend u. Kolodzieczak, 72 F.3d 1386, 1389 (9th Cir.
 2   1995)(order). "Success is [also] measured ... in terms of the significance
     ofthe legal issue on which the plaintiffprevailed and the public purpose
 3   the litigation served." Morales v. City ofSan Rafael, 96 F.3d 359,365 (9th
 4   Cir. 1996), amended by 108 F.3d 981 (9th Cir. 1997)(order); see also
     McCown u. City ofFontana, 565 F.3d 1097, 1103(9th Cir. 2009)(holding
 5
     "that attorney's fees awarded under 42 U.S.C. § 1988 must be adjusted
 6   downward where the plaintiff has obtained limited success on his pleaded
 7
     claims, and the result does not confer a meaningful public benefit.");
     Hashimoto v. Dalton, 118 F.3d 671,678 (9th Cir. 1997).
 8
          This change of status must be "judicially sanctioned" in the form of a
 9 judgment or consent decree; voluntary changes in behavior are
   insufficient. See Buckhannon Bd. & C.'are Home, Inc. v. W. Ua. Dep 't o
10 fHealth &Human Res., 532 U.S. 598, 604-05(2001; see also Watson v.
   Cty. ofRiverside, 300 F.3d 1092 1096 (9th Cir. 200)(explaining that a
11 "preliminary injunction issued ~y a judge carries all the judicial
   imprimatur necessary to satisfy Buckhannon.')• Labotest, Inc. U. Banta,
12 297 F.3d 892, 895 (9th Cir. 2002)(holding that '~a plaintiff who obtains a
   court order incorporating an agreement that includes relief the plaintiff
13 sou ht in the lawsuit is a prevailing party entitled to attorney's fees under
   42 ~.S.C. § 1988.").
14
           A plaintiff who wins only nominal damages may be a prevailing
15     arty under 1988. See Farrar 506 U.S. at 112; Klein v. City ofLaguna
16
       each, 810 ~.3d 693, 699-700 9th Cir. 2016)(recovery of nominal
     damages by activist who sought no compensatory damages did not
      reclude attorneyfee award)• Guy v. City of San Diego, 60~ F.3d 582 588
17
  (   9th Cir. 2010); ~Vlahach-Watkins v. Depee, 593 F.3d 1054 1059(9th fir.
     2010)•Benton v. Or. Student Assistance Comm 'n 421 F.~d 901 904 9th
18   Cir. 2005)• Cummin s, 402 F.3d at 946; Friend, 72 F.3d at 1390 n.l; ~ilcox
     v. City ofl~eno, 42 ~3d 550 554 (9th Cir. 1994). If the plaintiff sought
19   compensatory damages, anc~ only received nominal damages however, an
20
     attorney's fee award may be inappr~o~priate. See Farrar, 506 J.S. at 115;
     Guy 608 F.3d at 588-89; Mahach- Watkins 593 F.3d at 1059• Benton, 421
     F.3c~ at 904-06• Cummings, 402 F.3d at 946- 47; Romberg v. l~ichols, 48
21   F.3d 453, 455 9th Cir. 1994); Wilcox, 42 F.3d at 554-55.
22
           Where the plaintiff sought primarily injunctive relief, the lack of a
23   monetary judgment does not mean that the plaintiff is not a prevailing
24   party. See Friend, 72 F.3d at 1390; see also Gerling Global Reinsurance
     Corp., 400 F.3d at 806 (holding that plaintiffs were prevailing party
25   because they obtained all the relief they sought in their lawsuit- a
26   permanent injunction"); Watson, 300 F.3d at 1095-96 (explaining that a
     plaintiff who obtains a preliminary injunction but fails to prevail on his or
27
     her other claims is a prevailing party for purposes of§ 1988 because relief
28   in the form of a permanent injunction had become moot). However, a

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    plaintiff is not a prevailing party if the "achievement of a preliminary
 2 injunction ... is reversed, dissolved, or otherwise undone by the final
    decision in the same case." Sole, 551 U.S. at 83.
 3        Where a declaratory judgment affects the behavior of the defendant
 4 towards the plaintiff, it is sufficient to serve as the basis for an award of
   fees. See Rhodes v. Stewart, 488 U.S. 1, 4(1988)(per curiam). "[A]
 5
   favorable judicial statement of law in the course of litigation," however, is
 6 insufficient "to render [the plaintiff) a 'prevailing party."' Hewitt v. Helms,
    482 U.S. 755, 763(1987); see also Farrar, 506 U.S. at 110. "Litigation that
 7
    results in an enforceable settlement agreement can confer 'prevailing
 8 party' status on a plaintiff." La Asociacion de Trabajadores de Lake Forest

 9 v. City ofLake Forest, 624 F.3d 1083, 1089 (9th Cir. 2010). To determine
    whether a settlement agreement confers prevailing party status on a
l0 plaintiff, the court has "used athree-part test, looking at: '(1) judicial
11 enforcement;(2) material alteration ofthe legal relationship between the
    parties; and (3) actual relief on the merits of [the plaintiffs] claims."' Id.
12
   (quoting Saint John's Organic Farm v. Gem Cty. Mosquito Abatement
13 Dist., 574 F.3d 1054, 1059 (9th Cir. 2009)).

14
          Where the plaintiff is successful on only some claims, the court must
    determine whether the successful and unsuccessful claims were related.
15 See Tutor-s Saliba Corp. v. City ofHailey, 452 F.3d 1055, 1063(9th Cir.

16 2006); Dang v. Cross, 422 F.3d 800, 812-13 (9th Cir. 2005); O'Neal u. City
    ofSeattle, 66 F.3d 1064, 1068(9th Cir. 1995). If the claims are unrelated,
17
    then the fee award should not include time spent on unsuccessful claims;
18 if the claims are related. "then the court must ... [determine] the
   'significance of the overall relief obtained by the plaintiff in relation to the
19
    hours reasonably expended."' O'Neal, 66 F.3d at 1068- 69 (citations
20 omitted); see also Webb v. Sloan, 330 F.3d 1158, 1168(9th Cir. 2003).
21
   "Claims are related where they involve 'a common core of facts' or are
   'based on related legal theories."[T]he test is whether relief sought on the
22 unsuccessful claim is intended to remedy a course o f conduct entirely

23 distinct and separate from the course o f conduct that gave rise to the
   injury upon which the relief granted is premised."'0 'Neal, 66 F.3d at
24
    1069(quoting Odima v. Westin Tucson Hotel, 53 F.3d 1484, 1499(9th Cir.
25 1995)); see also Thomas v. City of Tacoma, 410 F.3d 644, 649(9th Cir.
   2005); Webb, 330 F.3d at 1168-69.
26

27      PROTECTED CLASS UNDER
        Historically and statistically, there have been identifiable groups
28 within our society that have received unfavorable treatment with regard

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 1   to housing. They have been rejected or prevented from renting or buying
 2   real property, given different terms, paid higher rents or security deposits,
     or experienced a lower level of service during tenancy than other groups of
 3   people.
 4   Do "protected classes" get special rights?
           No, the intention of federal and state fair housing laws is to require
 5
     that ALL persons be given the same treatment, the same services, and
 6   offered an equal opportunity to live in a home of their choice—in other
 7
     words, the same rights as everyone else. The only exceptions to this that
     persons with disabilities have been given several special rights (the right
 8   of reasonable accommodation and reasonable modification) in order to
 9   establish equal opportunity.(Note: If, for some reason, you must deviate
     from your normal procedures, be sure to document the situation; who,
to   when, what, and why.)
11   Are "protected classes" the same throughout the U.S.?
           The protected classes have been identified at the federal, state, and
12
     in some cases, local levels of government. There are some variations that
13   allow for differences in the make-up of individual communities.
14
     At the federal level, there are seven classes: race, color, religion, sex,
     national origin, familial status, and handicap (referred to as disability in
15   California).
16   At the state level, California has added marital status, sexual orientation,
     age, ancestry, source of income, medical condition, gender, gender identity
17
     and expression, genetic information, citizenship, immigration status,
18   primary language and military and veteran status.
     At the local level, some cities have added their own additional protected
19
     classes, such as the inclusion of"height and weight or body size" in both
20   San Francisco and Santa Cruz, and "students" in Berkeley.
21
     Which group experiences the most incidences of discrimination?
     The majority of discrimination cases filed throughout the United States
22   are filed on the basis of disability. Second is race/color and third is
23   familial status.
     A few things you should know about several of the "protected classes"
24
        • Colon: There can be many shades of skin color within a race and
25         many people are combinations of multiple races; therefore, although
           color is a separate and distinct protected class, race and color are
26
           often combined in a complaint. Persons with darker skin tend to
27         experience more frequent incidences of discrimination in housing, as
28
           well as in many other day-to-day situations.

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 1    • Sex: Sexual harassment is covered in this protected class, in which
 2      there is a growing awareness of discrimination. In California, this
        category also includes pregnancy, childbirth or medical conditions
 3      related to pregnancy or childbirth.
 4    • Familial status: Any household that includes persons under the age
        of 18 is protected under familial status. Pregnancy is also included
 5
        in this category. Only bona fide senior housing can exclude children.
 6    • Handicap/Disability: This group covers medical conditions, mental
 7
        or psychological and physical disabilities. The two special rights
        extended to the disabled include: 1) the right to make reasonable
 8      modifications to a dwelling to enable them to live there comfortably,
 9      and 2) the responsibility of management to make reasonable
        accommodations in order to allow the disabled person to fully enjoy
to      their tenancy. An accommodation, in most cases, involves modifying
11      a policy, procedure, service or rule, such as allowing assistive
        animals when no pets are allowed, or assigned special parking
12
        spaces.
13    • Ancestry: Going beyond national origin, rental decisions should not
14
        be based on someone's ancestry. This often includes name profiling,
        wherein the landlord avoids renting to someone whose last name
15      appears to be "foreign" even if the person's family may have been in
16      the U.S. for many generations.
      • Source of income: Don't require or imply that applicants should be
17      employed in order to qualify to rent. Their income or financial
18      resources only need to be legal and verifiable. As of January 1, 2020,
        Section 8 and VASH vouchers (in addition to other federal, state,
19
        and local public assistance or rental subsidies) are considered a
20      protected source of income under state law.
21
      • Gender/Gender Identity/Gender Expression: California's Unruh
        Civil Rights Act defines gender as "sex and includes a person's
22      gender identity and gender expression. Gender expression means a
23      person's gender-related appearance and behavior whether or not
        stereotypically associated with the person's assigned sex at birth."
24
        Discrimination involving gender identity and expression are on the
25      rise. In the context of rental housing, an applicant or resident may
        prefer to be called by a name or a gender pronoun that is not
26
        consistent with the applicant's assigned sex at birth. Some
27      applicants or residents identify as "gender neutral" or "non-binary" ~'
2s      and may prefer you to use the pronouns "them/them/their" instead of
        the more common male or female pronouns. If you are unsure how to
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          handle a situation involving gender identity or expression, get help
 2        from a fair housing knowledgeable attorney.

 3         In California, which is often on the cutting edge of legal issues, two
 4   additional concepts have been added that pertain to protected classes:
     perception and association.
 5
        • Perception: If someone discriminates against a person, thinking that
 6         he or she is from a protected class, but the person isn't from that
           protected class, it is considered an act of discrimination.
 7
        • Association: Discriminating against someone because his or her
 8         friends or guests are from protected classes is also a violation.
 9         Additionally, in California, arbitrary discrimination is considered to
     be a violation. This means that when management deliberately or
10   arbitrarily discriminates against a person or group of persons based on
11   personal characteristics, they are violating fair housing laws. This might
     include persons with tattoos, numerous body piercings, unusual hair
12
     styles, overweight persons, etc.
13         Technically, we all belong to several of these protected classes by
14
     virtue of just being male or female, married or unmarried, of a particular
     race, color, nationality, etc. If owners and leasing professionals/managers
15   treat EVERYONE who comes in the door, calls on the phone, emails or
16   contacts them via the Internet with equal courtesy and provides the same
     opportunities to EVERYONE,the need for "protected classes" could
17
     ultimately be a thing of the past.
18         Petitioner Plaintiff, ABANOOB ABDEL-MALAK ("Abanoob"), is
     an individual and first generation born citizen of the United States of
19
     America residing in Norwalk, California. Plaintiff ABANOOB ABDEL-
20   MALAK,is an unemployed individual because of the Defendants'false
21
     arrest and unlawful takings of his court documents on his first day of his
     new start in his career; and an ex- law student and ex-commercial real
22   estate appraiser trainee and a resident of Los Angeles County, California.
23         Plaintiff is a 28-year-old, first-generation loving son to a widowed
     mother. Plaintiff, ABANOOB ABDEL-MALAK,is Coptic Orthodox, a
24
     Christian minority in Egypt whose parent's fled Alexandria, Egypt to
25   avoid persecution. Plaintiff is now fighting for his life and career with no
     money and medical debt incurred from the Defendants. After one year of
26
     fighting to not be framed because of being a male, a middle eastern with a
27   "terrorist" profile and name of"ABANOOB MOUNIR RAGHEB ABDEL
28
     MALAK" and for speaking "Arabic", and for not being white and not a
     local resident of the County of Riverside, I am a Protected Class under the
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    Ralph Act and a surviving victim of the most brutal HATE CRIMES.
 2 Plaintiff has olive skin and dark facial hair with curly dark brown hair,
    and is a minority and non-white, and was called a "sand nigger" by
 3 Defendants'. I was stereotyped as an "aggressive middle eastern/Arab

 4 man who abuses women".
           Plaintiffs' company SINAI ACQUISITIONS LLC,("Sinai"), is a
 5
    California Limited Liability Company with its' principal place of business
 6 in Fontana, County of San Bernardino, California. Directly and through
    its' networking, would acquire real estate acquisitions and develop and/or
 7
    invest in joint venture investments. But directly due to Defendants'
 8 conduct, the company has lost a $125,000.00 profit and its' future earning
 9 capacity due to injuries and damages suffered from Defendants' Hate
    Crimes and corruption. Plaintiff, SINAI ACQUISITIONS LLC,
10 ("Sinai"), is a California real estate limited liability company authorized
11 to do business in the United States with its' principal business place of
    business located at 4863 Ravenwood Court, Fontana, California. SINAI
12
    ACQUISITIONS LLC's agent for service of process is Mark Lansing Esq.
13 located at 685 Sawyer Place, Upland, California 91786.

14

15   [a] Privacy as Fundamental Interest
16   In Roe v. Wade (,1973) 410 U.S. 113, 93 S. Ct. 705, 35 L. Ed. 2d 147, reh'g
     denied, 410 U.S. 959, 93 S. Ct. 1409, 35 L. Ed. 2d 694, the Supreme Court
17
     examined the constitutionality of a Texas statute that prohibited
1s   abortions unless they were undertaken on medical advice for the purpose
     of saving the mother's life. The Court held that the statute violated the
19
     due process clause of the Fourteenth Amendment. The basis for its
20   holding was its view that a right of personal privacy or guarantee of
21
     certain zones of privacy exists under the federal Constitution, particularly
     as part of the concept of liberty guaranteed by the first section of the
22   Fourteenth Amendment, which provides that no state may deprive any
23   person of life, liberty, or property without due process of law. This right of
     privacy, as the Court pointed out, is applicable to activities relating to
24
     marriage, procreation, contraception, family relationships, child rearing,
25   and education; but it applies only to personal rights which can be deemed
     fundamental or "implicit in the concept of ordered liberty." The Court
26
     concluded that the right of privacy is broad enough to encompass a
27   woman's decision to terminate her pregnancy. Thus, the statute in
28
     question could be justified only if it served a compelling state interest and

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     was narrowly drawn to express only the legitimate state interests at
 2   stake; and the statute could not satisfy these criteria.
     Roe treated privacy as a fundamental interest for purposes of due process
 3   analysis rather than equal protection analysis. However, in a subsequent
 4   decision, the Court cited Roe without further discussion as an example of
     classifications subject to strict scrutiny under the equal protection clause
 5
     because they impermissibly interfered with the exercise of a fundamental
 6   right Massachusetts Bd. of Retirement v. Muria (1976) 427 U.S. 307,
 7
     312, 96 S. Ct. 2562, 49 L. Ed. 2d 520; see Skinner v. Oklahoma (1942 316
     U.S. 535, 541-542, 62 S. Ct. 1110, 86 L. Ed. 1655 set out in
 8     35A.36j4][a], decided before the right of privacy cases but dealing with
 9   one aspect of that right—procreation—as an equal protection issue)].
     In Long Beach City Employees Assn. v. City of Long' Beach (1986) 41 Cal.
10   3d 937, 227 Cal. Rptr. 90, 719 P.2d 660, a subdivision of defendant city
11   began requiring its employees to undergo polygraph examinations after
     money was stolen from the bureau operations. Plaintiff filed a complaint
12
     for a temporary restraining order and injunctive relief to prevent
13   administration of the examinations, claiming that the compulsory
14
     polygraph examinations were unconstitutional. The trial court denied the
     relief. Plaintiff appealed.
15   The California Supreme Court reversed, based on its finding that the
16   examinations were a violation of the employees' privacy rights. Cal.
     Const., art. I, § 1, specifies privacy as an inalienable right. The Court
17
     observed that if there is a quintessential zone of human privacy it is the
18   mind (41 Cal. 3d 937, 943-944). Although the Court did not characterize
     the test as one of "strict scrutiny," its opinion made it clear that strict
19
     scrutiny was the appropriate test before interfering with the fundamental
20   right of privacy. Because the Court found that polygraph examinations
21
     impinged on the fundamental right of privacy, a rational relationship was
     not enough. Defendant had the burden of demonstrating that its
22   classifications of which employees were required to take the examination
23   were justified by a compelling governmental interest and that the
     distinctions drawn were necessary to further that purpose (41 Cal. 3d 937,
24
     948 . The Court noted that public employees are trustees of the public
25   interest and thus owe a special duty of integrity. Nevertheless, the Court
     found that this duty alone, without more, did not provide a compelling
26
     justification for such an inherent intrusion on an ordinary public
27   employee's fundamental right of privacy, particularly when less intrusive
28
     means to investigate alleged wrongdoing are available (41 Cal. 3d 937,

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     952 . The Court found that defendant had failed to meet its burden (41
 2   Cal. 3d 937, 956).
        • [b] Elements of Privacy
 3   In Carev v. Population Serv. Int'1 (1977) 431 U.S. 678. 97 S. Ct. 2010. 52
 4   L. Ed. 2d 675, the Supreme Court held that a New York statute which
     controlled the sale and distribution of contraceptives violated the
 5
     constitutional right to privacy. The Court affirmed its conclusion in Roe v.
 6   Wade (1973) 410 U.S. 113, 152, 93 S. Ct. 705, 35 L. Ed. 2d 147, reh'g
     denied, 410 U.S. 959, 93 S. Ct. 1409, 35 L. Ed. 2d 694 [set out under
 7
     § 35A.41[3][a]], that the right of personal privacy is one aspect of the
 8   "liberty" protected by the due process clause of the Fourteenth
 9   Amendment and it protects personal decisions relating to marriage,
     procreation, contraception, child rearing, and education from unjustified
to   governmental interference. The Court noted that the outer limits of this
11   right of privacy had not yet been determined.
     The factual background of Roe v. Wade (1973) 410 U.S. 113, 93 S. Ct. 705,
12
     35 L. Ed. 2d 147, reh'g denied, 410 U.S. 959, 93 S. Ct. 1409, 35 L. Ed. 2d
13   694, is discussed in ~ 35A.41(31 fal.
14
     In American Academy of Pediatrics v. Lun~ren (1997) 16 Cal. 4th 307, 66
     Cal. Rptr. 2d 210, 940 P.2d 797, after concluding that a statute impinging
15   on the fundamental autonomy privacy right of a minor or an adult must
16   be evaluated under the compelling interest test, the California Supreme
     Court declared unconstitutional astatute requiring pregnant minors to
17
     secure either parental consent or judicial authorization before obtaining
18   an abortion. The Court made clear that statutory intrusion on an
     autonomy privacy interest of a fundamental nature may not be justified
19
     simply by showing that the statute serves a legitimate competing interest
20   sufficient to justify an impingement on a less central privacy interest.
21
     Though a statute's relationship to minors is properly employed in the
     constitutional calculus in determining whether an asserted state purpose
22   or interest is compelling, because the statute's impact on minors is taken
23   into account in assessing the importance of the state interest ostensibly
     served by the infringement, it is inappropriate additionally to lower the
24
     applicable constitutional standard under which the statute is evaluated
25   simply because the privacy interests at stake are those of minors(16 Cal.
     4th 307, 341-342).
26
      ❑ [4] Additional Authorities
27      • [a] Privacy as Fundamental Interest
28
     Yohner v. Cal. Dept. of Justice (2015) 237 Cal. App. 4th 1, 187 Cal. Rptr.
     3d 550 was an action to prevent the California Department of Justice (the
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 1   Department)from listing his name and information concerning a sexual
 2   offense that he committed on its Megan's Law Internet Web site. Plaintiff
     suffered a conviction for committing a lewd act on his stepgranddaughter
 3   in violation of of Pen. Code § 288 a~. Penal Code Section 290.46 mandated
 4   that the Department post information concerning sex offenders and their
     crimes on an Internet Web site. When specified criteria were met, the
 5
     victim's parent, stepparent, sibling, or grandparent could apply for and
 6   receive an exclusion from the Web site [see Pen. Code § 290.46 ~~D~i)1.
 7
     The Department denied plaintiff's application for exclusion from the Web
     site on the ground that he was the victim's stepgrandparent, rather than
 8   her grandparent, and he was not eligible for the exclusion. Plaintiff then
 9   filed a petition for writ of mandate in the trial court in which he requested
     that the trial court direct the Department to exclude him from the Web
10   site, which the trial court denied (237 Cal. App. 4th supra at 4-6). The
11   Court of Appeal affirmed. The court first held that "grandparent" in Pen.
     Code ~ 290.46 did not encompass stepgrandparents(Yohner, supra, at 6-
12
     12 .The court then held that Pen. Code ~ 290.46 e~D,(i) is
13   constitutional in its exclusion of stepgrandparents. The rational
14
     relationship test applied, because the statute did not implicate the
     fundamental right to privacy. The court then found that stepgrandparents
15   and grandparents were not similarly situated. A grandparent has a
16   biological tie to the child, and the law has long recognized the distinction
     between those having biological ties to a child and those whose
17
     relationship is premised on marriage. However, assuming grandparents
18   and stepgrandparents were sufficiently similarly situated to warrant
     equal protection scrutiny, the limitation of the exclusion to grandparents
19
     was clearly rationally related to a legitimate governmental objective. The
20   Legislature could have rationally concluded that a victim's relationship
21
     with a biological grandparent was likely to be of greater permanence than
     a relationship with a stepgrandparent based on marriage, and, the public
22   safety benefits to be gained by disclosure on the Website outweighed any
23   potential family preservation goals fostered by the exclusion ohner
     supra, at 12-14).
24

25
   [a] Personal Liberty as Fundamental Interest
26
   The factual background of People v. Olivas (1976) 17 Cal. 3d 236, 131 Cal.
27 Rptr. 55, 551 P.2d 375, is discussed in § 35A.20j3][e]. The defendant in

28
   that case argued that former Welf. & Inst. Code § 1731.5 violated his
   guarantee of equal protection under the laws because under its provisions
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      an individual between the ages of 16 and 21 could be committed to the
 2    youth authority and serve a potentially longer term than the maximum
      jail sentence imposed for the same offense on persons who were 21 or
 3    older. The Supreme Court agreed with defendant's contention and
 4    declared the law unconstitutional. The Court determined that the interest
      involved was personal liberty, an interest which has origins in Anglo-
 5
      American legal history and is reflected in the constitutional guarantee of
 6    the right to a fair trial for those accused of a crime. It concluded that
 7
      personal liberty is a fundamental interest which, in the words of the
      Court, is second only to life itself as an interest protected under both the
 8    state and federal Constitutions.
 9    Olivas is an interesting decision because of the approach taken to
      determine, for the first time in California, whether personal liberty
 l0   represented an interest which was fundamental for purposes of equal
 11   protection analysis. The Court noted that courts in other states and lower
      federal courts had reached conflicting conclusions. It then reviewed the
12
      legal precedents for the personal liberty concept beginning with the
13    Magna Carta. It examined in particular the various guarantees of due
14
      process which exist largely because of a great concern in our system of
      justice for procedures which may result in deprivations of personal liberty.
15    The fact that the California Constitution requires a unanimous jury
 16   verdict manifests an even stronger concern for unwarranted deprivations
      of personal liberty by the state than can be found in the due process
17
      clause of the Fourteenth Amendment. The Court concluded that if the
18    United States and California Constitutions were vigilant through their
      due process clauses in protecting against the initial deprivation of
19
      personal liberty, they could be no less vigilant in protecting through their
20    equal protection clauses against continuing deprivations of liberty.
21
      Counsel will note, however, that the interest in personal liberty is not
      necessarily infringed by all classifications which affect the possible loss of
22    freedom. Thus, the California Supreme Court declined to apply strict
23    scrutiny in In re Mitchell P.(1978) 22 Cal. 3d 946, 950 n.3, 151 Cal. Rptr.
      330, 587 P.2d 1144, on the ground that disparity in evidentiary rules
24
      governing juvenile and criminal proceedings is not a classification directly
25    affecting the liberty interest.
      Counsel will note that in regard to the individual's interest in a
26
      unanimous jury verdict, an interest closely related to personal liberty, the
27    California Supreme Court has commented that the individual's right to a
28
      unanimous verdict in a criminal case is a fundamental interest for the
      purposes of equal protection analysis [People v. Olivas (1976) 17 Cal. 3d
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  1   236, 246, 131 Cal. Rptr. 55, 551 P.2d 375; People v. Superior Court (1967)
 2    67 Cal. 2d 929, 932, 64 Cal. Rptr. 327, 434 P.2d 623; see Cal. Const., art. I,
        16 . Further, the Court has held that the individual's right to a
 3    unanimous verdict is also a fundamental interest in civil commitment
 4    proceedings People v. Fea~lev (1975) 14 Cal. 3d 338, 356, 121 Cal. Rptr.
      509, 535 P.2d 373(denial of unanimous jury verdict requirement to
 5
      persons committed under the mentally disordered sex offender law while
 6    it is provided to persons committed as mentally disordered persons not
      justified by compelling state interest)]. Nevertheless, the practical
 7
      necessity for this latter principle is questionable in view of the rulings
 8    which interpret Cal. Const., art. I, ~ 16 to guarantee a unanimous jury
 9    verdict not only in criminal cases but also in the civil commitment
      proceedings for alleged mentally disordered sex offenders and narcotics
 10   addicts even though the constitutional provision does not by its terms
 11   apply to "civil" actions [see People v. Thomas(1977) 19 Cal. 3d 630, 641-
      644 fn. 12, 139 Cal. Rptr. 594, 566 P.2d 2281.
12
         • [b] Considerable Restraint as Sufficient
13    The factual background of People v. Olivas (1976) 17 Cal. 3d 236, 131 Cal.
14
      Rptr. 55, 551 P.2d 375, is discussed in § 35A.20[3](e]. In that case, the
      Supreme Court was required to determine whether commitment to a
15    youth authority institution could be viewed as a restraint on personal
16    freedom. The Court admitted that youth authority wards may experience
      greater freedom than individuals confined in state prisons or mental
17    hospitals but concluded that any institutional process which involved
18    physical restraint of the person was an infringement of personal liberty.
      In fact, in the Court's view, the types of limitations and controls which
19
      accompany an individual's release on parole also exert a comparable
20    restraint on personal liberty because they amount to a considerable
21
      limitation on the freedom of action which all other citizens possess.
       ❑ [4] Additional Authorities
22       • [a] Personal Liberty as Fundamental Interest
23    In Humphrey v. Cady (1972) 405 U.S. 504, 92 S. Ct. 1048, 31 L. Ed. 2d
      394, the Supreme Court held that a statute which permitted the "massive
24
      curtailment of liberty" involved in compulsory confinement for psychiatric
25    treatment violated the equal protection clause because it denied a jury
      trial on the issue of whether or not commitment standards had been met
26
      even though a different state law permitted a jury trial in essentially
27    equivalent situations. The Court did not discuss the nature of personal
28    liberty as a constitutionally protected interest and had no occasion to

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 1      invoke the strict scrutiny test since it believed that the differential
 2      statutory treatment was arbitrary.
        In O'Connor v. Donaldson (1975) 422 U.S. 563, 95 S. Ct. 2486, 45 L. Ed. 2d
 3      396, the Supreme Court held that a state which confines an individual
 4      who is not dangerous and is capable of surviving freely and safely either
        by himself or with the help of family or friends violates the individual's
 5
        constitutional right to "freedom." This case was an action for damages
 6      under 42 U.S.C. § 1983 for deprival of constitutional rights under color of
 7
        state law, and the Court did not discuss the right to personal freedom in
     ~' terms of equal protection analysis.
 s
 9    First Amendment Guarantees as Fundamental Interests
10   In Police Dept v. Mosley (1972) 408 U.S. 92, 92 S. Ct. 2286, 33 L. Ed. 2d
11   212, the United States Supreme Court examined the validity of a Chicago
     ordinance that made it a criminal offense to picket within 150 feet of a
12
     school building while school was in session but exempted peaceful
13   picketing of a school involved in a labor dispute. Because the ordinance
14
     divided picketing into two classes, the Court analyzed the ordinance in
     terms of the equal protection clause and held the ordinance
15   unconstitutional because it made an impermissible distinction between
16   labor picketing and other peaceful picketing. The Court's analysis in effect
     treats First Amendment guarantees like other fundamental interests that
17
     are subject to strict judicial scrutiny. It first noted that the equal
18   protection claim was closely intertwined with First Amendment interests.
     Under the equal protection clause, as well as the First Amendment itself,
19
     the government may not grant the use of a forum to people whose views it
20   finds acceptable but deny use to those wishing to express less favored or
21
     more controversial views. Selective exclusions from a public forum may
     not be based on content alone, and may not be justified by reference to
22   content alone. The Court cited Niemotko v. Mar land 1951 340 U.S. 268,
23   273, 71 S. Ct. 325, 95 L. Ed. 267, which held that the completely arbitrary
     and discriminatory refusal to grant a permit for use of a public park was a
24
     denial of equal protection, as its principle authority.
25   Second, the Court pointed out that it is not the case that all picketing
     must always be allowed. Under an equal protection analysis, there may be
26
     sufficient regulatory interests justifying selective exclusions or
27   distinctions among pickets. And the state may have a legitimate interest
28
     in prohibiting some picketing to protect public order. But these
     justifications for selective exclusions from a public forum must be
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 1 carefully scrutinized. Because picketing plainly involves expressive

 2 conduct within the protection of the First Amendment, discrimination
     among pickets must be tailored to serve a substantial governmental
 3 interest.

 4 Mosley was followed by a California court of appeal in Ghafari v.
     Municipal Court(1978)87 Cal. App. 3d 255, 265-266, 150 Cal. Rptr. 813
 5
    (statute prohibiting appearance in public with face concealed violated
 6 equal protection).

 7
     Thereafter, four justices of the United States Supreme Court applied the
     principles of Mosley in Young v. American Mini Theatres (1976) 427 U.S.
 8 50, 63-73, 96 S. Ct. 2440, 49 L. Ed. 2d 310. Although the issue was
 9 whether a statutory classification in a city zoning ordinance which
     differentiates between motion picture theaters which exhibited sexually
10 explicit adult movies and those which did not was constitutional, the basis
1 1 for the opinion's equal protection analysis is not clear. The opinion asserts
     that even though Mosley said that selective exclusion from a public forum
12
     may not be based on content alone, material with an erotic content maybe
13 placed in a different classification from nonerotic forms of expression. It

14
     then proceeded to determine whether the classification which regulated
     the geographic localities in which such movies could be exhibited but did
15 not suppress or greatly restrict access to the movies was justified by the

16 city's interest in preserving the character of its neighborhoods, and
     concluded that because the city's interest in the present and future
17
     character of its neighborhoods adequately supports its classification of
18 motion pictures, the ordinance did not violate the equal protection clause.

19
     ❑ Employment as Fundamental Interest
20   In Hardy v. Stumph (1978) 21 Cal. 3d 1, 145 Cal. Rptr. 176, 576 P.2d
21
     1342, plaintiff petitioned for a writ of mandate to challenge the City of
     Oakland's physical agility test for female police officers which she had
22   failed. The trial court denied the petition and plaintiff appealed to the
23   California Supreme Court which affirmed on the ground that use of the
     test did not constitute a denial of equal protection or a violation of the
24
     Civil Rights Act of 1964. One of plaintiff's arguments was that the test,
25   which disqualified a disproportionate number of female applicants,
     abridged the fundamental right of women to pursue employment. The
26
     Court rejected this contention because the right to pursue a lawful
27   occupation is fundamental only if the employment sought is a common
28   occupation within the community. It cited a dictim in D'Amico v. Board of
     Medical Examiners (1974) 11 Cal. 3d 1, 18, 112 Cal. Rptr. 786, 520 P.2d
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 1  10 set out in ~ 35A.20[3][d]], for the rule that an individual does not
 2 possess a fundamental right to pursue an occupation wherein technical
    complexity and intimate relationship to the public interest and welfare
 3 counsel deference to legislative judgment. On these criteria, law

 4 enforcement is hardly a common occupation.
    The factual background of Sailer Inn, Inc. v. Kirby (1971)5 Cal. 3d 1, 95
 5
    Cal. Rptr. 329, 485 P.2d 529, is discussed in ~ 35A.20j3~[a]. In that case,
 6 petitioners challenged on equal protection grounds a statute which

 7
    restricted the employment of women bartenders. The Supreme Court in
    declaring the statute unconstitutional held that application of the strict
 s standard of review was necessary, not only because the statutory
 9 classification was based on sex but because the statute limited the
    fundamental right of one class of persons to pursue the lawful profession
10 of bartending. The Court relied for this conclusion principally on the rule
1 1 in both Purdy &Fitzpatrick v. California (1969) 71 Cal. 2d 566, 578, 79
    Cal. Rptr. 77, 456 P.2d 645, which held that any limitation on the
12
    opportunity for employment impedes the achievement of economic
13 security which is essential for the pursuit of life, liberty, and happiness

14
    and can only be sustained after careful scrutiny, and Truax v. Raich
   (1915) 239 U.S. 33, 41, 36 S. Ct. 7, 60 L. Ed. 131, in which the United
15 States Supreme Court stated that the right to work for a living in the

16 common occupations of the community is of the very essence of the
    personal freedom and opportunity that it was the purpose of the
17 Fourteenth Amendment to secure.

18 ❑ [b] Expansion of Principle
    Although there is language in Sailer Inn which suggests that an
19
    individual has a fundamental right to pursue any lawful occupation, the
20 Court disavowed such broad language in Hardy v. Stumph, discussed

21
    above. It is not possible to determine whether the decisions of the United
    States Supreme Court would support the reasoning in Hardy because the
22 Court has not ruled explicitly on employment as a fundamental interest

23 for the purposes of equal protection analysis. In Examining Bd. v. Flores
    de Otero (1976) 426 U.S. 572, 603-604, 96 S. Ct. 2264, 49 L. Ed. 2d 65 [set
24
    out in ~ 35A.31f31fa11, the Court quoted the rule of Truax that the right to
25 pursue a common occupation of the community was fundamental; but
    referred repeatedly throughout the opinion to employment in a "lawful
26
    occupation" and struck down, as a violation of equal protection,
27 restrictions on the practice of engineering and architecture which

28 conceivably are not common occupations under the standard of Hardy.
    Nevertheless, the primary reason for the result in Examining Bd. was
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     discrimination against aliens in these occupations. It is also true,
 2   however, that one of the cases relied on by Truax describes the right of
     citizens to earn a livelihood by any lawful calling and to pursue any
 3   livelihood or avocation as a liberty interest protected by the due process
 4   clause of the Fourteenth Amendment ~All~ever v. Louisiana (1896 165
     U.S. 578, 589, 591, 17 S. Ct. 427, 41 L. Ed. 832, questioned on another
 5
     point in Lincoln Fed. Labor Union No. 19129, American Fed. of Labor v.
 6   Northwestern Iron &Metal Co.(1948) 335 U.S. 525, 535, 69 S. Ct. 251, 93
 7
     L. Ed. 2121. But this case also refers to the privilege of pursuing an
     ordinary calling or trade. Arguably, Sailer Inn is authority for the
 8   additional proposition that a classification which burdens the right to
 9   pursue any employment—common or not—is subject to strict scrutiny
     where the basis for the burden is a suspect category such as sex or race.
10
11     . ❑
      Right to Travel Is Fundamental Interest
12
     In Memorial Hosp. v. Maricopa Count~1974)415 U.S. 250, 94 S. Ct.
13   1076, 39 L. Ed. 2d 306, a county refused to pay for nonemergency
14
     hospitalization of or medical care for an indigent who did not meet the
     one-year county residence requirement created by an Arizona statute. The
15   United States Supreme Court held that this durational residence
16   requirement was an infringement on the right to travel. As such, it could
     only be justified by a compelling state interest, and in this case, the state
17
     could not provide a justification.
18   The factual background of In re Kind (1970) 3 Cal. 3d 226, 90 Cal. Rptr.
     15, 474 P.2d 983, cert. denied, 403 U.S. 931 (1971), is discussed in
19
     § 35A.20[3]fdl. Petitioner sought to invalidate a child support statute that
20   placed a higher penalty on nonsupporting fathers who lived outside
21
     California. The state argued that the enhanced penalty facilitated its
     legitimate interest in enforcing child support obligations because it
22   "encouraged" absent fathers to move to and remain in California. The
23   Court responded that even if the statute was rationally related to the
     state's interest, it violated the individual's constitutional right to travel.
24
     The Court noted that even though the right to travel from one state to
25   another is not explicitly mentioned in the United States Constitution, it
     was firmly established and repeatedly recognized. The Court noted
26
     further that it was not necessary to determine whether former Penal Code
27   § 270 as an infringement of the fundamental constitutional right to travel
28
     could be justified by a compelling government interest, since the basic

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  1   objective of the law—to induce nonsupporting fathers to come to
 2    California—was not constitutionally legitimate.
         • [b] Scope of Right to Travel
 3    The factual background of In re King (1970) 3 Cal. 3d 226, 90 Cal. Rptr.
 4    15, 474 P.2d 983, cert. denied, 403 U.S. 931 (1971), is discussed in
      ~ 35A.20[3][d]. Petitioner sought to invalidate a child support statute that
 5
      placed a higher penalty on nonsupporting fathers who lived outside
 6    California. The California Supreme Court, in declaring the statute
 7
      unconstitutional as a violation of equal protection under the federal
      Constitution, held that the constitutional right to travel embodies more
 8    than merely the right to cross state lines and move about the country; it
 9    includes as well the right of the individual freely to choose a state of
      residence. It thus encompasses a statutory provision which penalizes the
 to   decision to reside in a state other than California.
11       • [c] Durational Residence Requirement Is Burden on Right to Travel
      The factual background of Memorial Hosp. v. Maricopa County (1974) 415
12
      U.S. 250, 94 S. Ct. 1076, 39 L. Ed. 2d 306, is discussed in § 35A.37[3][a].
13    The United States Supreme Court held that durational residence
14
      requirements were not, per se, unconstitutional as an infringement on the
      right to travel, but that a requirement that penalized the exercise of the
15    right to travel by restricting the ability to obtain such necessities of life as
16    medical care, food, or shelter must be justified by a compelling state
      interest. The Court held that the state could not provide such a
17    justification.
18    Counsel will note that the Supreme Court has declined to view durational
      residence requirements in suits for dissolution of marriage as an
19
      unconstitutional infringement on the right to travel. The Court stated
20    that a state's interest in the regulation of domestic relations provided a
21
      much stronger justification for those requirements than administrative
      convenience proposed as a justification in Memorial Hosp. [see Sosna v.
22    Iowa (1975) 419 U.S. 393, 416-417, 95 S. Ct. 553, 42 L. Ed. 2d 5321.
23    In Somers v. Superior Court (2009) 172 Cal. App. 4th 1407, 1414-1416, 92
      Cal. Rptr. 3d 116, an individual who was born in California in 1941, was
24
      issued a California birth certificate, which identified her sex as male. In
25    2005, she underwent gender reassignment surgery. She subsequently
      obtained an order from a court in Kansas, where she resided, legally
26
      changing her name, and then a Kansas driver's license, reflecting her new
27    name, and indicating her sex as female. She also obtained a Medicare card
28    reflecting her new name and gender. She was advised by two Kansas
      attorneys regarding changing her birth certificate that Kansas law did not
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 1   permit issuance of a new birth certificate to reflect a change of gender.
 2   She filed a petition under Health &Safety Code § 103425 in a California
     Superior Court for change of gender and issuance of new California birth
 3   certificate. She included a declaration from her physician indicating that
 4   she had undergone gender reassignment surgery, and a copy of the
     Kansas order for name change. She also filed her declaration and the
 5
     declaration of one of her Kansas attorneys, indicating that she could not
 6   obtain the relief sought in Kansas. The trial court denied the petition on
     the basis that she was not a resident of California (172 Cal. App. 4th
 7
     1407, 1410-1411). The Court of Appeal held that the statutory
 8   requirement that she file her petition for new California birth certificate
 9   under Section 103425 in her county of residence, when she resided outside
     California, violated her equal protection rights under the Fourteenth
l0   Amendment and the California Constitution. The court found first that a
11   birth certificate is a vital, primary source of personal identification,
     necessary to obtain other forms of identification such as a Social Security
12
     card or passport (172 Cal. App. 4th 1407, 1411). The court then found that
13   the trial court had jurisdiction to grant the petition. The court had subject
14
     matter jurisdiction to order issuance of a new California birth certificate
     to reflect the gender reassignment of an individual born in California
15   pursuant to the statutory scheme, and it had personal jurisdiction over
16   the individual, who consented to the court's jurisdiction by voluntarily
     filing the petition and personally appearing at the hearing (172 Cal. App.
17   4th 1407, 1411-1412). The court then held that the statutory requirement
18   that an individual filing a petition under Health & Saf. Code ~ 103425 for
     issuance of a new California birth certificate file in the county of his or her
19
     residence was a violation of the equal protection and clause as applied to
20   nonresident transgender individuals who were born in California. The
21
     court first determined that strict scrutiny was the appropriate standard to
     apply, given that the classification implicated the constitutionally
22   guaranteed right of interstate travel because it penalizes California-born
23   transgender individuals for moving to a state outside of California (172
     Cal. App. 4th 1407, 1413-1415). Further, on review of the legislative
24
     history of Section 103425, the court found no reason for the requirement
25   that individuals seeking issuance of a new California birth certificate file
     the petition in their county of residence. Thus, the court could discern no
26
     compelling state interest in treating California-born transgender
27   individuals who reside out of state differently from California-born
28
     transgender individuals who reside in California when either class seeks
     issuance of a new California birth certificate under § 103425 172 Cal.
                                           - 63-
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 1      App. 4th 1407, 1415). The court also found that even if constitutional
 2      rights were not implicated by the classification, there was no rational
        basis for the disparate treatment. Accordingly, the requirement that a
 3      petitioner under Health & Safety Code § 103425 file the petition in the
 4      county of his or her residence denied California-born transgender
        individuals residing outside California the same rights that California-
 5
     ~ born transgender individuals residing in California had under Section
 6   ~! 103425(172 Cal. App. 4th 1407, 1415-1416).
 7
        ❑ [4] Additional Authorities
           • [a] Right to Travel Is Fundamental Interest
 8      Shapiro v. Thompson (1969) 394 U.S. 618, 89 S. Ct. 1322, 22 L. Ed. 2d
 9     600, is the seminal decision describing the fundamental right of travel. In
        Shapiro, the United States Supreme Court held that state statutes
10      requiring one year of residence as a condition precedent for receipt of state
11      welfare funds violated the equal protection clause of the Fourteenth
        Amendment by impinging on the constitutional right to travel freely from
12
        state to state. The Court reasoned that the nature of the federal union
13      and the constitutional concepts of personal liberty both require that all
14
        citizens be free to travel throughout the nation uninhibited by statutes,
        rules, or regulations which unreasonably burden or restrict this
15      movement. Even though the right to travel is not explicitly mentioned in
16      the federal Constitution, the Court found no need to locate a particular
        constitutional provision granting it. It is sustained, instead, as a
17
        constitutional right by its obvious necessity to creation of a strong union
18      and its long recognition as a basic right under the federal Constitution.
        The statutes may not be justified on the ground that they discourage the
19
        poor from travel to a state; that kind of discouragement directly chills the
20      assertion of a constitutional right by penalizing those who choose to
21
        exercise it.

22    Right to Acquire Property as Fundamental Interest
23   In Shelley v. Kraemer (1947) 334 U.S. 1, 68 S. Ct. 836, 92 L. Ed. 1161, the
     petitioners were individuals who had bought a house in Missouri which
24
     was subject to a restrictive agreement that no part of the property be
25   occupied by a person not of the "Caucasian race." Other parties to the
     agreement, who were owners of property in the area, sued to restrain
26
     petitioners, who were black, from taking possession. The trial court
27   denied relief, but the Missouri Supreme Court reversed. The United
28   States Supreme Court then granted certiorari and reversed the Missouri
     Supreme Court on the ground that judicial action enforcing the restrictive
                                            - 64-
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  1 'I agreements was state action for purposes of the Fourteenth Amendment

 2 and discriminated on the basis of color in the enjoyment of property
      rights. Although the Court was not required to determine whether
 3 property rights were fundamental interests for purposes of analysis under

 4 the two-tier standard, it stated that, without doubt, the rights to acquire,
      enjoy, own, and dispose of property were among the civil rights intended
 5
      to be protected from discriminatory state action by the Fourteenth
 6    Amendment. Equality in the enjoyment of property rights was regarded
      by the framers of the amendment as an essential precondition to the
 7
      realization of other basic civil rights and liberties which the amendment
 8    was intended to guarantee.
 9    The factual background of Fujii v. California (1952) 38 Cal. 2d 718, 242
      P.2d 617, is discussed in ~ 35A.30j3][a]. In that case, the California
 10   Supreme Court held that the state's former Alien Land Law [Stats. 1921,
 11   p. lxxxiii, as amended] violated the equal protection clause of the
      Fourteenth Amendment because it discriminated on the basis of
 12
      nationality in regard to the right of owning property. The Court pointed
13    out that, unquestionably, the rights to acquire, enjoy, own, and dispose of
14
      property are among the civil rights intended to be protected from
      discriminatory state action by the Fourteenth Amendment and that the
15    power of a state to regulate the use and ownership of land must be
 16   exercised subject to the controls and limitations of that amendment.
       ❑ [4] Additional Authorities
 17
         • [a] Right to Acquire Property as Fundamental Interest
 18   In Mulkey v. Reitman (1966)64 Cal. 2d 529, 50 Cal. Rptr. 881, 413 P.2d
      825, affd, 387 U.S. 369, 87 S. Ct. 1627, 18 L. Ed. 2d 830 (1967), plaintiffs,
 19
      a black couple, brought an action for violation of the Unruh Civil Rights
20    Act [Civ. Code § 511 on account of discrimination in housing. The trial
21
      court granted defendants' motion for summary judgment on the ground
      that former Cal. Const., art. I, § 26, incorporated into the Constitution as
22    a result of the voter's approval of Proposition 14 in 1964, nullified the
23    application of the Act to housing discrimination by prohibiting the state
      from limiting the right of individuals to dispose of real property in any
24
      way they chose. Plaintiffs appealed to the California Supreme Court. The
25    Supreme Court reversed, finding that Proposition 14 violated the equal
      protection clause of the Fourteenth Amendment. The Court held the role
26
      of the state in encouraging private discrimination was state action which
27    denied the guarantee of equal protection because it failed to protect the
28
      individual's right to acquire, enjoy, own, and dispose of property which is

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 1 essential to the realization of other basic rights and liberties which the
 2 Fourteenth Amendment was intended to guarantee.

 3    Right to Acquire Property as Fundamental Interest
 4 In People v. Delacy (2011) 192 Cal. App. 4th 1481, 122 Cal. Rptr. 3d 216,
     defendant was charged with four counts of unlawful possession of
 5
    firearms under Pen. Code § 12021(c)(1), based on convictions within the
 6 past 10 years of misdemeanor battery under Pen. Code § 242, one of the

 7
     misdemeanors enumerated in § 12021(c)(1), and one count of unlawful
     possession of ammunition under Pen. Code § 12316(b)(1). The firearms
 8 and ammunition charges were tried separately. Prior to trial in the

 9 firearm case, defendant moved to dismiss the information on the ground
    Pen. Code § 12021(c)(1) violated the Second Amendment right to bear
10 arms, as interpreted in the United States Supreme Court's decision in

1 1 District of Columbia v. Heller (2008) 554 U.S. 570, 128 S. Ct. 2783, 171 L.
     Ed. 2d 637. The trial court denied the motion, relying on People v. Flores
12
    (2008) 169 Cal. App. 4th 568, 86 Cal. Rptr. 3d 804, in which the court
13 rejected apost-Heller challenge to Pen. Code § 12021(c)(1)(People, supra,

14
     at pp. 1485-1486).
     Defendant appealed, challenging the constitutionality of Pen. Code
15 ~ 12021(c~ as a violation of the Second Amendment right to bear arms

16 and equal protection. With regard to equal protection, defendant argued
     that § 12021(c)(a) violates equal protection because it prohibits firearm
17
     possession by persons convicted of the California misdemeanors specified
18 in the statute, but not by persons convicted of similar offenses in other
    jurisdictions. By contrast, Pen. Code § 12021(a)(1), which bars firearm
19
     possession by convicted felons, applies to any person convicted of a felony
20 "under the laws of the United States, the State of California, or any other
21
     state, government, or country"(192 Cal. App. 4th 1481 at 1493). The
     Court of Appeal affirmed the convictions. In the absence of a suspect class
22 or a fundamental right, the equal protection challenge to § 12021(c)(1) was

23   to be evaluated under the rational basis test. The Court of Appeal had
     applied a rational basis level of scrutiny to a previous challenge to Pen.
24
     Code ~ 12021(c)(1) in In re Evans (1996) 49 Cal. App. 4th 1263, 1269-
25   1274, 57 Cal. Rptr. 2d 314, challenging the aspect of § 12021(c)(1) that
     permitted certain individuals to seek relief from the statute's prohibition
26
     on firearm possession. The Evans court refused to apply strict scrutiny
27   because the classification of misdemeanants did not involve a typically
28   suspect classification such as race or sex and the private right to bear
     arms was not a fundamental right under the Second Amendment.
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     However, the United States Supreme Court's recent Second Amendment
 2   jurisprudence called into question the conclusion that the private right to
     bear arms is not a fundamental right. Following its determination in
 3   Heller that the right to bear arms is a private right guaranteed by the
 4   Second Amendment, the Court held in McDonald v. City of Chicago (2010)
     561 U.S. 742, 130 S. Ct. 3020, 3036, 3050, 3059, 177 L. Ed. 2d 894 that
 5
     this right is "fundamental" for purposes of the Due Process Clause of the
 6   Fourteenth Amendment (plur. opn. of Alito, J. and conc. opn. of Thomas,
 7
     J.). In United States v. Vongxav (9th Cir. 2010) 594 F.3d 1111, 1118-
     1119, in which the defendant raised an equal protection challenge to the
 8   federal felon-in-possession statute, the Ninth Circuit Court of Appeals
 9   court rejected the defendant's argument that strict scrutiny should apply,
     reasoning the statute did not affect a fundamental right because the
10   defendant belonged to the class of persons who may be disqualified from
11   exercising Second Amendment rights under Heller, in which the Supreme
     Court purposefully differentiated the right to bear arms generally from
12
     the more limited right held by felons. The Vongxay court accordingly
13   applied pre-Heller case law, specifically Lewis v. United States(1980) 445
14
     U.S. 55, 100 S. Ct. 915, 63 L. Ed. 2d 198, that established rational basis as
     the standard of scrutiny for equal protection challenges relating to the
15   right to bear arms. The Court of Appeal found the Vongxay analysis
16   persuasive and followed it. Thus, the court held that because
     misdemeanants subject to Pen. Code § 12021(c) 1) were disqualified to the
17
     same extent as felons from exercising Second Amendment rights, they
18   could claim no "fundamental" right that would invoke elevated scrutiny
     under the Equal Protection Clause, and the statute was subject only to a
19
     rational basis analysis.
20   The court then found two separate rational bases for the failure of Pen.
21
     Code § 12021(c)(1) to include out-of-state misdemeanants. By carefully
     enumerating the particular misdemeanors that disqualified a person from
22   weapons possession, the Legislature made a judgment that all crimes
23   serious enough to be classified as felonies are serious enough to justify
     depriving persons committing those crimes of the right to bear arms and
24
     recognized that not all misdemeanors, which vary widely in substance and
25   seriousness, suggest that the violator cannot responsibly possess weapons.
     The concern that other jurisdictions might not treat misdemeanor crimes
26
     with the same level of due process afforded in California justified the
27   differential treatment, and that as a practical matter it would be difficult
28
     for the Legislature to extend § 12021(c)(1) to misdemeanor crimes
     committed in other states in a fair and equitable manner constituted
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   legitimate governmental concerns sufficient to justify the Legislature's
 2 decision not to include out-of-state misdemeanants under § 12021 Peo le
   supra, at pp. 1493-1498).
 3

 4
           RULES FOR FILING COURT DOCUMENTS
 5

 6
     PRO SE INDIGENT LITIGANT DOES NOT HAVE ACCESS TO E-
     FILE AND IS MISTREATED BY JUDGES, COURT STAFF,ETC.

 s
                 o Access to Courts as Fundamental Interest
 9
        In Boddie v. Connecticut (1971) 401 U.S. 371, 91 S. Ct. 780, 28 L. Ed. 2d
10      113, a group of welfare recipients challenged the constitutionality of
        certain state procedures for the commencement of divorce proceedings, as
11
        the procedures had been applied to them, including the requirement of
12      payment of court fees and costs for service of process. The Supreme Court
13
        held that withholding access to the courts on the basis of indigency when
        the purpose was to obtain a divorce violated the due process clause of the
14   ', Fourteenth Amendment. Although the Court framed its views in terms of
15   ' the due process clause, the test of constitutionality which it used is
        comparable to the strict scrutiny test in equal protection analysis. The
16
        Court stated first that due process requires, at a minimum, that absent a
17      countervailing state interest of overriding significance, persons forced to
        settle their claims through the judicial process must be given a
1s
        meaningful opportunity to be heard. Second, a statute or rule may be
19      constitutionally invalid as applied when it operates to deprive an
20      individual of a protected right although its general validity is beyond
        question. The Court added that although it cannot be said that access to
21      the courts for all individuals under all circumstances is guaranteed by the
22      Fourteenth Amendment, such access was required in this case.
        In Payne v. Superior Court(1976) 17 Cal. 3d 908, 132 Cal. Rptr. 405, 553
23
        P.2d 565, an indigent prisoner's request to attend the trial of a civil case
24      in which damages were sought against him was denied by state prison
        authorities. The Supreme Court held that the dual deprivation of
25
        appointed counsel and the right to personal presence is an
26      unconstitutional violation of the prisoner's rights under the due process
27      and equal protection clauses of both the state and federal Constitutions.
        The Court first noted that none of the constitutionally guaranteed
28     freedoms would be secure if a person could be deprived of possessions
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     without an opportunity to defend them at a meaningful time and in a
 2   meaningful manner, and that the right of access to the courts included
     access to all courts, both state and federal, without regard to the type of
 3   petition or relief sought. When indigent prisoners are denied access to a
 4   court to defend a civil suit while free citizens and prisoners possessing the
     means to hire counsel possess such a right, the Court found that an equal
 5
     protection question is raised in addition to that of due process. The Court
 6   concluded that since the right of access is one of fundamental
 7
     constitutional dimension, its denial by the state must be supported by a
     compelling state interest. In this case, the state could not provide such a
 8   justification.
 9            o [b] Denial of Indigent's Ability to Obtain Divorce
     The factual background of Boddie v. Connecticut (1971) 401 U.S. 371, 91
to   S. Ct. 780, 28 L. Ed. 2d 113, is discussed in § 35A.43[3][a]. Prior to
11   rebutting the arguments put forth by the state to support its fee and cost
     requirements, the Supreme Court pointed out that since access to courts
12
     was the only way to obtain a divorce, refusal to admit indigents unless
13   they pay the required costs was equivalent to denying them an
14
     opportunity to be heard on their claimed right to dissolution of their
     marriages, which in the absence of sufficient countervailing justification
15   would be a denial of due process.
16   Subsequently, in Ortwein v. Schwab (1973) 410 U.S. 656, 658-659, 93 S.
     Ct. 1172, 35 L. Ed. 2d 572 and United States v. Kras (1973) 409 U.S. 434,
17   443-444, 93 S. Ct. 631, 34 L. Ed. 2d 626, the Supreme Court declined to
18   extend the principle of Boddie to attempts by indigents to challenge
     administrative decisions affecting welfare benefits and to file a petition for
19
     bankruptcy, respectively, without payment of filing fees on the ground
20   that the individual's interest in a bankruptcy discharge or increased
21
     welfare benefits is not of the same constitutional significance as the
     individual interest in the marital relationship. In California, however, the
22   courts have an inherent power to waive filing fees for indigents and the
23   California Supreme Court has ruled that whenever a motion to proceed in
     forma pauperis is supported by an affidavit sufficient on its face to show
24
     indigency, the court must grant the motion unless it has good reason to
25   doubt the truthfulness of the factual allegations in the affidavit, or in
     unusual circumstances, order a hearing for the purpose of inquiring into
26
     the matter [Earls v. Superior Court(1971)6 Cal. 3d 109, 114, 98 Cal.
27   Rptr. 302, 490 P.2d 814]. Although the Court has commented that the rule
28   assists indigents in securing their fundamental rights, the legal basis for
     the judicial power is common law usage [see Earls v. Superior Court
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 1   (1971)6 Cal. 3d 109, 117, 98 Cal. Rptr. 302, 490 P.2d 814; Ferguson v.
 2   Keays (1971)4 Cal. 3d 649, 653, 656 fn. 6, 94 Cal. Rptr. 398, 484 P.2d 70].
              o [c] Denial of Prisoners' Access to Legal Resources
 3   In Bounds v. Smith (1977) 430 U.S. 817, 97 S. Ct. 1491, 52 L. Ed. 2d 72, a
 4   group of prison inmates filed a law suit alleging that they were denied
     their rights under the Fourteenth Amendment when the state failed to
 5
     provide legal research facilities. The district court held that this failure
 6   constituted a violation of the prisoners' rights both to access to the courts
 7
     and to equal protection of the laws. The Supreme Court affirmed. In the
     course of its opinion, the Court emphasized that the constitutional right of
 8   access to the courts for prisoners has been established beyond doubt. The
 9   states must insure that such access is adequate, effective, and
     meaningful. Since prisoners are entitled to a reasonably adequate
to   opportunity to present claims that their fundamental constitutional rights
11   have been violated, the Court reasoned that states may even have to
     shoulder affirmative obligations to assure all prisoners meaningful access
12
     to the courts. It concluded that the fundamental constitutional right of
13   access to the courts requires prison authorities to assist inmates in the
14
     preparation and filing of meaningful legal papers by providing prisoners
     with adequate law libraries or adequate assistance from persons trained
15   in the law.
16
           o [d] Denial of Prisoner's Ability to Defend Civil Suit
17
   The factual background of Payne v. Superior Court(1976) 17 Cal. 3d 908,
18 132 Cal. Rptr. 405, 553 P.2d 565, is discussed in § 35A.43[3][a].

19

20 "...it is settled law that delivery of a pleading to a proper official is
   sufficient to constitute filing thereof." United States u. Lombardo,
21
   241 U.S. 73, 36 S. Ct. 508, 60 L. Ed. 897(1916); Milton v. United States,
22 105 F.2d 253, 255 (5th Cir. 1939). In Greeson u. Sherman, 265 F. Supp.

23
   340(D.C.Va.1967) it was held that a pleading delivered to a deputy clerk
   at his home at night was thereby "filed."(Freeman u. Giacomo Costa
24 Fu Adrea, 282 F. Supp. 525 (E.D.Pa. 04/5/1968).)

25
   FRCP Rule 5(d)(2): "A paper is filed by delivering it:(A)to the
26 clerk"• FRCP Rule 77(a)"When Court Is Open. Every district court is

27 considered always open for filing any paper, issuing and returning
   process, making a motion, or entering an order."• [emphasis added.]
28

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 1 "The duty of the clerk is to make his record correctly represent the
 2 proceedings in the case."• (Wetmore v. Karrick, 27 S. Ct. 434, 205 U.S.
   141 (U.S. 03/11/1907).) Failing to file documents presented and
 3 reflect the documents on the docket is a failure to perform the

 4 ministerial duties of the Clerk of the Court.[emphasis added.]

 5 "...his [Clerk of the Court] job is to file pleadings and other documents,

 6 maintain the court's files and inform litigants of the entry of court orders."
      Sanders v. Department of Corrections, 815 F. Supp. 1148, H49(N.D.
 7
      Ill. 1993).(Williams u. Pucinski, O105588 (N.D.IIl. 01/13/2004).)
 8
      The clerk of a court, like the Recorder is required to accept
 9
      documents filed. It is not incumbent upon him to judicially determine
 to   the legal significance of the tendered documents. In re Halladjian, 174
      F. 834(C.C.Mass.1909); United States, to Use ofKinney u. Bell, 127 F.
11
      1002(C.C.E.D.Pa.1904); State ex rel. Kaufman v. Sutton, 231 So.2d
12    874(F1a.App.1970); Malinou v. McElroy, 99 R.I. 277, 207 A.2d 44 (1965);
13    State ex rel. Wanamaker u. Miller, 164 Ohio St. 176, 177, 128 N.E.2d
      110 (1955.).)(Daniel K Mayers Et Al., u. Peter S. Ridley Et Al. No. 71-
14    1418 (06/30/72, United States Court of Appeals for the DC Circuit.)
15    [emphasis added.]
16 The specific allegation in Mr. Snyder's complaint is that Mr. Nolen, acting

17 as the Circuit Court Clerk, refused to file or actually removed already
      filed papers from the court's docket. Under Illinois law, the clerk simply
18
      has the ministerial duty to file papers that conform to the technical
19    rules of court. See In re Estate of Davison, 430 N.E.2d 222, 223 (Ill.
      App. Ct. 1981)("Delivery alone has been held to constitute filing since the
20
      person filing has no control over the officer who receives documents.
21    Subsequent ministerial tasks of the clerk evidence the filing of a
22    document but are not essential to its perfection." (internal citation
      omitted)); Roesch-Zeller, Inc. u. Hollembeak, 124 N.E.2d 662, 664 (Ill.
23    App. Ct. 1955)("The duty of the clerk to file the document on the
24    date it was presented to him was a ministerial act, the performance
      of which could be compelled by writ of mandamus.").(Snyder v. Nolen,
25
      380 F.3d 279(7th Circuit, 08/13/2004).)[emphasis added.]
26
   The word "filed" the Act uses, is, as applied to court proceedings, a word
27
   of art, having a long established and well understood meaning, deriving
28 from the practice of filing papers on a string or wire. It requires of one

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  1 filing a suit, merely the depositing of the instrument with the

 2 custodian for the purpose of being filed. Except where some specific
      statute otherwise provides, and none such is present here, it charges him
 3 with no further duty, subjects him to no untoward consequences as a

 4 result of the failure of the custodian to do his duty, by placing the
       instrument on the file, or as in modern practice placing his file mark on
 5
       the instrument. Collected in vol. 3 Words and Phrases, First Series, pp.
 6     2764-2770, inclusive; vol. 2 Words and Phrases, Second Series, pp. 531,
 7
       534, may be found cases from many jurisdictions, all to the same effect,
       that the filing of a paper is the delivery of it to the officer at his
 8     office, to be kept by him as a paper on file, and that the file mark of the
 9     officer is evidence of the filing, but it is not the essential element of the
       act. A paper may be filed without being marked or endorsed by the clerk,
 to   In re Conant's Estate, 43 Or. 530, 73 P. 1018; Holman v. Cheuaillier,
 11    14 Tex. 337; Eureka Stone Co. u. Knight, 82 Ark. 164, 100 S.W. 878;
      Darnell u. Flynn,69 W.Va. 146, 71 S.E. 16. Perhaps the best statement
 12
       of the meaning and consequences of filing is to be found in the
 13    Chevaillier case, supra."Though the ancient mode of filing papers has
 14
       gone into disuse, the phraseology of the ancient practice is retained, in the
       common expressions 'to file,' 'to put on file,''to take off the file,' &c., from
 15   'filum' the thread, string, or wire used in ancient practice, for connecting
 16    the papers together. The term 'file' is also used to denote the paper placed
       with the Clerk, and assigned by the law to his official keeping. A file is a
 17    record of the Court.(1 Litt., 112; Burr. L.D. tit. File.) It is the duty of the
18     Clerk, when a paper is thus placed in his custody or 'filed' with him, to
       endorse upon it the date of its reception, and retain it in his office, subject
19
       to inspection by whomsoever it may concern; and that is what is meant by
20     his 'filing' the paper. But where the law requires or authorizes a
21
       party to file it, it simply means that he shall place it in the official
       custody of the Clerk. That is all that is required of him; and if the
22     officer omits the duty of endorsing upon it the date of the filing, that
23     should not prejudice the rights of the party. And hence it is the common
       practice, where that has been omitted, for the officer, with the sanction of
24
       the Court, to make the endorsement now for then; the doing of the act
25     now, that is, at the time when it is actually done, being allowed to operate
       as a substitute and equivalent for doing it then, or when it should have
26
       been done. And acts thus allowed to be done by the Clerk of the Court,
27     with the sanction of the Court, have the same effect as if they had been
28     done at the proper time.(1 Stra. 639; 2 Tidd's Pr. 932.) It was the filing of
       the affidavit and certificate by the party, under the statute, and not the
                                             - ~2-
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 1   endorsement of the date of their reception, or the filing by the Clerk,
 2   which was a condition precedent to the issuing of the execution in this
     case. The object of the motion to obtain the authority of the Court for the
 3   filing of the clerk now for then was that the Court might receive evidence
 4   of the time of the actual filing by the party, in order that the filing by the
     Clerk might relate back, and take effect from that period, as though it had
 5
     been done then, when it should have been done.(Milton u. United
 6   States., 105 F.2d 253(5th Cir. 07/06/1939).) Johansson v. Towson, 177
     F. Supp. 729(M.D.Ga. 02/17/1959).[emphasis added.]

 8 The Federal Rules of Civil Procedure provide that'The district courts
 9
    shall be deemed always open for the purpose of filing any pleading * * *'
    Rule 77(a); that'The clerk's office with the clerk or a deputy clerk in
to attendance shall be open during business hours on all days except

1 1 Sundays and legal holidays * * *', Rule 77(c); that'A civil action is
    commenced by filing a complaint with the court', Rule 3 and that 'The
12 filing of pleadings and other papers with the court as required by these

13 rules shall be made by filing them with the clerk of the court, except that
    the judge may permit the papers to be filed with him, in which event he
14
    shall note thereon the filing date and forthwith transmit them to the
15 office of the clerk.' Rule 5(e), 28 U.S.C.A. The tracing of our word 'file' to

16
    the Latin word 'filum' and its reference to the ancient practice of placing
    papers on a thread or wire for safekeeping and later reference is done in
17 many cases, notably in United States v. Lombardo, 1916, 241 U.S. 73,

18 36 S. Ct. 508, 60 L. Ed. 897 and more recently in Milton u. United
    States, 5 Cir., 1939, 105 F.2d 253, 255. The latter case points out that all
19
    that is required on the part of a person filing a paper with an
20 official is 'merely the depositing of the instrument with the
    custodian for the purpose of being filed'.(See Palcar Real Estate
21
    Co. u. Commissioner ofInternal Revenue,8 Cir., 1942, 131 F.2d 210;
22 Schultz u. United States, Ct.C1.1955, 132 F.Supp. 953, 955; McCord v.

23
    Commissioner ofInternal Revenue, 1941, 74 App.D.C. 369, 123 F.2d
    164, 165; Central Paper Co. u. Commissioner ofInternal Revenue,6
24 Cir., 1952, 199 F.2d 902, 904.(Johansson u. Towson, 177 F. Supp. 729

25 (M.D.Ga. 02/17/1959).)[emphasis added.]

26 The filing of a paper takes place upon the delivery of it to the
27 officer at his office. Milton v. United States, 5th Cir. 1939, 105 F.2d
   253; Poynor v. Commissioner, 5th Cir. 1936, 81 F.2d 521. When the
2s mails are utilized for the purpose of filing an instrument, the filing takes
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 1 'place upon delivery at the office of the official required to receive it.
 2 Wampler v. Snyder, 1933, 62 App. D.C. 215, 66 F.2d 195.(Phinney v.
    Banh of Southwest National Association, 335 F.2d 266 (5th Cir.
 3 08/05/1964).)(See also United States u. Missco Homestead Assn Inc.,

 4 185 F.2d 283(8th Cir. 11/01/1950).)(Dienstag v. St. Paul Fire &
    Marine Ins. Co., 164 F. Supp. 603(S.D.N.Y. 11/18/1957); Thorndal u.
 5
    Smith, Wild, Beebe & Cades, 339 F.2d 676(8th Cir. 01/04/1965); Lone
 6 Star Producing Co. u. Gulf Oil Corp., 208 F. Supp. 85(E.D.Tex.
    07/17/1962).)[emphasis added.]

 s Although Lombardo was decided before the Federal Rules of Civil
 9
      Procedure were promulgated, courts have relied on it and Federal Rules
      of Civil Procedure 3, 5(e), and 77 for the same proposition. See, e.g.,
10    Milton v. United States, 105 F.2d 253, 255 (5th Cir. 1939)("The word
11   'filed'...requires of one filing a suit, merely the depositing of the
      instrument with the custodian for the purpose of being filed.
12    Except where specific statute otherwise provides, and none such
13    is present here, it charges him with no further duty,[and]
      subjects him to no untoward consequences."); Greeson u. Sherman,
14
      265 F.Supp. 340, 342(W.D. Va. 1967)("[I]f rule 3 is read in conjunction
15    with Rule 5(e)... [a complaint is filed when] the complaint is delivered to
16
      an officer of the court who is authorized bo receive it."); Freeman u.
      Giacomo Costa Fu Andrea, 282 F.Supp. 525, 527(E.D.Pa. 1968)("[I]t is
17    settled law that delivery of a pleading to a proper official is sufficient to
18    constitute filing thereof.") In Cintron u. Union Pacific R. Co., 813 F.2d
      917, 920(9th Cir. 1987), the court said: The consensus is that "[p]apers
19    and pleadings including the original complaint are considered filed when
20    they are placed in the possession of the clerk of the court." C. Wright & A.
      Miller, Federal Practice and Procedure A§ 1153 (1969). See United
21
      States v. Dae Rim Fishery Co., 794 F.2d 1392, 1395 (9th Cir. 1986). The
22    court then discussed earlier cases, including Loya v. Desert Sands
23
      Unified School Dist., 721 F.2d 279(9th Cir. 1983)x€ ; .(Stone Street
      Capital, Inc. u. McDonald's Corp., 300 F.Supp.2d 345(D.Md.
24    11/06/2003).)[emphasis added.]
25
   Filing is complete once the document is delivered to and received
26 by the proper official. United States u. Lombardo, 241 U.S. 73, 76, 36

27 S.Ct. 508, 60 L.Ed. 897(1916). Although Lombardo was decided before
   the Federal Rules of Civil Procedure were promulgated, courts have relied
2s on it and Federal Rules of Civil Procedure 3, 5(e), and 77 for the same
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 1   proposition. See, e.g., Milton v. United States, 105 F.2d 253, 255(5th
 2 Cir. 1939); Greeson v. Sherman, 265 F. Supp. 340, 342(W.D.Va. 1967)
   ("If Rule 3 is read in conjunction with Rule 5(e)... [a complaint is filed
 3 when] the complaint is delivered to an officer of the court who is

 4 authorized to receive it."); Freeman v. Giacomo Costa Fu Andrea, 282
     F. Supp. 525, 527(E.D.Pa. 1968)("[I]t is settled law that delivery of a
 5
   ! pleading to a proper official is sufficient to constitute filing thereof.").
 6(   Central States, SE & SW Pension u. Paramount Liquor, 34
     F.Supp.2d 1092 (N.D.IIl. 02/09/1999).)[emphasis added.]
 7

 8 The docketing of filed documents is a ministerial act that the
   Office of the Clerk is obligated to perform.(See Ray v. United
 9
   States, 57 S. Ct. 700, 301 U.S. 158(U.S. 04/26/1937).)[emphasis
10 added.]

~~
     Equal Protection Analysis
12
    Before decided the level of scrutiny to apply, the court must consider
13
    whether two groups or more groups are sufficiently similar to require
14 some level of scrutiny to determine whether a distinction is justified. The

15 court then decides the level of scrutiny to apply to determine whether the
    distinction is justified [see, e.g., Taylor v. County of San Diego (9th Cir.
16 2015)800 F.3d 1164, 1167-1171 (sexually violent predators are not

17 similarly situated to other civilly committed offenders); Litmon v. Harris
   (9th Cir. 2014) 768 F.3d 1237, 1243-1244 (sexually violent predators are
18
    not similarly situated to either mentally disordered offenders or mentally
19 disordered sex offenders, and California legislature had rational basis for
   imposing more frequent reporting requirements on sexually violent
20
    predators); People v. Castel(2017) 12 Cal. App. 5th 1321, 1326, 219 Cal.
21 Rptr. 3d 829 (parolees and other supervised persons not similarly situated

22 for purposes of revocation procedures); People v. Superior Court(2017) 12
    Cal. App. 5th 687, 721, 220 Cal. Rptr. 3d 1 (minors who committed
23 offenses before and after effective date of Proposition 57 are similarly

24 situated; state has rational basis for justifying prospective application of
   law); People v. Dunle~2016)247 Cal. App. 4th 1438, 1447-1453, 203 Cal.
25
    Rptr. 3d 335 (mentally disordered offenders, sexually violent predators,
26 and persons found not guilty by reason of insanity are similarly situated
   for purposes of testimonial privilege, and strict scrutiny applied); People
27
    v. Moreno (2014) 231 Cal. App. 4th 934, 941-943, 180 Cal. Rptr. 3d 522
28 (denying criminal defendant who had successfully petitioned to reduce

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   two prior felonies to misdemeanors and dismiss them right to petition for
 2 certificate of rehabilitation, while allowing felons to petition did not
   violate equal protection, where felons who have had crimes reduced to
   misdemeanors and dismissed are not similarly situated to those
   remaining felons following completion of probation or parole); Finber~ v.
   Manset(2014) 223 Cal. App. 4th 529, 535, 167 Cal. Rptr. 3d 109 (natural
   parents and nuclear families with adoptive parent who was formerly
 6 stepparent were sufficiently similar and treated differently under Fam.

 7
   Code § 3104(b~5), governing grandparent visitation)].

 s The United States Supreme Court and the California Supreme Court
    follow a so-called "two-tier" approach to equal protection challenges. At a
 9
     minimum, a statutory classification or other form of state action must
10 bear some rational relationship to a legitimate state purpose ~In re King
1 1 (1970) 3 Cal. 3d 226, 232, 90 Cal. Rptr. 15, 474 P.2d 983, cert. denied, 403
     U.S. 931 (1971)]. Statutes that classify and impose differing procedural
12 requirements on litigants are generally valid if the classification is

13 supported by a rational basis fFitzgerald v. Racing Assn of Central Iowa
     X2003) 539 U.S. 103, 123 S. Ct. 2156, 2159-2161, 156 L. Ed. 2d 97
14
    (difference in state tax rates between slot machines at race tracks and slot
15 machines on riverboats is subject to rational basis review); People v.

16
     Turnage (2012) 55 Cal. 4th 62, 74-75, 144 Cal. Rptr. 3d 489, 281 P.3d 464
    (conviction under Pen. Code § 148.1 for placing false or facsimile bomb,
17 without finding of sustained fear, did not violate equal protection despite

18 finding of sustained fear requirement in Pen. Code ~ 11418.1 for
     conviction of false or facsimile weapon of mass destruction, where
19 legislative view of false weapons of mass destruction differently than false

20 bombs was rationally based); People v. Health Laboratories of North
     America, Inc.(2001) 87 Cal. App. 4th 442, 449, 104 Cal. Rptr. 2d 618
21
    (exemption in Code Civ. Proc. 425.16 dZ of public prosecutors'
22 enforcement actions from anti-SLAPP motions bears directly on

23
    furthering state's legitimate interest of allowing prosecutors to pursue
     actions to enforce laws unencumbered by delay, intimidation, or
24 distraction)].

25
   Equal protection claims may be brought by a "class of one" when the
26 plaintiff alleges that he or she was intentionally treated differently from

27 others similarly situated and there is no rational basis for the difference
   in treatment [Village of Willowbrook v. Olech (2000) 528 U.S. 562, 564,
28 120 S. Ct. 1073, 145 L. Ed. 2d 1060 (per curiam); see Genesis

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     Environmental Services v. San Joaquin Valley Unified Air Pollution
 2 Control Dist.(2003) 113 Cal. App. 4th 597, 604-608, 6 Cal. Rptr. 3d 574
    (plaintiff sufficiently alleged equal protection claim for class of one by
 3 alleging plaintiff was treated differently from similarly situated persons,

 4 difference in treatment was intentional, and there was no rational basis
    for difference in treatment)]. Although the latitude given state economic
 5
     and social regulation is necessarily broad, when the classifications
 6 employed in state action approach sensitive and fundamental personal

 7
    rights, the courts exercise a stricter scrutiny [Trimble v. Gordon (1977)
    430 U.S. 762, 766-767, 97 S. Ct. 1459, 52 L. Ed. 2d 311. As stated in
    several cases, if state action classifies individuals on the basis of a suspect
 9 category, such as race or ancestry, or infringes a fundamental interest,
    such as the right to liberty, it is subject to strict judicial scrutiny [see, e.g.,
to Graham v. Richardson (1971) 403 U.S. 365, 371-372, 375-376, 91 S. Ct.

1 1 1848, 29 L. Ed. 2d 534; Parents Involved in Community Schools v. Seattle
    School Dist., No. 1 (9th Cir. 2004) 377 F.3d 949, 960; Hunter v. Regents of
12
    the University of California (9th Cir. 1999) 190 F.3d 1061, 1063 (race); In
13 re Marriage Cases (2008) 43 Cal. 4th 757, 783-784, 76 Cal. Rptr. 3d 683

14
   (sexual orientation as suspect class and interest in family relationship as
    fundamental); People v. Olivas(1976) 17 Cal. 3d 236, 243, 131 Cal. Rptr.
15 55, 551 P.2d 3751. If a classification is subject to strict scrutiny, the
16 presumption of constitutionality is abandoned and the defenders of state
    action have the burden of justification. They must show that the state
17
    action serves a compelling state interest and that there are no other
18 reasonable, less intrusive means by which the interest can be served
     ~Examinin~ Bd. v. Flores de Otero (1976) 426 U.S. 572, 602, 605, 96 S. Ct.
19
    2264, 49 L. Ed. 2d 65; Parents Involved in Community Schools v. Seattle
20 School Dist., No. 1 9th Cir. 2004) 377 F.3d 949, 960; Choudhry v. Free
21
   (1976) 17 Cal. 3d 660, 664, 131 Cal. Rptr. 654, 552 P.2d 4381.

22  No matter which tier or test is used, the same test must be applied to
23
    similarly situated persons [see Cleburne v. Cleburne Living Center (1985)
    473 U.S. 432, 439, 105 S. Ct. 3249, 87 L. Ed. 2d 313(indicating that Equal
24 Protection Clause requires same treatment of"similarly situated"

25 persons); Faiardo v. City of Los An eles (9th Cir. 1999) 179 F.3d 698, 700
   (in determining whether city policy of treating domestic violence 911 calls
26
    differently from non-domestic violence calls, critical issue is not whether
27 domestic violence rarely results in death or severe injury, but whether
    domestic-violence crimes result in severe injury or death less frequently
28
    than non-domestic-violence crimes that are considered 911 emergencies);
                                        - ~~-
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     People v. Verba (2013) 210 Cal. App. 4th 991, 995-996, 148 Cal. Rptr. 3d
 2   847(with respect to awarding of conduct credits under Pen. Code § 4019,
     defendant who committed offense before October 1, 2011, who was treated
 3   more harshly was similarly situated with persons whose offenses were
 4   committed on or after October 1, 2011, where two groups committed same
     offenses but were treated differently in terms of earning conduct credit
 5
     based solely on dates their crimes were committed)].
 6
     If the court concludes there has been a violation of equal protection, it has
 7
     a choice of remedies, including withdrawing treatment or benefits of a
 8   statute from the favored group or extending that treatment or benefits to
     the excluded class, or invalidating a statute or expanding its reach [People
 9
     v. Hofsheier (2006) 37 Cal. 4th 1185, 1207, 39 Cal. Rptr. 3d 821, 129 P.3d
l0   29; Burnham v. Public Employees' Retirement System (2012) 208 Cal.
11   App. 4th 1576, 1588, 146 Cal. Rptr. 3d 6071. At least one court has held
     that it cannot include a claim for damages [see Gates v. Superior Court
12   X1995) 32 Cal. App. 4th 481, 38 Cal. Rptr. 2d 4891. The court's primary
13   concern is to ascertain, as best it can, which alternative the Legislature
     would prefer [People v. Hofsheier (2006) 37 Cal. 4th 1185, 1207, 39 Cal.
14
     Rptr. 3d 821, 129 P.3d 29; Burnham v. Public Employees' Retirement
15   System,(2012) 208 Cal. App. 4th 1576, 1588, 146 Cal. Rptr. 3d 6071.
16

17
     ❑ [1] Introduction to "Rational Relationship" Test
18

19  Every classification contained in state action must bear some rational
    relationship to a legitimate state purpose. The "rational relationship"
20 standard generally defers to state action and is usually employed to
21 justify state action [Fitzgerald v. Racing Assn of Central Iowa (2003) 539
    U.S. 103, 123 S. Ct. 2156, 2159, 156 L. Ed. 2d 97 (rational basis review
22
    especially deferential in context of complex tax laws); Nordlinger v. Hahn
23 (1992) 505 U.S. 1, 11, 112 S. Ct. 2326, 120 L. Ed. 2d 1]. Thus, a

24 classification subjected to the rational
                                            relationship test does not deny
    equal protection if any set of facts may reasonably be conceived in its
25 justification [McGowan v. Maryland (1961) 366 U.S. 420, 426, 81 S. Ct.

26 1101,6 L. Ed. 2d 393; Choudhry v. Free (1976) 17 Cal. 3d 660, 131 Cal.
    Rptr. 654, 552 P.2d 438]. A classification is constitutionally infirm only if
27
   so unrelated to the achievement of any combination of legitimate purposes
28 that the courts can only conclude that the legislature's actions were

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 1 irrational [Conservatorship of Edde (2009) 173 Cal. App. 4th 883, 890-

 2 898, 93 Cal. Rptr. 3d 266(Welf. & Inst. Code § 7275 did not violate equal
     protection when applied to allow state to seek reimbursement for cost of
 3 commitment to state hospital from conservatorship estate of pretrial

 4 detainee found not competent to stand trial, even though state could not
   seek reimbursement for commitment after criminal adjudication, where
 5
   there was rational basis for distinguishing between them); see also Vance
 6 v. Bradley (1979) 440 U.S. 93, 97, 99 S. Ct. 939, 59 L. Ed. 2d 171].

 7
     When conducting rational basis review, the court must accept any gross
 8   generalizations and rough accommodations the Legislature seems to have
     made. A classification is not arbitrary or irrational simply because there is
 9
     an imperfect fit between the means and the ends. Any plausible reason for
~o   the distinction made need not exist in every scenario in which the
11   legislation might apply [People v. Turnage (2012) 55 Cal. 4th 62, 77-78,
     144 Cal. Rptr. 3d 489, 281 P.3d 464]. Even improvident decisions of a
12   political branch will eventually be rectified by the democratic process so
13   that judicial intervention is generally unwarranted, no matter how
     unwisely the court may think the political branch has acted [Nordlinger v.
14
     Hahn (1992) 505 U.S. 1, 17-18, 112 S. Ct. 2326, 120 L. Ed. 2d 1; County of
15   San Diego v. Brown (1993) 19 Cal. App. 4th 1054, 1081 n.36, 23 Cal. Rptr.
16
     2d 819]. The courts may not properly strike down a statute simply
     because they disagree with the wisdom of the law or because they believe
17   there is a fairer method for dealing with the problem [Fein v. Permanente
18   Medical Group (1985) 38 Cal. 3d 137, 163, 211 Cal. Rptr. 368, 695 P.2d
     665, appeal dismissed, 474 U.S. 892, 106 S. Ct. 214, 88 L. Ed. 2d 215;
19   County of San Diego v. Brown (1993) 19 Cal. App. 4th 1054, 1081 n.36, 23
20   Cal. Rptr. 2d 819; see also Schweiker v. Wilson (1981) 450 U.S. 221, 235,
     101 S. Ct. 1074, 67 L. Ed. 2d 186 (as long as classificatory scheme chosen
21
     by legislative body rationally advances reasonable and identifiable
22   governmental objective, court must disregard existence of other methods
23
     of allocation that judges, as individuals, would have preferred)].

24 On the other hand, both the United States and the California Supreme

25
   Courts have stated the rational relationship test in what would appear to
   be more vigorous ways. Several decisions refer to the language of Royster
26 Guano Co. v. Virginia (1920) 253 U.S. 412, 415, 40 S. Ct. 560, 64 L. Ed.

27 989, which held that a classification must be reasonable, not arbitrary,
   and must rest on some ground of difference having a fair and substantial
28 relation to the object of the legislation so that all persons similarly

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 1 circumstanced are treated alike [see, e.g., Eisenstadt v. Baird (1972) 405
 2 U.S. 438, 448, 92 S. Ct. 1029, 31 L. Ed. 2d 349; Brown v. Merlo (1973)8
   Cal. 3d 855, 106 Cal. Rptr. 388, 506 P.2d 212].
 3

 4   While acknowledging that neither California cases nor those of the United
     States Supreme Court have settled on a particular verbal formula to
 5   describe the "restrained" equal protection standard of review, the
 6   California Supreme Court has stated that all of the various linguistic
     formulations of the test require the court to conduct a serious and genuine
 7
     judicial inquiry into the correspondence between the classification and the
 8   legislative goals [Cooper v. Bray (1978) 21 Cal. 3d 841, 848, 148 Cal. Rptr.
     148, 582 P.2d 604, citing Newland v. Board of Governors of Cal.
 9
     Community Colleges (1977) 19 Cal. 3d 705, 711, 139 Cal. Rptr. 620, 566
to   P.2d 254; Fein v. Permanente Medical Group (1985) 38 Cal. 3d 137, 163,
11   211 Cal. Rptr. 368, 695 P.2d 665, appeal dismissed, 474 U.S. 892, 106 S.
     Ct. 214, 88 L. Ed. 2d 215].
12

13    The Equal Protection Clause of the Fourteenth Amendment does not
     forbid statutes and statutory changes to have a beginning, and thus to
14    discriminate between the rights of an earlier and later time [People v.
15    Floyd (2003) 31 Cal. 4th 179, 191, 1 Cal. Rptr. 3d 885, 72 P.3d 820; People
      v. Verba (2013) 210 Cal. App. 4th 991, 996, 148 Cal. Rptr. 3d 847; People
16
      v. Lynch (2012) 209 Cal. App. 4th 353, 359, 146 Cal. Rptr. 3d 811]. The
17    practical necessity that a statutory change have a beginning provides a
      rational basis for classifications that fall on either side of the statute's
18
      effective date. This rationale does not apply to the operative date of a
19    statute, however. Unlike a statute's effective date, which is determined
20    according to immutable rules written into the state Constitution [see Cal.
      Const., art. IV, § 8], its operative date, the date upon which the directives
21    of the statute are actually implemented, is set by the Legislature in its
22    discretion, which is subject to rational basis review [People v. Verba
     (2013) 210 Cal. App. 4th 991, 996-997, 148 Cal. Rptr. 3d 847(increased
23
      level of presentence conduct credit applicable only to those who commit
24    their crimes on or after October 1, 2011 had rational basis); but see People
25
      v. Schoop (2012) 212 Cal. App. 4th 457, 470-474, 151 Cal. Rptr. 3d 200
     (defendant who suffered conviction for possession of obscene matter
26    depicting child in sexual conduct was similarly situated with people
27    convicted of other statutes prohibiting production and dissemination of
      sexual/obscene material, and requiring him to wait 10 years to seek
28

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 1 certificate of rehabilitation, while allowing others to seek it after seven
 2 years, had no rational basis)].

 3 The United States Supreme Court has also developed a more assertive

 4 interpretation of the rational relationship test in cases involving
     illegitimacy and gender, categories which are similar to a suspect category
 5 in terms of immutability and stigma of inferiority; indeed, gender is a

 6 suspect category under the California Constitution [see Sailer Inn, Inc. v.
    Kirby (1971) 5 Cal. 3d 1, 18-20, 95 Cal. Rptr. 329, 485 P.2d 529]. When a
 7
    classification involves illegitimacy, the Court will give equal consideration
 8 to both the legitimate interests promoted by the classification and the
    fundamental personal rights which it endangers, and analyze the state's
 9
    objectives to see how well they justify the classification under challenge
to [Trimble v. Gordon (1977) 430 U.S. 762, 773-774, 97 S. Ct. 1459, 52 L. Ed.

1 1 2d 31; Weber v. Aetna Cas. &Sur. Co.(1972) 406 U.S. 164, 172-173, 92 S.
    Ct. 1400, 31 L. Ed. 2d 768]. When a classification involves gender, it will
12 not withstand a constitutional challenge unless it serves important

13 governmental objectives and is substantially related to achievement of
    those objectives [Craig v. Boren (1976) 429 U.S. 190, 197, 97 S. Ct. 451, 50
14
    L. Ed. 2d 397]. It is unclear if the U.S. Supreme Court will expand the
15 cases to which this more assertive standard has been applied. Specifically,

16
    the Court has declined to treat age as either a suspect category or one
    subject to its more assertive interpretation of the rational relationship
17 test [see Massachusetts Bd. of Retirement v. Murgia (1976) 427 U.S. 307,

1s 312-315, 96 S. Ct. 2562, 49 L. Ed. 2d 520]. Similarly, courts have declined
    to treat homosexuals as a suspect or quasi-suspect class [see Romer v.
19 Evans(1996) 517 U.S. 620, 116 S. Ct. 1620, 1626-1627, 134 L. Ed. 2d 855

20 (applying rational basis review, without specifically determining which
    standard was applicable, in upholding challenge to Colorado's
21
    Amendment 2, which prohibited state or local legislative, executive, or
22 judicial action designed to protect homosexuals); Holmes v. California

23
    Army Nat. Guard (9th Cir. 1997) 124 F.3d 1126, 1132 (applying rational
    basis review in rejecting challenge under U.S. Const., Amend. V to
24 military's statutory "don't ask/don't tell" policy)].

25
     Existence of these various levels of application of the rational relationship
26 test has led to criticism of the Court's two-tier approach [see § 35A.04[4]].

27
     ❑ [2] Effect on Fundamental Interest
28

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 1 In San Antonio School Dist. v. Rodriguez (1973) 411 U.S. 1, 17, 93 S. Ct.

 2 1278, 36 L. Ed. 2d 16, the U.S. Supreme Court stated that when a
     classification impinges upon a fundamental interest, it is subject to strict
 3 judicial scrutiny. This language makes it clear that strict scrutiny does

 4 not require a total deprival of a fundamental right, but does not explain
    ', how great the burden must be before strict scrutiny will be invoked. Some
 5
       decisions show awareness of the question. For example, in Bullock v.
 6 Carter (1972) 405 U.S. 134, 144, 92 S. Ct. 849, 31 L. Ed. 2d 92, the Court

 7
       noted that not every limitation or incidental burden on the exercise of
       voting rights would require the more stringent standard of review; a
 8 classification must have a real and appreciable impact on the exercise of

 9 the franchise [see also Finberg v. Manset(2014) 223 Cal. App. 4th 529,
       535-536, 167 Cal. Rptr. 3d 109(although parents have fundamental right
to to make decisions concerning care, custody, and control of their children,

1 1 Fam. Code § 3104(b)(5), regarding grandparent visitation, has only
       incidental effect on exercise of parental rights)]. In many decisions,
12
       however, the extent of the burden required is not clear from the language
13 used. It is arguable that almost any interference is sufficient since courts

14
       have stated that strict scrutiny is appropriate if the classification touches
       on or affects a fundamental interest or has an impact on the ability to
~5 exercise it [see McDonald v. Bd. of Election Com. of Chicago (1969) 394
16 U.S. 802, 807, 89 S. Ct. 1404, 22 L. Ed. 2d 739; People v. Olivas (1976) 17
       Cal. 3d 236, 243, 251, 131 Cal. Rptr. 55, 551 P.2d 375]. However, other
17
       decisions would appear to require a greater impact and characterize the
1g classification as one that invades, restricts, infringes on, or intrudes on a
      fundamental interest [see McDonald v. Bd. of Election Com. of Chicago
19
    (1969) 394 U.S. 802, 807, 89 S. Ct. 1404, 22 L. Ed. 2d 739; In re Antazo
20 (1970) 3 Cal. 3d 100, 114, 89 Cal. Rptr. 255, 473 P.2d 999].
21
     The forms of points and authorities in this chapter generally use the word
22   "burden" to describe a significant impact on a fundamental interest which
23
     is sufficient to require use of the strict scrutiny test unless the decision
     clearly suggests more specific language. But to fully determine the degree
24   of interference that is required for strict scrutiny, counsel must examine
2s   both the language of the decisions and the factual context in which it is
     applied.
26

27   ❑ [3] Based on Suspect Category

28

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  1   i~ For a classification to merit some form of heightened scrutiny because of
 2    ' the way it affects individuals with particular personal characteristics, it
         must in some sense classify them on the "basis" of such characteristics.
 3       Thus, in Califano v. Boles (1979) 443 U.S. 282, 293-295, 99 S. Ct. 2767, 61
 4       L. Ed. 2d 541, the majority, noting that proper classification for purposes
         of equal protection analysis is not an exact science, concluded that the
 5
         challenged legislation did not discriminate against illegitimate children as
 6       a class because the legislation's effect was too speculative and incidental
 7
         to establish that the class would suffer significant deprivation of a benefit
         or imposition of a substantial burden [Califano v. Boles (1979) 443 U.S.
 8       282, 293-295, 99 S. Ct. 2767, 61 L. Ed. 2d 541]. In contrast, the minority
 9       concluded that the classification in question was "based" on illegitimacy
         because the statute was designed to aid children, yet totally excluded
 10      illegitimate children from its benefits [Califano v. Boles (1979) 443 U.S.
 11      282, 303-304, 99 S. Ct. 2767, 61 L. Ed. 2d 541 (Marshall, J., dissenting)].
 12   When a classification by statute, or the impact of a facially neutral statute
 13   by its enactment or enforcement, is alleged to be discriminatory on the
      basis of the infringement of rights of a suspect class such as race, the
 14
      plaintiff does not have to prove that the discriminatory purpose was the
 15   sole purpose of the challenged action, but only that it was a "motivating
 16
      factor" [Village of Arlington Heights v. Metro. Hous. Dev. Corp.(1977) 429
      U.S. 252, 265-266, 97 S. Ct. 555, 50 L. Ed. 2d 450; Arce v. Douglas (9th
 17   Cir. 2015) 793 F.3d 968, 977]. A plaintiff need provide very little such
18    evidence to raise a genuine issue of fact; any indication of discriminatory
      motive may suffice to raise a question that can only be resolved by a fact-
19    finder [Arce v. Douglas (9th Cir. 2015) 793 F.3d 968, 977-978]. A court
20    should consider the following, non-exhaustive factors in assessing
      whether a defendant acted with discriminatory purpose [Village of
21
      Arlington Heights v. Metro. Hous. Dev. Corp.(1977) 429 U.S. 252, 266-
22    268, 97 S. Ct. 555, 50 L. Ed. 2d 450; Arce v. Douglas (9th Cir. 2015) 793
23
      F.3d 968, 977]

24       • (1)The impact of the official action and whether it bears more
25
           heavily on one race than another.
         • (2)The historical background of the decision.
26       • (3)The specific sequence of events leading to the challenged action.
27       • (4)The defendant's departures from normal procedures or
           substantive conclusions.
28       • (5)The relevant legislative or administrative history.
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 1   ❑ [4] Criticism of Two-Tier Model
 2
     The two-tier model which appears to place equal protection cases into one
 3 of two distinct categories that dictate the appropriate standard of review

 4 has been criticized as too rigid an approach to equal protection analysis
     [see San Antonio School Dist. v. Rodriguez(1973) 411 U.S. 1, 98, 93 S. Ct.
 5 1278, 36 L. Ed. 2d 16, reh'g denied, 411 U.S. 959, 93 S. Ct. 1919, 36 L. Ed.

 6 2d 418(Marshall, J., dissenting)]. The basic criticism is that use of the
    two-tier test inhibits the growth of the equal protection doctrine and
 7
    obscures what the United States Supreme Court really does in many
 8 equal protection cases. In this view, because the Court by creating a new
    suspect category or fundamental interest greatly expands the types of
 9
    state action that are vulnerable to constitutional attack, since strict
10 scrutiny generally leads to invalidation [see Massachusetts Bd. of
1 1 Retirement v. Murgia (1976) 427 U.S. 307, 319, 96 S. Ct. 2562, 49 L. Ed.
    2d 520(Marshall, J., dissenting)], it has shown a marked inhibition to
12 expand the number of protected categories and interests [see, e.g., San

13 Antonio School Dist. v. Rodriguez (1973) 411 U.S. 1, 34-35, 93 S. Ct. 1278,
    36 L. Ed. 2d 16, rehg denied, 411 U.S. 959, 93 S. Ct. 1919, 36 L. Ed. 2d
14
    418 (education not fundamental interest); Massachusetts Bd. of
15 Retirement v. Murgia (1976) 427 U.S. 307, 324-325, 96 S. Ct. 2562, 49 L.
    Ed. 2d 520 (state employment not fundamental interest; age not suspect
16
    category)]. On the other hand, it has subjected certain classifications to a
17 level of scrutiny that goes beyond the rational relationship test. Thus,

18 illegitimacy is not a suspect category but the analysis given to
    classifications affecting illegitimate persons more strictly scrutinizes the
19 classifications than would be true under the rational relationship test

20 [Trimble v. Gordon (1977) 430 U.S. 762, 767, 97 S. Ct. 1459, 52 L. Ed. 2d
    31; see § 35A.04[1]]. Justice Marshall in dissent claimed that the Court
21
    focuses its real analysis not on the two-tier test but on the character of the
22 classification in question, the relative importance to individuals in the

23
    class discriminated against of the governmental benefits that they do not
    receive, and the asserted state interests in support of the classification
24 [see San Antonio School Dist. v. Rodriguez(1973) 411 U.S. 1, 99, 93 S. Ct.

25 1278, 36 L. Ed. 2d 16, reh'g denied, 411 U.S. 959, 93 S. Ct. 1919, 36 L. Ed.
    2d 418(Marshall, J., dissenting); Massachusetts Bd. of Retirement v.
26 Murgia (1976) 427 U.S. 307, 320, 96 S. Ct. 2562, 49 L. Ed. 2d 520

27 (Marshall, J., dissenting)].

28

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 1  !Although the California Supreme Court has not commented on this
 2 ' critical view of the two-tier test, it does not appear to have inhibited the
     expansion of equal protection analysis in holding state action
 3 unconstitutional, because unlike the United States Supreme Court, the

 4 state Supreme Court has indicated a willingness to expand the number of
     protected interests under the two-tier test [see, e.g., Sailer Inn, Inc. v.
 5
     Kirby (1971) 5 Cal. 3d 1, 21, 95 Cal. Rptr. 329, 485 P.2d 529(gender is
 6 suspect category); Serrano v. Priest (1976) 18 Cal. 3d 728, 766, 135 Cal.

 7
     Rptr. 345, 557 P.2d 929, cent. denied, 432 U.S. 907(1977)(education is
     fundamental interest); Woods v. Horton (2008) 167 Cal. App. 4th 658, 673-
 S 679, 84 Cal. Rptr. 3d 332(gender is suspect class, holding domestic

 9 violence programs that provided services to women but not to men
     violated men's equal protection rights, but men were not similarly
to situated to women for the purpose of statutorily-based alternative-

1 1 sentencing and community treatment programs for inmate mothers)].

12   Raising Constitutional Issues by Writ of Mandate
13
     In a proceeding for writ of mandate, the petitioner must be a party
14   beneficially interested in issuance of the writ [Code Civ. Proc. § 10861. The
15   general rule is that a beneficial interest exists where the writ is necessary
     to prevent substantial damage to an interest or right of petitioner which is
16
     independent of those interests or rights held in common with the public at
17   large (Fuller v. San Bernardino Valley Mun. Wat. Dist.(1966) 242 Cal.
18
     App. 2d 52, 56-57, 51 Cal. Rptr. 1201. A separate set of legal principles
     exists for determining when an individual has standing to challenge the
19   constitutionality of state action for a violation of equal protection. The
20   general rule is that the party attacking the constitutionality of a statute
     or official action must show an actual or threatened injury, and where a
21   statute discriminates against a class, only a member of the class
22   discriminated against may attack it [Burns v. State Compensation Ins.
     Fund (1968) 265 Cal. App. 2d 98, 104, 71 Cal. Rptr. 3261. Both these rules
23
     have been relaxed in recent years in cases involving public duties and
24   important social consequences [Residents of Beverly Glen, Inc. v. Los
25
     Angeles (1973) 34 Cal. App. 3d 117, 121, 109 Cal. Rptr. 724; American
     Friends Serv. Comm. v. Procunier (1973) 33 Cal. App. 3d 252, 256, 109
26   Cal. Rptr. 221. Moreover, California courts are not bound by stricter
27   federal standards of justiciability [see, e.g., White v. Davis (1975) 13 Cal.
     3d 757, 764, 120 Cal. Rptr. 94, 533 P.2d 222; McDonald v. Stockton
28

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 1 Metropolitan Transit Dist.(1973) 36 Cal. App. 3d 436, 440 n.4, 111 Cal.
 2 Rptr. 6371.

 3   The decisions, however, do not explain the relationship between a
 4   beneficial interest sufficient to allow a petition for writ of mandate and an
     interest sufficient to support standing to raise a constitutional issue.
 5   Some decisions have applied the rule governing standing in nonmandate
 6   cases to determine both the existence of a beneficial interest and ability to
     raise a constitutional issue in a petition for mandate [see, e.g., Bozung v.
 7
     Local Agency Formation Comm'n (1975) 13 Cal. 3d 263, 272, 118 Cal.
 8   Rptr. 249, 529 P.2d 1017 (rule of standing under federal Administrative
     Procedure Act applied in petition for mandate not involving constitutional
 9
     issue); Sailer Inn, Inc. v. Kirby (1971) 5 Cal. 3d 1, 6 n.l, 95 Cal. Rptr. 329,
l0   485 P.2d 529 (rule of standing under federal Constitution applied in
11   petition for writ of mandate involving constitutional issue)]. It would thus
     appear that if a beneficial interest is sufficient to support a petition for
12   writ of mandate, it is sufficient to permit raising the constitutional issue.
13   Mandate is proper to challenge the constitutionality or validity of statutes
     or official acts [Jolicoeur v. Mihaly (1971)5 Cal. 3d 565, 570 n.2, 96 Cal.
14
     Rptr. 697, 488 P.2d 11, and it is unlikely that constitutionality can be
15   questioned in some situations where an individual has a beneficial
16
     interest entitling him or her to sue for a writ but not in others. On the
     other hand, in Rubio v. Superior Court(1979) 24 Cal. 3d 93, 101-103, 154
17   Cal. Rptr. 734, 593 P.2d 595, the Supreme Court found that a petitioner
18   who was a person beneficially interested in the issuance of a writ of
     prohibition [see Code Civ. Proc. § 11031 had standing to raise some
19   constitutional issues but not others under the applicable rules of standing
20   to raise constitutional challenges. The import of Rubio is that the Court
     did not foreclose treating the beneficial interest and standing questions as
21
     legally distinct if the petitioner's relationship to the constitutional issue is
22   too remote to warrant a challenge.
23
     The memoranda of points and authorities in this chapter that describe
24   when a petitioner has a beneficial interest to petition for a writ of
25
     mandate raising an equal protection issue rely, where possible, on
     authorities that adjudicate the beneficial interest question and involve a
26   constitutional challenge. If there are none, the memoranda rely on either
27   authorities defining when a beneficial interest exists or authorities that
     do not involve writs of mandate but define when standing to raise a
28 constitutional issue exists.

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 1 Related Uses
 2
     The forms of points and authorities in this chapter may be used with
 3   appropriate modification to support claims that equal protection has been
 4   denied one who has been restrained or imprisoned in a petition for writ of
     habeas corpus challenging the constitutionality of the restraint or
 5   imprisonment Penal Code § 1473(a); see, e.g., In re Antazo (1970) 3 Cal.
 6   3d 100, 107-108, 89 Cal. Rptr. 255, 473 P.2d 999; In re Young (1973) 32
     Cal. App. 3d 68, 70-71, 107 Cal. Rptr. 9151. Although neither the Code of
     Civil Procedure nor the California Rules of Court expressly authorize or
 8   require that points and authorities be filed in support of a petition for a
 9
     writ of habeas corpus, it is advisable to file the memoranda when time
     and circumstances permit.
10
      Moreover, the forms of points and authorities in this chapter may be used
11
      with appropriate modifications to support a petition for writ of mandate to
12    review an administrative decision fCode Civ. Proc. § 1094.51. A
13   constitutional challenge on equal protection grounds to the validity of an
      agency's enabling act or its application could be the basis for a claim that
14    an agency has proceeded without, or in excess of, jurisdiction, has
15   committed a prejudicial abuse of discretion by not proceeding in the
      manner required by law, or has unlawfully precluded the petitioner from
16
      the use and enjoyment of a right or office to which the petitioner is
17    entitled [see Code Civ. Proc. §§ 1085, 1094.5; see also Walker v. Munro
18
     (1960) 178 Cal. App. 2d 67, 74-75, 2 Cal. Rptr. 737 (raising issue of
     constitutionality of statute enforced by agency to challenge jurisdiction)].
19
                                                          in     court for
20 Equal protection claims may also be relevant to actions state
   declaratory relief Code Civ. Proc. ~ 1060] challenging the validity of a
21 statute or ordinance on the ground that it violates the guarantee of equal
22 protection. The points and authorities provided in this chapter could be
   used with appropriate modifications in such an action to oppose a
23 demurrer or a motion for summary judgment(or comparable motion)

24 arguing that a violation of equal protection has not been shown.

25 Equal protection may be raised in state court by actions for damages or
26 other forms of relief for deprivation of constitutional rights under two of
   the post-Civil War civil rights statutes X42 U.S.C. ~~ 1983, 1985 3 ;see
27
   Williams v. Horvath (1976) 16 Cal. 3d 834, 837, 129 Cal. Rptr. 453, 548
28 P.2d 11251. The points and authorities provided in this chapter which

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   interpret the federal Constitution could be used with appropriate
 2 modifications in such proceedings to oppose a demurrer or a motion for
   summary judgment (or comparable motion), arguing that a violation of
 3 equal protection has not been shown.

 4
     In federal court, an application for a writ of habeas corpus based on the
 5   claim that the applicant is in custody in violation of the United States
 6   Constitution may raise an equal protection issue. Support of the
     application by a memorandum of points and authorities, while not
 7
     required, would be appropriate [see 28 U.S.C. § 2241(c)(3~]. Furthermore,
 8   whenever any civil claim based on a denial of equal protection under the
     federal Constitution is contested by motions for dismissal for failure to
 9
     state a claim on which relief can be granted, for judgment on the
l0   pleadings, or for summary judgment [Fed. R. Civ. P., Rules 12(b)(6), ~,
11   56 ,points and authorities in some form opposing such motions are
     recommended in federal district courts in California [see U.S. Dist. Ct.,
12   East Dist. of Cal., Rule 113(e); U.S. Dist. Ct., No. Dist. of Cal., Rule 220-2;
13   U.S. Dist. Ct., Cen. Dist. of Cal., Rule 3(e)(2); U.S. Dist. Ct., So. Dist. of
     Cal., Rule 3(e)(1)(b)(requiring that such motions be supported by points
14
     and authorities)]. The points and authorities provided in this chapter
15   which interpret the federal Constitution could be used with appropriate
16
     modifications to oppose any motion which states that a violation of equal
     protection has not been shown or to support a writ of habeas corpus.
17

18

19   IV. ARGUMENT
          The Respondent(s)' mentioned herein are not immune from any of
20
     the claims I am bringing. Although," `Qualified immunity is an affirmative
21

22
     defense against section 1983 claims. Its purpose is to shield public officials

23
     "from undue interference with their duties and from potentially disabling

24   threats of liability." The defense provides immunity from suit, not merely

25   from liability. Its purpose is to spare Respondents) the burden of going
26   forward with trial.' Because it is an immunity from suit, not just a mere
27   defense to liability, it is important to resolve immunity questions at the
28   earliest possible stage in litigation. Immunity should ordinarily be
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     resolved by the court, not a jury."(Martinez v. County of Los Angeles
 2 I (1996) 47 Ca1.App.4th 334, 342 [54 Cal.Rptr.2d 772], internal citations
 3 omitted.). All Respondents) acted under color of law and acted under

 4
     color of state law.
 5
     Government Entity Immunity: A public entity is absolutely immune,
 6
     that is, not liable (not legally responsible) for damages caused by any
 7
     public employee's intentional or negligent misrepresentation (Government
 8
     Code Section 818.8).
 9
     Government Employee Immunity: Further, the public entity's
io
     employee is immune any intentional or negligent misrepresentation
11
     unless he or she is guilty of "actual fraud, corruption or actual malice."
12
     (Government Code Section 822.2).
13

14
     The employee "immunity afforded by Government Code section 822.2

15 applies unless, in addition to the essentials of common law deceit, a public

16 employee is motivated by corruption or actual malice, i.e., a conscious

17 intent to deceive, vex, annoy or harm the injured party in his business"

1s (Schonfeld v. City of Vallejo (1975) 50 Cal. App.3d 401, 409-410).
19 Defamatory False Statements: Tort causes of action involving false

20 statements based on reputational harm (defamation, libel, slander, trade
21 libel, and intentional interference) are not included within the "deceit"

22 rubric identified by the California Supreme Court when it interpreted

23 Government Code sections 818.8 and 822.2 because they involve

24
     reputational harm for which the legislature did not intend to grant
25
     immunity (City of Costa Mesa v. D'Alessio Investments, LLC(2013) 214
26
     Ca1.App.4th 358, 383).
27

28

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           The FBI is the lead federal agency for investigating color of law
 2I   violations, which include acts carried out by government officials
 3    operating both within and beyond the limits of their lawful authority. Off-
 4
      duty conduct may be covered if the perpetrator asserted his or her official
 5
      status in some way. Those violations include, but are not limited to, the
 6
      following acts: 1. Excessive force: In making arrests, maintaining order,
 7
      and defending life, law enforcement officers are allowed to use whatever
 s
      force is "reasonably" necessary. The breadth and scope of the use of force
 9
      is vast—from just the physical presence of the officer to the use of deadly
10
      force. Violations of federal law occur when it can be shown that the force
11
      used was willfully "unreasonable" or "excessive." 2. Sexual assault:
12
      Sexual assault by officials acting under color of law can happen in jails,
13

14
      during traffic stops, or in other settings where officials might use their

15    position of authority to coerce an individual into sexual compliance. The

16    compliance is generally gained because of a threat of an official action
17    against the person if he or she doesn't comply. 3. False arrest and
18    obstruction ofjustice: The Fourth Amendment of the U.S. Constitution
19    guarantees the right against unreasonable searches or seizures. A law
20    enforcement official using authority provided under the color of law is
21    allowed to stop individuals and, under certain circumstances, to search
22    them and retain their property. It is in the abuse of that discretionary
23    power—such as an unlawful detention or illegal confiscation of property—
24    that aviolation of a person's civil rights may occur. Fabricating evidence
25
      against or falsely arresting an individual also violates the color of law
26
      statute, taking away the person's rights of due process and unreasonable
27
      seizure. In the case of deprivation of property, the color of law statute
28
      would be violated by unlawfully obtaining or maintaining a person's
                                             -90-
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 1   property, which oversteps or misapplies the official's authority. 4.
 2 Deprivation of medical care: Individuals in custody have a right to

 3 ~I, ~ medical treatment for serious medical needs. An official acting under color

 4
     of law who recognizes the serious medical need, but knowingly and
 5
     willfully denies or prevents access to medical care may have committed a
 6
     federal color of law violation. 5. Failure to keep from harm: The public
 7
     counts on its law enforcement officials to protect local communities. If it's
 s
     shown that an official willfully failed to keep an individual from harm,
 9
     that official could be in violation of the color of law statute. "An individual
to
     acts under color of state law when he or she exercises power `possessed by
11
     virtue of state law and made possible only because the wrongdoer is
12
     clothed with the authority of state law."'(Naffe v. Frey (9th Cir. 2015) 789
13

14
     F.3d 1030, 1036.)

15        In addition,"The Supreme Court has interpreted the phrase `under

16 "color" of law' to mean `under "pretense" of law.' A police officer's actions

17 are under pretense of law only if they are `in some way "related to the

18 performance of his official duties.'" By contrast, an officer who is `

19 "pursuing his own goals and is not in any way subject to control by [his

20 public employer],'"does not act under color of law, unless he `purports or

21   pretends' to do so. Officers who engage in confrontations for personal
22 reasons unrelated to law enforcement, and do not `purport[] or pretend0'

23 to be officers, do not act under color of law."(Huffman v. County of Los

24
     Angeles (9th Cir. 1998) 147 F.3d 1054, 1058, internal citations omitted.)
25
          "A state employee who is off duty nevertheless acts under color of
26
     state law when (1) the employee `purport[s] to or pretends] to act under
27
     color of law,'(2) his `pretense of acting in the performance of his duties .. .
28
     had the purpose and effect of influencing the behavior of others,' and (3)
                                            - 91-
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 1 the harm inflicted on PETITIONER `related in some meaningful way

 2 ~ either to the officer's governmental status or to the performance of his

 3 duties,"'(Naffe, supra, 789 F.3d at p. 1037, internal citations omitted.)

 4
          Respondent(s)', DAVID GARY PIERCE, MARIO RNAS, and
 s ROBERT DELLER acted under color of law even though,"[P]rivate
 6
     parties ordinarily are not subject to suit under section 1983, unless,
 7
     sifting the circumstances of the particular case, the state has so
 s
     significantly involved itself in the private conduct that the private parties
 9
     may fairly be termed state actors. Among the factors considered are
to
     whether the state subsidized or heavily regulated the conduct, or
11
     compelled or encouraged the particular conduct, whether the private actor
12
     was performing a function which normally is performed exclusively by the
13

14
     state, and whether there was a symbiotic relationship rendering the

15 conduct joint state action."(Robbins v. Hamburger Home for Girls (1995)

16 32 Ca1.App.4th 671, 683 [38 Ca1.Rptr.2d 534], internal citations omitted.)

17        Due to forging my signature on court document's and fabricating
18 ~ false police reports, the, Respondent(s)', DAVID GARY PIERCE,

19 MARIO RNAS,and ROBERT DELLER acted under color of law,

20 because "Private parties act under color of state law if they willfully

21 participate in joint action with state officials to deprive others of

22 constitutional rights. Private parties involved in such a conspiracy may be

23 liable under section 1983."(United Steelworkers of America v. Phelps

24
     Dodge Corp.(9th Cir. 1989) 865 F.2d 1539, 1540, internal citations
25
     omitted.)
26

27

28

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           1. This Court Will Find That The PETITIONER is entitled to
           Attorney Fees and Costs and Expert Fees and Costs under
           Both Federal Statutes and California Statutes
           Where California courts have concurrent jurisdiction with federal
     courts in actions brought under federal statutes to secure federal civil
     rights, California courts may award attorney fees under the federal
     statutes, usin the federal standards.(Serrano v. Unruh (1982) 32 Ca1.3d
     621 ["Serrano~V"]~ The most important federal fee-shifting statute which
      may be applied in alifornia courts in cases involvin cities is the Civil
     Rights Attorney's Fees Awards Act of 1976(42 U.S. §1988), which
      provides for fee-shifting in actions to secure federal constitutional or
     statutory rights brought under 42 United States Code section 1983 and
     other federal civil rights statutes.
           As mentioned herein, this is a federal civil rights claim being tried in
     a case and, thus, there is potential liability for attorney fees under §1988.
     However= sometimes a constitutional claim is not expressly pled, but a
     constitutional argument is made. And sometimes there may be an explicit
     federal constitutional claim pled along with state claims but only the
10   state claims are litigated and decided in the PETITION~R's favor. In
     either case cities may be surprised by a motion for attorney fees under
11   §1988 in addition to or instead of under §1021.5 (or another California fee-
     shifting statute). Cities maybe further surprised when they discover that
12   California courts have awarded attorney fees under §1988 in such cases.
           Unlike federal courts, California courts have inherent equitable
13   authority under the "private attorney general" doctrine to award attorney
     fees to litigants who successfull pursue public interest liti ation
14   vindicatin important rights.(~e Serrano v. Priest (1977 ~ 20 Ca1.3d 25
     [~Serrano ~I ], see also, Alyeska I3ipeline Service Co. v. Wi derness
15   Society(1975 421 U.S. 24U, rejectin the equitable private attorney .
     general doctrine in federal courts.) California also recognizes the equitable
16     common fund" and "substantial benefit" theories, authorizing fee awards
     in cases that, respectively, create or preserve a fund for the benefit of non-
17   litigants or confer a substantial benefit on members of an ascertainable
     class.(See,.Serrano III, discussing both the "well-established 'common
Is   fund' rinciple," and the "more recent ... so-called 'substantial benefit'
     rule."
19           he PETITIONER is the prevailing party due to the Hate Crimes
     suffered and that he is entitled to attorney's fees and costs and expert
20   under § 1988; and subsection 52.1~h) Code of Civil Procedure section
     1021.5; Pursuant Government Co e 6259, subd. (d): Public Records Act;
21   Government Code §12965, subd.(b): EHA, etc..
22                A. Attorney Fees and Cost and Expert Fees and Costs
                  Pursuant (;al. Civ. Code § 52.1(h) and under Cal. Civ.
23                Code § 51.7(h)
24          Whoever denies the ri ht provided by Section 51.7 or 51.9, or aids,
     incites, or conspires in that ~enial, is liable for each and every offense for
25    the actual damages,suffered by any person denied that right and, in
      addition, the following:(1) An amount to be determined by a jury, or a
26    court sitting without a jury, for exemplary damages.
     (2) A civil penalty of $25,000, to be awarded to the person denied the right
27    provided by Section 51.7 in any action brought by the person denied the
      right, or by the Attorney General, a district attorney, or a city attorney.
28    An action for that penalty brought pursuant to Section 51.7 shall be
      commenced within three years of the alleged practice.(3) Attorney's fees
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   as may be determined by the court.(c) Whenever there is reasonable
   cause to believe that any person or roue of persons is engaged in conduct
   of resistance to the full enjoyment o~ any of the rights described in this
   Section, and that conduct is of that nature and is intended to deny the full
   exercise of those rights, the Attorney General, any district attorney or city
   attorney, or any person aggrieved b~y the conduct may bring a civil action
   in the appropriate court by filin with it a Ex-Parte Application. The Ex-
   Parte Application shall contain e following:
         .(1) The signature of the officer or, in his or her absence the
   individual acting on behalf of the officer, or the signature of tie person
   aggrieved.
        (2) The facts pertaining to the conduct.
        (3) A request for preventive relief, including an application for a
   permanent or temporary injunction, restraining order, or other order
   against the person or persons responsible for the conduct, as the
   complainant deems necessary to ensure the full enjoyment of the rights
   described in this Section. ~~ Any person claiming to be aggrieved by an
   alle ed unlawful practice in violation of Section 51 or 51.7 may also file a
10 veri~ied Ex-Parte Application with the Department of Fair Employment
   and Housing pursuant to Section 12948 of the Government Code.
11
                 B. Attorney Fees and Cost and Expert Fees and Costs 42
12               U.S.C. § 1988(b) and 42 U.S.C.§ 1988(c)
          Section 1988 permits this court in its discretion, to award
13 reasonable attorney's fees to a prevai~in~ party in an action under 42
   U.S.C.§ 1983. See 42 U.S.C. § 1988(b). `prevailing part'is one who
14 succeeds on any significant issue in the litigation resulting in a "material
   alteration of the le al relationship of the arties.'~ Tex. State Teacher's
15 Ass'nv. Garland In~e . Sch. Dist., 489 U.~. 782 7 -                         e
     ane    ct a so  rove es  or an award   of reasonable attorney's fees to a
16 prevailing PETITIONER. See Cal. Civ. Code § 52.1(h).
          Courts ty ically determine the amount of a fee award under § 1988
17 in two stages. ~irst, courts apply the "`lodestar' method to determine what
   constitutes a reasonable attorney's fee." Gonzalez v. Cit of Ma wood, 729
is F.3d 1196, 1202(9th Cir2013)(citations omitte            e int      ircuit
   "` resum es 'that the district court accounts for the following factors in
19 the lodes~ar computation: `(1) the novelty and complexity of the issues,(2)
   the special skill and experience of counsel,(3) the quality of
20 representation,(4)~the results obtained, and (5) the contin~gent nature of
   the fee a reement. Id. at 1209 n.11 (quotin Morales v. City of San
21 Rafael, 9~ F.3d 359, 363 & n.9(9th Cir. 1990.
          "After making that computation, the the court then assesses
22 whether it is necessary to adjust the presumptively reasonable lodestar
   figure on the basis of the Kerr factors that are not already subsumed in
23 the initial lodestar calculation." Morales, 96 F.3d at 363-64.1 The Ninth
   Circuit has emphasized that a district court's application of the Kerr
24 factors should reflect the extent to which those factors "bear on the
   reasonableness of a fee award." Id. at 361. "[I]f the district court has
25 `taken [any of the Kerr factors] into account in either the reasonable hours
   component or the reasonable rate
26        Those factors include:
        (1) the time and labor required, (2) the novelty and difficulty of the
27 questions involved,(3)         the skill requisite to perform the legal service
   properly, (4) the preclusion of other employment b the attorney due to
28 acceptance of the case, 5 the customary fee, (6~ whether the fee is
          fixed or contingent, ~7~ time limitations imposed by the client or the
                                          - 94-
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     circumstances, (8) the amount involved and the results obtained (9) the
     experience, reputation, and ability of the attorneys, (~0) , the
     "undesirability" of the case,(11) the nature and length.of the professional
     relationship with the client, and (12) awards in similar cases. Kerr v.
     Screen Guild Extras, Inc. 526 F.2d 67, 70(9th Cir. 1975).
            A component of the lodestar calculation 'then it should not again
     reduce the lodestar" based on those factors. Gonzalez, 729 F.3d at 1209
     n.11 Lquoting Morales 96 F.3d at 363 & n.9).
           In determining t ie size of an appropriate fee award, the Supreme
     Court has emphasized that courts need not "achieve auditin perfection"
     or "become green-eyeshade accountants." Fox v. Vice, 563 U~. 826, ---
     131 S.Ct. 2205, 2217 (2011). Rather, because the "essential ~oal~of shi~'ting
     fees ... is to do rough justice "the court may "use estimates or take into
     account 1[its] overall sense off' a suit" to determine a reasonable attorney's
     fee. Id.
                 C. Attorney Fees and Cost and Expert Fees and Costs
                 Pursuant(rode of Civil Procedure section 1021.5
10         Code of Civil Procedure section 1021.5 is the codification of the
     private attorney general doctrine recognized in Serrano III.4 Under its
11   express language= attorney fees may be awarded to successful arties in
     public interest litigation only if four requirements are all satis~ied,
12   including that the case: 1)"resulted in the enforcement of an important .
     right affecting the public interest"; and, 2) conferred "a significant benefit,
13   whether pecuniary or nonpecuniary, on the general public or a large class
     of persons." Because judgments correcting violations of CEQA are
14   generally viewed as vindicating important rights and conferrin~
     significant benefits, attorney fees are usually awarded to prevailing
15   Petitioners in CEQA cases under §1021.5. Code of Civil Procedure
     §1021.5: public interest litigation
16         Attorney's fees may be awarded to "successful" parties in litigation if
     four statutory conditions are met: 1) the litigation "resulted in
17   enforcement of an important ri ht affecting the public interest"; and 2)
     the litigation conferred "a signi~icant benefit, whether pecuniary or
1s   nonpecuniary on the general public or a large class of persons"; and 3) the
     "necessity anc~ financial burden of private enforcement, or of enforcement
19   by one public entity against another public entity are such as to make the
     award appro riate'; and 4)"such fees should not in the interest of justice
20   be paid out o~[any] recovery.
zi             D. Attorne fees and costs and Expert Fees and Cost
               Pursuant government Code §6259, subd.(d): Public
22             Records Act
23       Attorney's fees shall be awarded "should the PETITIONER prevail
   in litigation" under the Act. An fee award "shall be paid by the public
24 agenty" employing the public o~icial who unlawfully withheld the records
   "and shall not become a personal liability of the public official."
25
               E. Government Code §12965, subd.(b): FEHA
26       A court, "in its discretion, may award ...reasonable attorney's fees
   and costs, including expert witness fees," to the prevailing party "except
27 where the action is filed by a public agency or a public official, acting in an
   official capacity." Although the court ex licitly has discretion to award
28 attorney fees to a prevailing PETITIO~R,this discretion is "narrow"'
   and fees should ordinarily be awarded "unless special circumstances
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       would render such an award un'ust."(Steele v. Jensen Instrument Co.
      (1997) 59 Ca1.App.4th 326, 332.
 2
               F. Conclusion Re arding Entitlement to Enhanced and
 3             Advance Reasonable At£orney Fees and Expert Fees
        In sum, PETITIONER qualifies as a party entitled to reasonable
 4 attorneys' fees under all of the above statutes.

 5       IT IS PROPER FOR THE COURT TO AWARD ATTORNEY'S FEES
                                                                           HE
 6 BASISIOFTHEUS BSTANTlALaB~~Te ITTHEORY~WHEN'THE
   SUBSTANTIAL BENEFIT IS TO THE CITIZENS Al~D TAXPAYERS.
   Action Saving Public Funds. Where the proper criteria are met, attorney's
   fees may be awarded on the basis of the substantial benefit theory where
   the "substantial benefit" is to the citizens and taxpayers of this state in
   the form of savin s ofpublic funds(Mandel v. Hodes(1976) 54 Cal. App.
 9 3d 596, 623, 127 ~al. l~,ptr. 244).

10    IT IS PROPER FOR THIS COURT TO AWARD ATTORNEY'S FEES TO
 11   [specify party, e.g., PLAINTIFF],[name], AGAINST [specify party, e.g.,
      DEFENDANT],[name], UNDER SECTION 1021.5 OF THE CODE OF
 12
      CIVIL PROCEDURE,EVEN THOUGH THAT PARTY IS A COURT.
 13   Fees Sought Against Court. A court is a public entity, and when it is a
14
      real party in interest that does not prevail in a lawsuit, it is not excluded
      from the legislatively-imposed obligation for attorney's fees under the
 15   private attorney general doctrine (R,hyne v. Municipal Court (,1980) 113
16    Cal. App. 3d 807, 826-827, 170 Cal. Rptr. 312).
~~ ❑ IT IS PROPER FOR THE COURT TO AWARD ATTORNEY'S FEES
                                                               FEEON THE
18 AB SISIOFTHE~COMIVISUNIr'UND'1'H~dRYANDSUGrH
    SHOULD BE AWARDED IN THE INTERESTS OF JUSTICE.
19 A. General Rule. Except as attorney's fees are specifically provided for
    by statute, the measure and mode of compensation of attorneys is left to
20  the express or implied agreement of the parties(Code Civ. Proc. ~ 1021).
    B. Equitable Exceptions. The courts have fashione~it~a Te
21 exceptions to the general rule of Section 1021 of the Code of Civil
   Procedure. Three such exceptions are t e common un t eory, t e
22 su stantia benefit theory, and the private attorney~general theory
   (Serrano v. Priest(19771 20 Cal. 3d 25. 34. 43. 141 C;al. Rbtr. 315. 569
23
   y `~ ommon Fund Theory. One who expends attorney's fees in winning
24 a suit which creates a fund from which others derive benefits may require
   the passive beneficiaries to bear a fair share of the litigation costs,
25 including attorney's fees (Serrano,v. Priest 1977 20 Coal. 3d 25, 35 141
26
    1   ationa e ~ or ~ ommon 1~ un Vy xception. The bases of the common
27 fund exception,are:(1)fairness to the successful litigant, who might
   otherwise receive no benefit because his or her recover might be
28 consumed by the expenses;(2) correlative prevention o~ an unfair
   advantage to the others who are entitled to share in the fund and who
                                            - 96-
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   should bear their share of the burden of its recovery;(3) encouragement of
   the attorney for the successful litigant to undertake and diligently
 2 prosecute pro er litigation for the protection or recovery of the fund by
   assurances o~prompt and direct compensation upon success in the
   litigation (Melendres v. Los Angeles (1975) 45 Cal. App. 3d 267, 273-274,
 4          ount o + ees. The amount of attorney's fees in such cases rests
     within the trial court's discretion (Roos v. Hone~ll Internat. Inc.(20
     241 Cal. Abb. 4th 1472, 1488-149'~~~(~a~I~ptr. ~3~lan e v.
     noa es ly ~e ~4 Vai. ti    . ~a ~~n n~~ l~ i ~,ai. n Lr. X44 aiLer Lne
 .~ tour as ma e certain re iminar~y eterminations           an e~ v. Lackner
    X1979) 92 Cal. App. 3d ~47, 758, 155 Cal. Rptr. 269). tria court oes not
    ~
    a      its~c iscretionl w en awar i~e~rom
                                       n a          a common fund created or
     reserved by the litigation, by calcu atin the fee as a percentage of the
     ~
     und and checking the reasonableness o~the fee with a lodestar
    calculation Laffitte v. Robert Half Internat. Inc. 2016 1 Cal. 5th 480
 9 488-506 20        a . tr.
      nsert of er memoran a, as appropriate.
10 ated:
    Respectfully submitted,
1 1 firm name, if any]
     ~y: [signature]
12 [typed name]
   Attorney for [party's status and name]
13 ❑ [2] Comments
         • ra] Use of Form
14 This form may be submitted in support of a motion for an award of
     attorney's fees.based on the common fund exception to the general rule
15 against awardin attorne~'s fees not expressly authorized by statute
     (;ode Civ. Prot. 1021 . It should be combined with other memoranda, as
16 appro riate, set out in     60.301 et seq.
        • ~b] Argument
17   Counsel should add argument linking.the points in this form with the
     facts of his or her case. Evidence cognizable by the court in such a motion
18    roceeding should be submitted with the memorandum to su~port its
19
     pactual statements. A request for 'udicial notice will support acts subject
     to such notice fEvid. Code ~ 450 e~ seq.1. Otherwise supportin affidavits
     or declarations un er Pena t o per'ury should be submitted see Code
20   Civ. Prot. 2009 (affidavits, 2015.(declarations)], averring to sum
      acts wit in t e personal knowledge of the affiant or declarant as may be
21   necessary to establish the ground or~ grounds of the motion [see Code Civ.
     Prot. 2002 1 , 2003• Evid. Code 7D2 . For further legal backgrou~—
22   researc gui es, ~c an dorms re ating to judicial notice and affidavits anc~
     declaration see California Forms of Pleadin and Practice Ch. 15
23   Affidavits. ~erti icates. an    ec arations, an            u icia otice
                  ~~
24   • [c] Related Pleading and Practice Chapters
   For forms of notices of motions for attorney s fees with supporting
25 declarations and orders, see California Forms of Pleading and Practice.
                                                     ►i
26    • ~a~ tceiatea lvlemoranaa
   Additional memoranda based on the common fund exception are set out in
27  60.301 et seq. Memoranda based on other equitable exceptions a~—
   statutory bases for an award of attorney's fees are set out in 60.340 et
2s seq. (substantial benefit exception), § 60.370 et seq. awar ase on
                                          - 97-
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       rivate attorney general theory under Code Civ. Proc. § 1021.5), and
       60.440 et seq. award based on contract pursuant to iv. o e 1717 .
       or discussion o requirements and considerations for ra ting
     memoranda, discussion on how to combine the forms of this publication in
     drafting, and discussion and eneral forms for completin a draft
     memorandum, see Ch. 1 Wri~in Le al Memoranda and~riefs.
        • [e] Opposing emoran a
     For o posing memoranda, see 60.320 et seq.
      ❑ [3]plliscussion of Authorities
        • [a] General Rule
     Code (~iv. Proc. 1021 provides that except as attorney's fees are
     speci'~ica yprove ~or
                         ec    by.statute, the measure and mode of
     compensation of attorneys is left to the express or implied agreement of
     the parties.
        • [b] Equitable Exceptions
     In Serrano v. P~riest~1977 20 Cal. 3d 25 141 Cal. Rptr. 315, 569 P.2d
     1367~rainti~~'s had brou tan action w~iic resu to in a prio~upreme
     ~t decision declaring hat the existing school finance system was
to   unconstitutional insofar as it operates to deny equalit of educational
     opportunity to the school children of the state. Plainti~f`s attorneys moved
11   the trial court for an award of attorney's fees against defendants. The
     motions were addressed to the equitable powers of the court and based on
12   three theories: the private attorney general theory, the common fund
     theory, and the substantial benefit theory. The trial court's award of
13   attorney's fees was based on the private attorney general theor only.
     Defendants appBaled from the order granting fees, and plaintiffs appealed
14   from the denial of fees on the other two theories and also objected to the
     amount awarded. The Supreme Court affirmed the order awarding fees on
15   the basis of the private attorney general theory, but also discussed the
     other two e uitable theories set out in Paragraph B of this form. For a
16   discussion o~ the substantial benefit and private attorney general
     theories, see~~ 60.340-60.349 and 60.370-60.399.
17      • [c] CommonFud Theory
     The facts and procedural back round of Serrano v. Priest 1977) 20 Cal.
18   3d 25 141 Cal. R tr. 315 569 ~.2d 1303,   ~a     iscusse un er
                      n a arming t o tria s court's or er, t o ourt analyzed the
19   common un theory The Court stated that the common fund theory is
     based on the equitable powers of the court and provides that one who
20   expends attorney's fees in winning a suit which creates a fund from which
     others derive benefits may require the passive beneficiaries to bear a fair
21   share of the litigation. However, the trial court roperly declined to award
     attorney's fees under this theory as no common ~und was created or
22   preserved by the lategation.
     In Melendres v. Los Angeles (1975) 45 Cal. App. 3d 267, 119 Cal. Rptr.
23   71~~inti~~~i e a c ass action on e a ~aTrp~ice           o dicers an
     ~ire~'ighters employed b the City of Los Angeles. Subsequently the Los
24   Angeles Fire &Police protective League filed a similar action. ~Phe cases
     were consolidated and judgment was entered in favor of the entire class.
25   Plaintiff and the league had.separate attorneys,and the league had a
     written fee agreement with its attorneys providing for an hourly fee.
26   Attorney's fees were requested by both sets of counsel for plaintiffs and
     the trial court granted the request, awarding the attorneys different
27   percentages of the common fund recovered on behalf of the class. Plaintiffs
     appealed from the order awarding the fees, ob'ecting to the distribution of
28   the fees. Though the court of ap eal modified ~he amounts awarded in the
     order, it approved the common ~und theory as the basis of the award
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    stating that California is in accord with the rule that the attorney whose
    client is the plaintiff in a class action suit is entitled to attorney's fees
    from all members of the class benefited if a fund is obtained or protected
    and brought into court.
       • [d] Kationale for Common Fund Exception
    Melendres v. Los Angeles (1975) 45 Cal. Abb. 3d 267, 119 Cal. Rptr. 713,
    is aiscussea in eu.~uu ~ c . In reviewing the aeveiopment of the common
    fund exce tion t e court o appeal set out the bases of the rule, citing
    Estate of ~tau~fer 1959 53 (gal. 2d 124 132 346 P.2d 748. These bases
    are:      airness tot e success u itigant, w o mig tot erwise receive no
    bene it because the recovery would be consumed by the expenses;(2)
    correlative prevention of an unfair advantage to the others who are
    entitled to share in the fund and who should bear their share of the
    burden of its recovery; and 3) encouragement of the attorne for the
    successful litigant to undertake and diligently prosecute proper litigation
    for protection or recovery of the fund by assurances of prompt and direct
    compensation upon success in the litigation.
       • [e] Amount of Fees
to In Laffitte v. Robert Half Internat., Inc.(2016) 1 Cal. 5th 480, 488-
    ~u5 Vai. n tr. ~a ~~~ ~ ~b r.~iCt b /G, Lri2 paY'L1eS SeLLleCI a ClaSS aCLlOri
1 1 emp oyment awsuit or           mi ion with the agreement that class counsel
    would receive no more than one third of the recovery for attorney's fees.
12 Class counsel sought the maximum fee amount. The trial court ranted
    the requested fee after considering the hours counsel had worke~ on the
13 case, applicable hourly rates, the course of the pretrial litigation, and the
    potential recovery and litigation risks involved in the case. An objecting
14 class member argued that the fee award calculated as a percentage of the
    settlement amount violated Serrano v. Priest 1977 20 (gal. 3d 25 141
15 Cal. R tr. 315 569 P.2d 130        errano       , in t at ee awar s must e
    ca cu ate on t e asis o timespent by the attorneys on the case.
16 The California Supreme Court first noted that class action litigation can
    result in an attorney's fee award pursuant to a statutory fee-shifting
17 provision or throu~h the common fund doctrine when a class settlement
    agreement establishes a relief fund from which the attorney's fee is to be
18 drawn. The Court described two primary methods of determining a
    reasonable attorney's fee in class action litigation: The percentage method
19 calculates the fee as a percenta e share of a recovered common fund or
    the monetary value of the plaintiffs' recovery. The lodestar method
20 calculates the fee by multiplying the number of hours reasonably
    expended by counsel by a reasonable hourly rate. Once the court has fixed
21 the lodestar, it may increase or decrease that amount by ap~lying a
    positive or negative "multiplier" to take into account other actors,
22 including the quality of the representation, the novelty and complexity of
    the issues, the results obtained, and the contingent riskpresented
23 (Laffitte, supra, at p. 489). The Court further observed that the lodestar
    met o etter accounts or the amount of work done while the percentage
24 of the fund method more accurately reflects the results achieved (Laffitte
    su ra at . 489 . The Court discussed the history of the two metho sin
25 common un cases, concluding that decisions since Serrano III have
    shown some uncertainty as to the role a percentage-of-the-recovery
26 calculation may play in determining court-ordered attorney's fees, but
    have not established any rule prohibitin such a calculation when the fee
27 is to be drawn from a common fund crea~ed by the litigation (Laffitte
    su ra at . 503 . The Court held that use of the percentage me        oc~o
28 ca cu ate a ee in a common fund case, where the award serves to spread
    the attorney's fee among all the beneficiaries of the fund, does not in itself
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     constitute an abuse of discretion (Laffitte, supra, at p. 503). The Court
     further concluded that a trial court oes not a use it —s~iscretion, when
     awarding a fee from a common fund created or preserved by the litigation,
     by calculating the fee as a percentage of the fund and checking the
     reasonableness of the fee with a lodestar calculation (Laffitte, supra, at p.
                                                   241 Cal. Abb. 4th 1472. 1488-
     14y~i ly4 Lai. ti, tr. ~a i~~, tour class members appeaiea rrom a Lriai
     court s or er approving a settlement of a class action and awarding a
     portion of the settlement as fees to class counsel. The settlement
     agreement provided that the attorneys would be paid no more than 37.5
     percent of the amount recovered. The objecting class members argued that
     the trial court automatically awarded the attorneys 37.5 percent without
     determining the reasonableness of the fees. The attorneys claimed they
     submitted a lodestar amount and reduced that amount to meet the 37.5
     p~ercent cap.
     The court of appeal held that a trial court may approve only a settlement
     of a class action that is fair, adequate, and reasonable (Roos, supra, at p.
l0   1482 . The court held that in fee-shifting cases, such as a c ass action,
     requests for attorney's fees are typically measured under the lodestar
11   method; under this method, the trial court multiplies the hours class
     counsel reasonably expended by reasonable hourly rates, and this
12   calculation can be enhanced or reduced by a multiplier depending on a
     number of factors (Roos, supra, at pp. 1490-1491). However the court
13   noted that in common- 'un~c cases in e era court, requests for attorney's
     fees are often awarded under apercentage-of-recovery method Roos
14   su ra at . 1491 . The court observed that both the lodestar met o and
     t e percentage method have pros and cons (Roos, supra, at pp. 1492-
15   1493 .The court held that no matter which met o is use t~rimate
     gob is the award of a reasonable fee to compensate counsel for their
16   efforts (R,00s, supra at p. 1494 . The court held that the cap on fees was
     reasona~b1ands
                e       matt ie tria court properly reviewed the attorneys'
17   evidence of the lodestar amount(Roos, supra, at pp. 1494-1496).
                                                                         '. G44, 1S
18 aiscussea in bu.~4u ~ c . In noiaing tnat the amount or a~;torney's fees
   which was grante y e trial court was not excessive, the court of appeal
19 stated that the amount of an award of attorney's fees rests within the
   sound discretion
20 Mandel v. Lackn                                                    is
21

22         4. This Court At Minimum Should Appoint Legal Assistance
           by Limited Scope Representation
23         I understand that in civil cases, there is no constitutional right to an
     appointed attorney. While the court may appoint an attorney to represent
24   me, it does so only in rare cases, such as case involving Hate Crimes and
     Color of Law Violations, once such has is similar tomy situation, except I
25   was not murdered after I was released from J'ail at night, United States v.
     Price, 383 U.S. 7871966). I understand that if the court does not appoint
26   an attorney, I must e prepared to represent myself going forward in this
     case.
27         I understand that in deciding whether to appoint legal assistance,
     the court will consider a variety offactors, including but not limited to the
28   following:
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                A. the merits of my claims and my ability to present the
                claims in Pro Se; and
     The merits of my claim rest on one question:
          "Does the PETITIONER know how to spell his own name?"
            PETITIONERS meet the first factor for the purposes of an injunction
     and temporary restraining order, particularly in these novel
     circumstances. To demonstrate a likelihood of success, PETITIONERS
     need not "`showy a mathematical probability of success"' but rather that
     they are pursuing challenging,.serious legal.questions that present a need
     fora "`more deliberative investigation."'Jewish War Veterans of U.S., Inc.
     v. Gates 522 F. Supp. 2d 73, 76(D.D.C. 2007)(citing Washington Metro.,
     559 F.2c~ at 844).
            Moreover, even if PETITIONERs cannot establish a likelihood of
     success on appeal, where there is a strong showing on irreparable harm, a
     stay.is appropriate if they "have made out a `substantial case on the
10   merits."' (qtr. For Int'1 Envtl. Law 240 F. Supp. 2d 21, 22(D.D.C. 2003)
      so holding "although the Court ultimately did not agree with
11   ~ espondent(s)' position on the merits"(quoting Washington Metro. 559
     F.2d at 843))
12          Finally, PETITIONERS' will also, at the least, present numerous
     serious issues related to the statutory construction of" Federal Claims and
13   Taking Clause of Private Property from the Fifth Amendments rights that
     warrant preserving the status quo in order to allow for appellate review of
14   this Court's judgment. The Court of App.eals has not considered the
     constitutional and statutor inter retation questions implicated in this
15   case since the decision in A~L-CI~ v. FEC, 333 F.3d 174(D.C. Cir. 2003),
     in which the Court invalidated the FEC's prior disclosure policy and
16   instructed the agency to devise a new policy.
            At the very least, these are difficult and novel questions that present
17   "a substantial case" on the merits: again, as this Court observed there are
     questions raised by this case that are Honorable Virginia A: Philips did
18   not rule on the full Motion to Disqualify Jud es. Coupled with the
     prospect of irreparable harm to the PE'1'ITI~ERs, and the practical
19   result that their appeal will become moot unless an injunction is issued,
     the circumstances presented here favor the entry of a stay or injunctive
20   relief pending appeal.           .
            In addition to the foregoing, I believe that the court should consider
21   the following additional information: the court document's mailed to Gail
     O'Rane on August 7 2019, and in her possession (not admitted into
22   evidence) Exhibit I~ for letter and court documents mailed; and the
     false arrest and obstruction of justice and intimidation; as I stood in line
23   at the Riverside Superior Court, my court documents were confiscated and
     I was falsely arrested, prior to attempting to file court documents, I
24   notified the opposin~party's counsel of an Ex-Parte on June 28, 2019, and
     that I would file an x-Parte on July 1st, 2019, see booking intake receipt,
25   etc., as Exhibit C; and the Minute Urder from April 3rd, 2019 stating
     that one important reason for the Ex-Parte was requestin counsel after
26   discovering a CRIMINAL PROTECTIVE ORDER and CR~INAL action
     CASE ending,see Exhibit E for some of urgent reasons I attempted to
27   file an ~x-Parte on July 1st, 2019; and the trauma I am undergoing,from
     the false arrest and false imprisonment; see article: "The Psychological
28   and Legal Aftermath of False Arrest and Imprisonment" and Medical
     visits to the hospital in which I suffered injuries, in Exhibit F, and ALL
                                           - ioi-
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      COURT DOCUMENT'S WHETHER ADMITTED INTO EVIDENCE OR
      NOT for FAMSS19011320, DVRI191830, and 5:19cv1808; and all 911
      calls and recordings I made in 2019, and all attempted and completed
      calls and recordings from when I was falsely imprisoned on July 1st, 2019
      by Riverside County Sheriff Department.
            This court will find that the total situation, focusing, inter alia, on
      the merits of the case and the complexity of the legal issues, and the
      PETITIONER's inability to represent himself due to matters and actions
      out of his control. This matter is filed while communication of a Notice of
      Claim by RESPONDENTS)and other unknown parties.
                   B. the nature and complexity of factual and legal issues
                   in the claims; and
            Under California law,"spoliation of evidence" is the destruction or
      significant alteration of evidence, or the failure to preserve~property for
      another's use as evidence in pendin or future litigation. Kearney v.
      Foley & Lardner,,LLP(9th Cir. 200 590 F.3d 638(applying California
      law). Spoliation is not a new problem in civil litigation. The destruction
10    may be negligent, willful, or reckless. It could occur under the watch and
      care of a party, non-party or counsel. From shredding documents to
11    deletin electronic files, the manner of spoliation can vary. However, the
      effect o~ destruction of evidence is that it can destroy fairness and justice,
12    increasing the risk of erroneous decisions and possibly increasing
      litigation costs as parties attem t to reconstruct what is no longer readily
13    available. Further spoliation o~ends the notion of fair play and
      undermines the ac~versarial system by violating the spirit of liberal
14    discovery.
            In response to spoliation courts have developed several remedies
15    against spoliators including adverse inference jury instructions, monetary
      or evidentiary sanctions criminal penalties and possibly a separate
16    spoliation tort. The availability of these remedies varies across
      jurisdictions and is often discretionary. This article discusses the
17    potential remedies available in California when spoliation occurs.
18                      i. Spoliation As An Independent Tort?
 19         California was the first state to recognize the independent tort of
      spoliation. In Smith v. Superior Court (2d Dist. 1984) 151 Ca1.App.3d 491
       disapproved of by Cedars-Sinai Medical Center u. Superior Court (1998)
20    ~ S Cal.4th 1, the court for the first time acknowledged that a cause of
      action may be stated for intentional destruction of evidence b a
21
      defendant in an underlying.action. The identified elements o~intentional
      s oliation include:(1) pendin or probable litigation involving the
22
      ~   TITIONER;.(2) knowledge~y the defendant of the existence or
      likelihood of litigation;(3) intentional "acts of spoliation" on the part of
23
      defendant designed to disru t PETITIONER's case;(4) disruption of
24    PETITIONER's case; and 5~ damages proximately resulting therefrom.
       Shortly after Smith in Ue~asco v. (.,'ommercial Bldg. Maintenance Co.(2d
25    Dist. 1985169 Ca1.1~pp.3d 874, the court recognized that negli~ent
      spoliation y a third party could be actionable under appropria e
26    circumstances rely~'n upon Smith and earlier dicta in Williams v. State of
      California (1983) 34 ~a1.3d 18. Although not finding the facts of the
27    particular case actionable, the Velasco court analogized negligent
      spoliation to the recognized tort of negligent interference with prospective
28    economic advantage.

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          In 1998, the California Supreme Court overruled Smith and
    specifically held than an independent tort of intentional spoliation is not
    cognizable against aparty-defendant in the underlyin case where the
    spoliation is or reasonably should have been discovered before the trial or
    other decision on the merits of the underlyin cause of action. Cedars-
    Sinai Medical Center u. Superior Court(199 18 Cal. 4th 1. In Cedars-
    Sinai, the court offered detailed policy reasons for its refusal to recognize
    an action against a defendant in the primary action including: strong .
    policy favoring the use of nontort remedies to punish and correct litiganon
    misconduct; prohibition against attacking adjudication on the ground that
    evidence was falsified or destroyed; uncertainty of harm in spoliation
    cases and difficulty of proof; direct and indirect costs of risks or erroneous
    determinations of spoliation harm to private parties and cost to
    Respondents) and courts litigating meritless actions; significant potential
    for~ury confusion and inconsistency where underlying.and spoliation
    claims are tried jointly;,and duplicative proceedin s without avoidance of
    the potential for inconsistent results where the ac~ions are pursued
    separately with requirement of a "retrial within a trial" burdensome both
 to to parties and courts. Just as there is no tort for intentional spoliation
    committed by a party to underlying litigation likewise, there is no
 11 separate tort cause of action for negligent spoliation of evidence. Given
    California's non-recogninon of spoliation as an independent tort,
 12 practitioners should Iook traditional nontort litigation remedies for
    spoliation. Hernandez v. Garcetti (1998)68 Cal. App. 4th 675.
13
                        ii. Adverse Inference Jury Instructions
 14         The doctrine of spoliation conceptually encompasses both negligent
      and deliberate destruction of relevant evidence by a party to litigation.
 15    However, California appears to have limited the adverse presumption
      jury instruction that follows destruction or spoliation of evidence only to
 16   situations involving willful destruction or suppression. California trial
      courts are permitted to instruct 'uries with a spoliation inference" that
 17   may be used where a litigant is ~ound to have willfull destroyed or
      concealed evidence durin the underlying litigation. ~ee Cedars-Sinai
 18   Center, 18 Cal.4th at 12. ~vidence Code section 413 provides in pertinent
      part:
 19   In determining what inferences to draw from the evidence or facts in the
      case against a party, the trier of fact may consider, among other things,
20    the party's failure to ex lain or to deny by his testimony such evidence or
      facts in the case agains~him, or his willful suppression of evidence
21    relatin thereto, if such be the case.
            ~e Judicial Council of California Advisory Committee on Civil Jury
22    Instructions provides under instruction 204 that the jury may consider
      whether one party intentionally concealed or destroyed evidence. If the
23    jury decides that a party did so, the jury may decide that the evidence
      would have been unfavorable to that party..It is pre]'udicial error to
24    instruct the jury on wilful suppression of evidence when there is no
      evidence to support the instruction. County of Contra Costa v.
25    Nulty 1965) 237 Ca1.App.2d 593, 598.
            ~he policy of limiting the adverse inference instruction to
26    intentional acts of destruction flows from the rationale that only
      intentional destruction supports the inference that the destruction
27    amounts to an admission by conduct of the weaknesses of the case. The
      implication is that there is a consciousness of~uilt that has the potential
28    to saturate the entire case. While some jurisdictions hold that the
      negligent destruction of relevant evidence can be sufficient to give rise to
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     the spoliation inference, California only permits the instruction with
     willful destruction or suppression.
                     iii. Sanctions
          Courts  determine  the proper sanction for destruction or suppression
    of relevant evidence on a case-by-case basis. Uni and Security Ins. Co. v.
    Lakewood Eng. &Mfg. Corp.(9th Cir. 1992) 982~.2d 363, 368. The
    following factors are generally considered in choosing an appropriate
    sanction: the degree of fault of the party who altered or destroyed the
    evidence; the degree of prejudice suffered by the opposing party;and
    whether a lesser sanction will avoid substantial unfairness to the
    opposingparty and, where the offending party is seriously at fault, will
    serve to deter such conduct by others in the future. Prac. Guide Fed. Civ.
    Proc. Before Trial(Nat Ed.) C;h. 11(I)-C.
          The California Supreme Court instructs that spoliation constitutes a
    misuse of the discovery process that is subject to a comprehensive range of
    punishment including monetary, issue, evidentiary,and terminating
    sanctions. fee e.~,_Cal Code Civ. Proc §§ 2023.01 (3) 2023.030(a) to
10 (d); Cedars-Sinai Medical Center v. Superior Court, 1~ Ca1.4th 1, 12. A
    terminatin sanction may be appropriate in the first instance without a
1 1 violation o~prior court orders in e regious cases of intentional s~ poliation
    of evidence. R.S. Creative, Inc. v. ~reatiue Cotton Ltd.(1999) 75
12 Ca1.App.4th 486, 497. Some jurisdictions have found that once the duty to
    preserve evidence has attached, counsel's failure to issue a written
13 litigation hold letter to a client constitutes gross negligence for sanctions
    purposes,"because it is likely to result in destruction of relevant
14 information." Pension Committee of Univ. of Montreal Pension Plan v.
    Banc of America Securities, LLC(S.D. NY 2010)685 F.Supp.2d 456, 466.
15 The court may exclude related or derivative evidence offered by-a party
    who has destroyed evidence while under a duty to preserve it. Unaguard
16 Security Ins. C., 982 F.2d 363, 368.

17          If placed in the situation where evidence may have been destroyed,
     it is a good idea to get ahead of the situation as soon as possible.
18    Recognizing that the implications of spoliation in California litigation
     could range from various sanctions (including terminating sanctions) to
19   adverse jury instructions is important in advising clients about the
     significance of document preservation in the first place: If brought on as
20   new counsel on a pending matter, consider issuing a litigation hold letter
     to your client to be sure that these issues are addressed. It may not be too
21   late to exercise these cautions to preserve documents and it could mean
     avoiding steep consequences.
22
                        iv. Fraud on the Court.
23
            A second, potentiall worse option than your typical Rule 60(b)
24   motion, is an allegation o~fraud on the court. A subset of Rule 60 in
     federal court is an action for "fraud on the court "which falls under the
25   "other powers to grant relief' provision of Rule 6~0(d). In federal court,
     actions for fraud on the court can come in many different forms, there is
26   no time limit on them, and it is within the inherent ower of the court to
     vacate a judgment that was obtained by fraud. See ~robny v. C .I.R., 113
27   F.3d 670, 677(7th Cir. 1997)("A] decision produced by fraud on the court
     is not in essence a decision at all, and never becomes final."); see also
28   Wright & Miller,ll Federal Practice &Procedure § 2870 ~d ed.); see also,
     e.g., Ala. R. Civ. P. 60(b)(stating the rule "does not limit t e power of a
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    court to ...set aside a judgment for fraud u on the court"); Fla. R. Civ. P.
    1.540("This rule does not limit the power o~a court to entertain an
   independent action to relieve a party from a judgment, decree, order, or
    p~roceeding or to set aside a judgment or decree for fraud upon the court.")•
    N.J. Ct. R. R. 4:50-3(same .But see Matthews, Wilson &Matthews,Inc.
    v. Capital City Bank,614 ~. Ap~'x 969, 971~~(llth Cir. 2015)(noting that
    the equitable doctrine of lathes does apply ), N.Y. C.P.L.R. 5015 treating
   fraud upon the court under the same provision as regular fraud); ~a. Code
   § 8.01-428 (stating that a motion on the ground of fraud on the court
   shall be made within two years from the date of the judgment or decree").
          Given the general flexibility in federal court and in many states
    regarding time limits on bringing such actions along with the offensive
    nature of such an action—if legitimate—to a court, these allegations can
    be far more worrisome than an avera~e Rule 60(b) motion. The remedy if
    such fraud has indeed occurred is ordinarily to vacate the judgment and
    deny "the guilty party~of~ all relief." Boyer v. GT Acquisition LLC, No.
    106-CV-90-TS, 2007 WL 2316520, at *4(N.D. Ind. Aug. 9, 2007).
    Sanctions may be im osed, and the entire cost of the proceedings,
io includin~ attorneys' ~ees, m_ay be assessed against that party who
    perpetra ed the fraud. See Wright &Miller, 11 Federal Practice &
11 Procedure § 2870 3d ed).
          In general,"~f]raud on the court which justifies vacating a judgment
12 is narrowly defined as fraud which is directed to the judicial machinery
   itself and is not fraud between the parties or fraudulent documents false
13 statements or perjury." United States v. Smiley, 553 F.3d 1137, 114(8th
    Cir. 2009)(internal quotation marks and citations omitted). Examples of
14 fraud on the court in a settlement context can be seen most clearly in the
    class action or ro ami context where court approyal is re uired—as a
15 fiduciary for the class or the minor—to settle the action. See, e.g., In re
    Tremont S*c. Law, State Law, Ins. Litig., No. 08 CIV. 11117, 2013 WL
16 795974, at 2(S.D.N.Y. Mar. 1, 2013)(arguing fraud on the court after
    approval of settlement through fairness hearing), CA, Inc. v. Wang, No.
17 04-CV-2697 TCP, 2011 WL 5401324, at *15 (E.D.N.Y. Nov. 4, 2011)
   (same).But while those are the most obvious, fraud on the court can
18 stretch much farther than just those scenarios in a settlement context.
    See Burlington N. R. Co. v. Warren, 574 So. 2d 758, 764 (Ala. 1990)
19 (holding a consent judgment was fraud on the court and stating,"where
   fraud is practiced upon a party to induce the party to enter into an
20 agreement, and the wrongdoer intends that the court adopt that
   fraudulent a reement as part of aJudgment; then there is fraud upon the
21 court."); id.( O]nly that species o~"fraud which does or attempts to, defile
    the court itse~f or is a fraud er etrated b officers of the court so that the
22 judicial machinery can not perform in the usual manner its impartial task
    of ad'udging cases that are presented for adjudication."); R.C. by Alabama
23 Disabilities Advocac Program v. Nachman 969 F. Sup 682 690-91
   (M.D. Ala. 1997), af~d sub nom. R.C. v. Nac~iman, 145 ~3d 3~3(11th Cir.
24 1998).("Fraud upon the court is ...typically confined to the most
    egregsous cases, such as bribery of a jud e.or juror, or impro er influence
25 exerted on the court by an,attorney in w~ich the integrity o~the court
    and its ability to function impartially is directly impinged.").
26        Luckily, because fraud on the court is so difficult to establish, very
   few of these actions are successful. See e.g., In re Sealed Case (Bowles,
27 624 F.3d 482, 489 n.4(D.C. Cir. 2010 ~"Appellant's allegations of frau do
    not meet the high threshold for showing a fraud on the court.")• Dempsey
28 v. Arco Oil &Gas Co., 25 F.3d 1043(5th Cir. 1994)(reviewing district
    court ruling for abuse of discretion and stating that a "reversal will be
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    granted only upon a showing of extraordinary circumstances that create a
    substantial danger that the underlyin judgment was unjust"(internal
    quotation marks and citation omitted •see also, e.g., Pizzuto v. Ramirez,
    783 F.3d 1171, 1180 (9th Cir. 2015)( ~]party bears a high burden in
    seeking to prove fraud on the court, w ich must involve an unconscionable
    plan or scheme which is designed to improperly influence the court in its
    decision."(internal quotation marks and citations omitted)); Matthews,
    Wilson &Matthews,Inc. v. Capital City Bank, 614 F. App'x 969, 971
   (11th Cir. 2015)("Less egregious misconduct, such as nondisclosure to the
    court of facts allegedly pertinent to the matter before it, will not ordinarily
    rise to the level of fraud on the court. (internal quotation marks and
    citation omitted)).
          But if successful, a likely result is a reopenin of the action and
    heavy.sanctions (both monetary_and non-monetary against the party that
    committed the fraud. See e. , tiae er v. Goodyear Tire &Rubber Co., 813
    F.3d 1233, 1237, 1254 (9t~i ~ir. 201)(affirming monetary and non-
    monetary sanctions by district court imposed under inherent power
    because of "deliberate decisions by [Respondent(s)] to delay the production
 10 of relevant information, make misleading and false in-court statements,
    and conceal relevant documents").
 11

 12                   v.Independent Cause of Action for Fraud.
          Finally, an opponent can attempt to affirm the settlement and sue
13 for more mone by way of an inde endent action for fraud, much like our
    example case. Although much more rare, this type of an action could be a
14 tremendous threat, especially given the potential for punitive damages in
   fraud actions. Although man courts may not permit such an action and
15 may conclude that Rule 60(b~is the only available remedy, some courts
    have held otherwise. See, e. , Ex-Parte Caremark RX, Inc., 956 So. 2d
16 1117, 1125 (Ala. 2006)("As e Ex-Parte Application is now drafted, [the]
    only option is to proceed with [the] misrepresentation and suppression
17 claims as a new action. But see, e.g. Pondexter v. Pennsylvania Human
   Relations Comm'n, 556 ~. App'x 129, X31 3d Cir. 2014)(dismissing new
18 action with additional Respondent(s ~; Villarreal v. Brown Exp., Inc., 529
    F.2d 1219, 1221 (5th Cir. 1976)(holing that new Ex-Parte Ap lication
19 filed regarding prior settlement in reality fell under Rule 60(b)~; Aldana v.
    Del Monte Fresh Produce N.A., Inc., 741 F.3d 1349, 1359(11th Cir. 2014)
20 (stating.relief is available under this mechanism only to prevent a grave
    miscarria e of justice); id. ("The Supreme Court has made clear that such
21 `[i1ndepen~ent actions must, if Rule 60(b) is to be interpreted as a
    coherent whole be reserved for those cases of injustices which, in certain
22 instances, are deemed sufficiently gross to demand a departure from rigid
    adherence to the doctrine of res judicata." (internal quotation marks and
23 citations omitted)). And of course, the worse the conduct appears, the
    more likely it becomes that a court will find a way to allow the action to
24 proceed, regardless of any Rule 60~b)time limits. After all, as lawyers we
    have all heard the old ada e that "bad facts made bad law," and it
25 unfortunately turns out toe true more often than we would like.
          Althou_gh "[p]rope~r resorts to independent actions are rare
26 Matthews, Wilson &Matthews Inc. v. (capital City Bank,614 ~. App'x
    969, 971 (11th Cir. 2015), if such an action is permitted to proceed the
27 potential dama es could get worse than just sanctions by a court. ~Vot only
    can the PETIT~NERs'recover the difference between what the
28 settlement was and what it would have been had the suppressed or true
   facts been known, they can recover punitive damages to punish the
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      Respondents) for the fraud and sup ression. And in a case like our
      example case, where the members o~the class are painted as innocent
      victims of a fraud, a high jury verdict becomes a very real risk.
                   C. My diligence in attempting to secure an attorney; and
            In support PETITIONER states that I have made a diligent effort to
      employ counsel and contacted the following attorneys: Jon Atabek Jamon
      Hicks, Colin Rushovich, Aaron Berger, Mark Lansing, Melissa Mikhail
      etc. Due to the complex case involvin~g Judicial Officers and their Bailif'f's,
      such as Gail O Rane and her Bailiff H. Lopez, many attorney's have not
      wanted to intervene with my case because of the complexity and my lack
      of mone to ay ~attorney fees, See Exhibit G.
            P~TI~ON ER states that I made a diligent effort to obtain the
      assistance of counsel by contacting the following legal aid organizations,
      lawyer referral service, or pro Bono attorneys: Inland Counties Legal
      Service, Georgia L~egal Aid, Federal Pro Bono Clinic, and ACLU and
      attendance at the LA County Law Library for their Civil Rights course on
      December 13, 2019, See Exhibit H.
 to         I understand with regard to the first factor, I must show that I have
      made a reasonably diligent effort under the circumstances to obtain an
 11   attorney to represent me and that I have fully exhausted my efforts with
      attem ting to secure counsel, see Exhibit G and Exhibit H.
 12         ~o obtain legal fees or legal assistance,. a party must make diligent
      efforts to secure counsel. This typically requires the part to meet with
13    and discuss the case with at least five attorneys. Some o~my diligent
      efforts, included contactin ands Baking with attorney's already
14    litigating against.RESPO~DEN~(S~i such as:
            1. J amon Hicks from Dougl~as/Hicks Attorneys at Law, legal counsel
 15   in a settlement a ainst RESPONDENTS)for beating a man to death.
            2. John W. ~arris from Harris &Associates, legal counsel from a
 16   wron ful death case vs RESPONDENT(S).
            ~. Ralph M. Rios from Rios &Associates, legal counsel in the flower
 17   vendor case vs RESPONDENT(S).
            4. Jan Stigilitz from the Law Office of Jan Stiglitz, legal counsel in
 18   the Horace Roberts case.
            5. Craig S. Benner from the Benner Law Firm, legal counsel in the
 19   Horace Roberts case.
            I demonstrate all my efforts within this motion and attached
20    documents in Exhibit G and Exhibit H.
21               D. My financial ability to pay an attorney; and
22
            I am financially unable to hire an attorney because I have lost my
23    job due to the court clerk and/or staff's misconduct and false arrest on
      July 1st, 2019 while inside the court house attempting to file an Ex-Parte.
24    I have a video that will be presented at the hearing, in addition view my
      booking intake form and other relevant document s attached.
2s          I, Abanoob Abc~el-Malak, the above named PETITIONER, do hereby
      swear that I am unable to pay the costs of said proceedin or give security
26    therefor, that I believe I am entitled to redress because o~the color of law
      violations, and that I am unable to litigate this case on my own behalf
27    because I am indigent and that exceptional circumstances are present, for
      example, the Superior Court of Riverside changed the case summary
28    information regarding the Judicial Officer's name being changed to
      another Judicial Officer name, which is false. Honorable Gail O'Rane is
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      the correct Judicial Officer who held all hearings from March 12, 2019 up
      until August 8 2019 See Exhibit A for the Original Case Summary
      with Gail O sane) ~OT Judicial Officer Jennifer Gerard (S~ee Exhibit
      B for the Altered ~ase Summary with Jennifer Gerard), once I
      attempted to file my Notice of Appeal on January 14 2020, was then the
      name of the Judicial Officer name chan ed from Gail O'Rane to Jennifer
      Gerard, because of such acts, a denial o~ the application will likely result
      in fundamental unfairness impinging on my due process rights. I
      respectfull requ~est the appointment of counsel.
            PET~IONER has submitted a financial document in a state action,
      based upon that affidavit, the Court has granted him permission to
      proceed in forma pauperis. The affidavit likewise shows that
      PETITIONER is financially unable to.secure counsel. In the appointment-
      of-counsel contexts the pertinent inquiry is whether the party seeking
      appointment can meet his or her daily expenses while also hiring an
      attorney.Given the financial affidavit the court will find that I the
      PETITIONER, have shown that I would be unable to meet my daily, non-
      discretionary expenses am I to hire an attorney. My credit score strongly
 l0   reflects m inability to afford counsel and explains why the incident of
      July 1st, 019 directly reflects the roximate cause and damage of why I
 11   am unable to afford counsel. There ore, I am a qualified candidate
        ursuant 28 U.S.C. § 1915(e)(1) andlor other applicable laws under
 12   ~ ederal and State Law with exce tional circumstances. See Exhibit I for
      financial hardships. Lastly, PET~IONER is usin a Fee Waiver.
 13         To warrant appointment of counsel, PETITIONER must also
      affirmatively show that he asserts meritorious claims. By being falsely
 14   imprisoned and falsely arrested I am able to demonstrate tort claims in
      addition to the color of law violations. I also would be able to provide merit
 15   of allegations based on the telephone records of calls I attempted to make
      while detained. If I was given my federally protected right to file the Ex-
16    Parte on July 1st, 2019, purchase certified copies, and have subpoena's
      issued the outcome of the case would be different.
 17         based on RESPONDENT(S)'s past unlawful actions in federal court
      demonstrate a pattern and practice,. and road they have traveled before.
 18   The fact that I was released from J'ail and the criminal char es were
      dropped, show my claim has merit. In addition, my Notice o~ Claim, shows
 19   meritorious claims.
      My claims arise under the laws of the federal laws and state laws in
20    which tort claims will suffice. Intendin~g to file a Federal Civil Rigfit action
      in this matter pursuant to California Cxovernment Code §910.4 the
21    California Tort Claim Act and Federal Tort Claims Act and any other
      ap~licable state or federal statute or constitutional provision.
      ~
22    Y~:'1'ITIONER has suffered harm as a direct and proximate cause of the
      actions and inactions stated in the statement of facts.
23          As a result of the foregoing, Respondents) are engaged in on oing
      violations founded on a claim and/or right arisin under the laws o~ the
24    United States. Article VI, Paragraph 2 of the U.~ Constitution is
      commonly referred to as the Supremacy Clause. It establishes that the
25    federal constitution, and federal law generally, take precedence over state
      laws, and even state constitutions. It prohibits states from interfering
26    with the federal government's exercise of its constitutional powers, and
      from assumin any functions that are exclusively entrusted to the federal
27    government. ~e following on oing violations violate Color of Law
      violations;, i. Amendment 1V: ~earch and Arrest Warrants, ii. Amendment
28    V: Rights in Criminal Cases, iii. Amendment VI: Rights to a Fair Trial, iv.
      Amendment VIII: Bails, Fines, and Punishments, v. Title 42, U.S.C.,
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     Section 14141 vi. Title 18, U.S.C. Section 241 Conspiracy of Rights vii.
     Title 18, U.S.G. Section 242 Deprivations of Rights under Color of ~.aw,
     viii. Title 18, UDC, Section 245 —Federally Protected Activities,.which
     prohibits unfair or deceptive acts or practices in or affecting United States
     citizens.
     The Injuries as a result of illicit acts mentioned in this motion together
     between all the parties described in this motion, PETITIONEl~,suffered
     loss of employment, loss of law school scholarship, loss of liberty, great
     mental anguish, humiliation, degradation, physical and emotional pain
     and sufferin and other grievous and continuing injuries and damages set
     forth above.~he misconduct described in this count was objectively
     unreasonable and was undertaken intentionally and with willful
     indifference to PETITIONER's constitutional rights.
           If I am granted a temporary restraining order and preliminary
     injunction. Requiring the following items to be granted, my merit on my
     claims are more than likely to.be successful;
           1. Permanently restraining and enjoining Respondent(s).from
     destro ing~ altering, accessing, or concealing documents pertaining to
io PETI~IONER's Medical Records.
           2. Temporarily restraining and enjoining Respondents)from
11   destroying~ altering or concealing documents pertaining to case DVRI
     1901830 r'AMSS 101320, 5.
12         3. fiemporarily restraining and enjoining Respondent(s)'from
     destroying, altering, or concealing video footage &phone call recordings
13   from July 1st, 2019 inside the Riverside Famil Court House and
     Riverside Detention Center when PETITION was arrested while in
14   line of the court house.
           4. Temporarily restraining and enjoining Respondent(s)'from
15   destro ing~ altering or concealing phone calls from the cell where the
     PETITIONER was detained on July 1st, 2019.
16         5. Temporarily restraining and en~oinin Respondents)from
     disclosing any Protected Information without~irst implementing
17   reasonable safeguards to maintain and protect the privacy, security,
     confidentiality, and ante rity of such Protected Information•
18         6. Temporarily,restraining and enjoinin Respondents)from
     disclosing or benefiting from any Protected Information that any
19   Defendant disclosed prior to date of entry of TRO and without having
     implemented reasonable safeguards to maintain and protect the privacy,
20   security confidentiality, and integrity of such Protected Information;
           7. ~,equiring Respondents) and any person hosting or otherwise
21 controllin any Internet content, server, or website that contains
     Protected~nformation posted by or on behalf of any Defendant to
22 immediately take steps to ensure that the Protected Information on any
     website, blog, or social media service is no lon er viewable or accessible by
23 persons using the Internet; prevent the alteration, destruction, or erasure
     of any Internet content, servers, or websites that contain Protected
24 Information posted by or on behalf of the Respondents); and implement
   reasonable safeguards to maintain and protect the privacy, security,
25 confidentiality,. and integrity of any Protected Information;
         8. Requiring Respondents)to provide notification to each person
26 whose Protected Information t ey disclosed without implementing and ,
   using reasonable safeguards to maintain and protect the privacy, security,
27 confidentiality, and integrity.of such Protected Information;
         9. Restraining and enjoining Respondents) and certain third parties
28 from destroying or concealing documents;

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            10. Authorizing expedited discover from Respondents) and third
      parties, for the purpose of discovering information about Respondent(s)'
      identities assets, and/or business activities;
            11. requiring Respondents) to show cause why this Court should
      not issue a preliminary injunction extending such temporary relief
      pending an adjudication on the merits; and
            12. Providing the assistance of legal counsel in this highly
      complexed matter
            13. Preventing t~ his filing to be randomly assigned to District Judge
      David O. Carter and/or any other Judge who has any connection or
      association with Riverside County.
            14. Providing for other equitable relief.
                  E. PETITIONER's Capacity to Present Case Without
                  Counsel
            In determining whether the case is an exceptional one, the court
      said that the court should consider:(1) the type and complexity of the
      case;(2) whether the PETITIONER is capable of adequately presenting
 10   his case;(3) whether the PETITIONER is in a position to investigate the
      case adequately; and (4) whether the evidence will consist in lar e part of
 11   conflicting testimony so as to re uire skill in the presentation o~evidence
      and in cross-examination. Id. at~13.
 12         I have no training or experience in cross-examining witnesses or
      presenting complicated evidence. I have no training in objecting to the
 13   tactics of opposing counsel in a trial that will be decided on these
      complexed issues. Such as particular complexities or difficulties in
 14   conducting discovery. to the exceptional circumstances below. I do not
      have the ability to investigate the crucial facts such as my medical records
 15   and court documents, the conflicting evidence implicating the need for
      cross-examination will be the major proof presented to the fact finder, the
 16   indigent's ability to present the case, the complexity of the legal issues
      and any special reason in that case why appointment of counsel would be
 17   more likel to lead to a just determination.
            Theactual and legal issues in this civil case do appear to be too
 18   com lex due to federal and state cases, along with due rocess and e~c~ual
      proection of the law under V.A.W.A. and color of law violations. In Ulmer,
 19   an indigent prisoner brought a suit under 42 U.S.C. § 1983 alleging.a
      violation of his civil rights because of inadequate and unsanitary jail
20    conditions. The court said that although  - counsel in civil rights cases was
      required only in exceptional cases, 28 U.S.C. § 1915(d) allows a federal
21    court the discretion to a~point counsel if doing so would advance the
      proper administration o ustice.
22          Also, to file my Ex-~arte Application in the~proper Jurisdiction and
      Venue for Demanding A Trial By Jury; without Counsel I am unsure on
23    which Court I am entitled and/or able to file in to get a Fair Trial since
      Judicial Officer's of California are at the center of this case. The incidents
24    occurred in succession, be inning on or around January 31, 2019 at
      1:09:00 p.m. up until now~ebruary 2020. Some incidents and injuries
25    occurred in San Bernardino County, California, Riverside County
      California, Orange Count ,California, Los Ang~eles, County The state of
26    North Carolina, and The ~tate of Georgia, and back in the state of
      California. Some witnesses live in New York, North Carolina, and
27    Geor ia.
           ~he court found In Jolly y. Wright "due process.requires
28    appointment of counsel for indigents in nonsupport civil contempt
      proceedings only in those cases where assistance of counsel is necessary
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     for an adequate.presentation of the merits, or to otherwise ensure
     fundamental fairness".
           My health and trauma from the Julylst, 2019 incident, and for
     someone of m a e and as health as I am to suffer a heart condition like I
     did in Augustma~es this trial di~icult to proceed in Pro Se, and my
     trauma and incident is fully demonstrated what the article reflected in
     Exhibit F. I am unemployed and slowly recovering from the trauma.
           I am currently in search for employment, so this also limits my
     capacity to investigate certain issues and draft documents while meeting
     my basic needs. I will be starting school,soon as a full-time student
     beginning around Fall 2020. My time will be limited for the next couple of
     years.
           Complexed Issue;#1
           If the claim meets this threshold requirement, the court should then
     consider the indigent's ability to investigate the crucial facts, whether
     conflicting evidence implicating the need for cross-examination will be the
     major proof presented to the fact finder, the indigent's ability to present
     the case, the complexity of the legal issues and any special reason in that
10   case why appointment of counsel would be more likely to lead to a J~ust
     determination. Hendricks v. Cou hlin 114 F.3d 390, 392(2d Cir. 1997),
11   quoting Hodge v. Police Officers,~02 ~'.2d 58, 61-62(2d Cir. 1986)
           1Vly second example, the Superior Court of Riverside changed the
12   case summary information re arding the Judicial Officer's name being
     changed to another Judicial ~fficer name, which is false. Honorable Gail
13   O Rane is the correct Judicial Officer who held all hearings from March
     12, 2019 up until Au~ust 8, 2019, NOT Judicial Officer Jennifer Gerard,
14   once I attempted to file my Notice of Appeal on January 14 2020 was
     then the name of the Judicial Officer name than ed from G7ai1 O'~Z,ane to
15   Jennifer Gerard, because of such acts,. a denial o~ counsel will likely
     result in fundamental unfairness impinging on my due process rights. I
16   respectfully.request the a pointment of counsel.
           My third example; ~n November 21 2019: court clerks refused to
17   allow me to file an ex-parte once again be~'ore m hearing. Because of once
     again being denied to file and Ex-Yarte as a Se1~Represented Indi ent
18   Defendant, I request Commissioner Wend Harris to recuse herse~ as
     allowed by California Family Law Court ~ules. She refused to recuse
19   herself after I orally request my first request to have a jud~e removed
     from my case. I orally stated to recuse herself ursuant to alifornia Code
20   of Civil Procedure §170.6 and that she is bias ~ecause she has not
     appointed legal counsel in a criminal case action, and/or issued me any
21   subpoena's to at least one witness from my witness list of 15-plus
     witnesses I intended to call. In addition, on November 22 2019:
22   Commissioner Wendy Harris refuses to give me her California State Bar
     License Number. I explained to her that my health is not fit to provide my
23   defense to this case as I desperately need an attorney and that 1 already
     suffered a heart condition from the false arrest by the bailiff's in the court
24   room. She refused to provide me with everyone's name inside the court
     room. She stated she does not practice.law in California. And practices
25   outside the state of California. Commissioner Wendy Harris, grants the
     Criminal Protective Order for 5 years, allowing the same law enforcement
26   agency who arrested me to continue to record my communications and
      monitor my Internet, in which they can arrest me without notice.
27         Key elements in properly showing m claim rest on Judicial
     Immunity by the Jud es who violated 18 ~.S.C., section 242 —
28   Deprivation of Ri~hts~nder Color of Law. In Dykes v. Hosemann, 776
     F.2d 942, 946 (11th Cir.1985)(en banc), the Eleventh Circuit, sitting en
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    Banc, held that a J'udge who conspTres to deny a party federal
    constitutional rights is immune from a dama e action under section 1983.
    Dykes, 776 F.2d at 946. "Were we to follow ~ankin v. Howard,633 F.2d
    844, 848-49(9th Cir.1980) judges, on mere allegations of conspiracy or
    prior agreement, could be hauled into court and made to defend their
    Ludicial acts, the precise result judicial immunity was designed to avoid.".
    The court in Dykes also c~uestioned Rankin's holding that a judge loses
    immunity, regardless of the existence of subject matter urisdiction, by
    acting in the absence of personal Jurisdiction. at 948."~e view Rankin as
    contrary to Sup.reme Court and ~eventh Circuit precedent as well as an
    unwise restriction of atime-tested doctrine."
           Complexed Issue• #2
           The difficulties wit the procedures in a Notice of Claim under the
    California Tort Claims Act and Federal Tort Claims Act Req,uirements,
    etc.; A PETITIONER must plead compliance with the Tort Claims Act in
    any action that was subject to the claims presentation requirements.
    Dujardin v. Ventura County Gen. Hosp , 69 Ca1.App.3d 350 ~977~ If not
    properly plead, it is sub'ect to attack. ld. Of course, if the PE ITI NER
10 complied with the Tort ~laims Act but simply failed to plead it, the defect
    may be cured b~y amendment. Bohrer v. County of San lliego, 104
1 1 CaI.App 3d 155, 160(1980).
           The ublic entity defendant can also plead the failure to comply with
12 the Tort      aims Act as an affirmative defense. Rand v. Andreatta, 60
    Ca1.2d 846 848(1964). However, a defendant may assert the failure to
13 comply with the 'fort Claims Act in a summary judgment motion
    regardless of whether it was pled as an affirmative defense. Redlands
14 High School Dist. v. Superior Court, 20 Ca1.2d 348, 358(1942)(construing
    prior claims law).
15         The public law er would be well served to know in detail the
    requirements of the ~ort Claims Act. While the procedures in the Tort
16 Claims Act do not present a terribly difficult burden for a claimant with a
    legitimate claim to bear, they do present several legal hurdles which must
17 be met. If a claimant=s tort claim remains defective by the time the case
    is in litigation, cities and other public agencies should invoke the Tort
18 Claims Act as a shield protecting taxpayer dollars and barring a claim
    that is legally insufficient as a matter of law.
19         Attorneys defending cities should review the case for defects with
    the  Tort Claims Act from the pleading stage of the case. However, do not
20 hesitate to assert a Tort Claims Act defense whenever a defect becomes
    apparent. Public entities have successfully asserted the defense in nearly
21 every manner of motion and opposition from the beginning of the case to
    the end, including: 1. Demurrer (Fall River, supra 206 CaI.App.3d 431;
22 Nelson v. State, 139 Ca1.App.3d 72 79 (1982)); 2..bpposition to
    PETITIONER=s motion to amend ~x-Parte Application to add a cause of
23 action (Lo ez v. Southern Cal. Permanente Med. Group 115 Ca1.App.3d
    673(1981); 3. Motion to strike(PH II, Inc. v. Superior G~ourt, 33
24 Ca1.App.4th 16801995)(use of motion to strike generally))• 4. Motion for
    judgment on the p eadings(Hunt v. Count of Shasta 225 G~a1.A~pp3d 432
25 (1990)); 5. Motion for summary judgment(yPurner v. ~tate, 232 C~al.App:3d
    883(1991) • 6. Motion in limine to exclude evidence of facts not alleged in
26 the claim ~fiurner v. State, supra, 232 Ca1.App.3d 883(excluding such
    evidence at summary udgment)); and 7. Op~osition to motion for new
27 trial on a new theory ~Hata v. Los Angeles (county Harbor/UCLA Med.
    Cntr., 31 Ca1.App.4th 1791 (1995)).
28         Tort Liability when multiple parties are involved in HATE CRIMES:
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      Joint and Several liability exists where two or more negligent acts
      combine to proximately cause an indivisible harm, making each defendant
      liable for the entire harm. PETITIONER can recover the entire loss from
      any defendant, regardless of that defendant's share of the total
      responsibility. Contribution allows a defendant who pays more than his
      pro rata share to obtain reimbursement from another defendant.
      lndemnity is the shifti~n~g of responsibility for the entire loss from one
      defendant to another. Without legal counsel, I am unable to fully prove
      the liability among multiple Respondent(s).
            Complexed Issue;#4
            Lack of Legal Skills and Understanding on the Rules of Evidence,
      Special Motions, Legal Writing Needed to meet Court Rules and
      Procedures, etc.;
            I have a video and audio recordingsin which my Ex-Parte
      Application strongly relies on as proof, but I do not understand and/or
      have the capacity to properly introduce the evidence with my Ex-Parte
      Application.
            In addition, expert testimony and witness is needed to prove the
10    fraudulent and forged court document on the Stipulation from March, 14,
      2019 and April 17, 2019.
11    Counsel is re uired in this exceptional circumstance to provide me with:
      fundamental~airness, equal access to court tactics, courtroom skills to
12    handle the admission of evidence, examinations and cross-examinations
      and ob'ections at trial, especially in front of a 1~ury.
13          fundamental fairness of not having not having an attorney in this
      matter, and where the Tort Claim Act is designed to rotect the
14    government from wrongdoings inflicted even when ~ederal Civil Rights'
      violations have occurred is not only un~'air, but denies me equal
15    protection of the law anc~ of equal access to proceeding in court. Counsel is
      required in this exceptional circumstance to provide me with:
 16   fundamental fairness, equal access to court tactics, courtroom skills to
      handle the admission of evidence, examinations and cross-examinations
 17   and objections at trial especially in front of a jury, in which an ineffective
      Notice of Claim can affect my Civil Rights action.
ig          Complexed Issue• #4
      Calculation of Damages,Actions and Remedies;.
 19         I do not understand and/or have the capacity on how to accurately
      calculate the dollar amount of damages that would be reasonable and
20    sufficient in a Ex-Parte Application, and would need the assistance of
      legal assistance to accurately calculate a dollar amount for all damages
21    a plicable under state and federal law.
22
      ~ ue to the reckless and unlawful behavior of the law enforcement officers,
      judicial officers and court clerks and others described above, I, Abanoob
      Abdel-Malak, tie PETITIONER was falsely arrested; sub'ected to illegal
23    strip searches; falsely imprisoned for a period in excess o~12 hours; while
      falsely imprisoned I was subject to excessive force, assault, battery, and
24    deprived of medical care• falsely char ed with criminal offenses, and
      compelled at considerable expense an~ personal inconvenience to return
25    to the Superior Court of California -County of Riverside while out of state
      to defend myself from false and illegal charges arising from Federally
26    Protected Activities.
            Moreover, I, Abanoob Abdel-Malak, was the victim of unreasonable
27    and excessive force when Deputies stole my court document's and did not
      return them, and denied food and water while falsely imprisoned for over
28    12 hours during my illegal arrest. In addition, while falsely imprisoned, I
      was denied the right to call counsel and calls were blocked. I was only
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    released until I begged needing to get the hospital urgently,and inmates
    had to get Deputies attention to tell them to check on me, because I was
    ignored by Deputies and locked in a room.
          In addition to the pain, suffering, public humiliation and emotional
    distress experienced, in consequence of the reckless misconduct of I was
    then harassed while out of State, disturbing my peace in addition to
    further stressing me out while under Post'Traumatic tress Order from
    the False Arrest and False Imprisonment.
          Com lexed Issue• #5
          The importance of ~Jnderstanding The "Stipulation for Judge Pro
    Tem" for ed with my signature in San Bernardino Superior Court, Case
    #: FA~VIS~1901320. Un March 14th, Bailiff F. Wilkerson, Court Re orter
    Karen Di gs #7789 and Amber Bouchard and/or my ex-girlfriend all
    from the ~u erior G~ourt of California, San Bernardino, participated in
    actions and ~orged my signature on a "Stipulation for udge Pro Temp"
    and filed it at the San Bernardino Family Court House, case FAMSS
    1901320.
          The individuals who ~artic~ipated in the forged document miss elled
io my name and hand-wrote ABANOOD MALAK v. DESIREE l~ PIECE."
    4See attached court transcri t and document My name is spelled
1 1 ` ABANOOB ABDEL-MALAp         K," as it is spelle . on all other court
    documents. The forged stipulation form was filled out in handwriting that
12 is obviously not my own, even using a date convention that I do not
    customarily use.
13        Lastly, the fact that the forged signature is on the ri ht side of the
    form raises the suspicion that the forged signature was in~ended to be
14 transferred to other different documents, and suggests why the Riverside
    County Family Courthouse refuses to allow me to purchase a certified
15 copy of the.document.
          This is a clear example of RESPONDENT(S)'S acting in bad faith.
16 The assistance of counsel will allow me to subpoena and properly express
    my claim and how important this document and others are to my claim
17 and why Riverside County Family Courthouse refused to allow me to file
    and Ex-Parte on July~1~st 2019 and instead arrested me and took my
18 court documents.[FAMS~ 19013201. This is a huge factor of why I was
    not allowed to file my Ex-Parte on July 1st, 2019.
19        Complexed Issue;# 9:
          Charges I was facing in Riverside Superior Court, Case #:DVRI
20 1901830, the same pattern and practice from fabricating and withholding
    crucial evidence, as in 1998 & 1999 with Horace Roberts.
21        In October 2019, Horace Roberts filed a Ex-Parte Application
    a~ainst the County of Riverside for false imprisonment for over 15 years
22 ( arris v. County of Riverside). Horace Roberts was aforty-year-old U.S.
    1Vlarine Corps veteran, hardworking professional, and father of two young
23 children when Respondents)framed him for the 1998 murder of Terry
    Cheek. In 1999 Horace Roberts was wron ly convicted due to
24 RESPONDEN~'(S)'s actions and conduct. ~e spent two decades in prison.
    This is nearly the same incident I have undergone with Riverside
25 Superior Court, but not with the same allege~d crime.
          In the case filed against RESPONDENTS~),PETITIONER Horace
26 Roberts has four attorneys to help with his Ex-Parte Application and
    action against RESPONllENT(S). I am unable and uncapable to
27 successfully litigate this case on my own, but am.forced to litigate a case
    to prevent a false warrant for an arrest and regain my physical liberty
2s and privacy. This court will find that the Horace Roberts' case has
    extremely similar facts to my action against RESPONDENT(S).
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                       EXCEPTIONAL CIRCUMSTANCE:
           Physical and Mental Health from the Stress; Due to my current
      physical and psycholo ical condition, I am unable to properly,represent
      myself and need lega~assistance because of the heart condition I suffered
      in 201~ and trauma I have when I think about the incident's that have
      occurred. I AM AT RISK OF ANOTHER HEART INJURY.
            For exam le, I am in constant fear of answering my cell phone
      because of RE~ONDENT(S)'s previous actions and current order of
      being allowed to record my communications and monitor my Internet, and
      monitor m~ physical location throughout the United States. I have chronic
      insomnia rom the incidents and I have certain panic attacks. I am also
      blind in my left eye, so under the stress involved with this legal matter, I
      am at risk to my.eye vision further worsening. My heart is also at risk of
      another heart injury because of current harassment and fear of law
      enforcement.

l0~ ~ V. Ralph Civil Rights Act of 1976
11       Under the Ralph Civil Rights Act of 1976 all persons within the
   jurisdiction of California have the right to be free From any violence, or
12 intimidation by threat of violence, committed against their persons or
   property because of their political affiliation, or on account of any
13 characteristic listed or defined in Civ. Code ~' S1(b~ or ~,or position in a
   labor dispute, or because another person erceives them to have one or
14 more of those characteristics Civ. Code 51.7 b ;for discussion of Civ.
      Code 51 c ,~,see Ch. 116 tvt a ts: ascramination in Business
 15    sta as ments 11      or iscussion o waiver o rig is un er tiv.
       o e       ,see       e owl. The identification of theseparticular bases of
 16  iscrimination is i ~ustrative rather than restrictive f(.~'iv. Code 51.7(b);
    see McCalden v. Cali ornia Librar Assn 9th Cir. 9~vF~c~~~~~~t,
 17 cert. enae su nom. amon          aesent a tr. or o ocaust to aes u.
    McCalden (1992)504 U.S. 957, 112 S. Ct. 2306, 119 L. Ed. 2d 227
 18 "holocaust revisionist" protected under statute)].

19
      ~aiv.orCode   51.7 does not apply to statements concerning positions in a
               is ute t at are made during otherwise lawful labor picketing [Civ.
         5~ 7 d .
20 Code
     e proscription on intimidatio threat of violence has survived
   Amendment challenge [see McC
21             14 1222, cert.    sun nom. Damon wtesentnac t,~tr. or
    0 ocaust to Les u. McCalden 1992)504 U.S. 957, 112 S. Ct. 23 6, 119
22 L. Ed. 2d 227.

23          Whoever denies, or aids, incites, or conspires in a denial of rights
      provided by Civ. Code 51.7 is liable for each and every offense ~'or the
24    actual lamages su ere        y any person denied those rights [Ciu. Code
      ~52(b)~ For these p~urposes of, "actual damages" means specia~c~
25    e
      ge       damages fC~'iu. Code ~' S2(h)1. In addition to actual damages, the
      wrongdoer is liable in an amount as may be determined by a jury, or by a
26    court sitting without a jury for exemplary damages, plus a civil penalty of
      $25,000, to be awarded to tie erson denied the rights in any action
27    brought by that p~erson orb       e Attorney General, a c~istrict attorney, or
                                    52
      a city attorney ~(,'iv. Code ~ ()~b
28

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            Injunctive relief is also available if there is reasonable cause to
      believe that a person or persons are engaged in conduct of resistance to
 2    the full en'oyment of a person's rights under Ciu. Code 51.7[see Civ.
      Code 52 c ;see also Stats. 1991, ch. 839, § 3 egis ature intendeot
 3    mo i prerequisite for injunctive relief in 1991 amendment to CiU. Code
        52 c •, by providing civil remedy for classes of persons specifica7~
 4    i enti ied in Ctu. (;ode 51.7 and 52, Legislature did not intend to limit
      availability o injunctive re ief for an other form of discrimination
 5    prohibited by Civ. Code ~, 51.7 and ~2 ].
 6         Attorney's fees in an amount determined by the court are also
      recoverable fC~'iv. Code ~ 52(b)1.
          An action under Ciu. Code 51.7 including an action for the civil
    penalty provided in Cau. o e            to be awarded to the person
    denied the right prove e y ay. o e 51.7 in an action brought by the
  9 person denied the right or byte ttorney eneral, a district attorney, or
    a city.attorney must be commenced within three years of the alleged
 to practice [Ciu. 'ode 52(b)(2); Code Civ. Proc. ~ 338(n)1.

 11         A civil damages action for violation of Civ. Code 51.7 is barred by
      discretionary immunity [see.Gov. Code 84 tot e extent that the action
 12   is premised on an alleged fai ure to prove e sufficient police protective
      services see Gates v. Superior Court(1995)32 Cal. App. 4th 481, 508-513
13    38 Cal. tr.-~d~$~~or~~discussion~7ia~iTities anTimmunitie~            so
        u is en sties an employees, see Ch. 464, Public Entities and Officers:
14    C alifornia Tort Claims Actl.
        ny person c aimin got ~eaggrieved by an alle~ed unlawful practice in
 15   violation of Civ. Code 51.7 may also file a veri~-ied complaint with the
      Department o air mp o~ yment and Housing(DEER)pursuant to Gov.
 16   Code ~ 12948fCiv. Code ~ 52(f~l.
 17      The civil remedies provided in Civ. Code 52 b    may not be
    waived by contract except as provide in iv. o e         Cay. Code
 is 52 i ;for discussion of waiver under Civ. o e      ,see      e ow].
 19      Fora eneral form of complaint for damages and injunctive relief for
   violation of~he Unruh Civil Rights Act, which may be ada ted for use to
20 allege a cause of action pursuant to Civ. Code 51.7, see ~h. 116 Civil
   ~i~~its:)iscriminrti~n an jusincss sty is ments. ~' I1           or a re ated
21      ins                   acaa    ;ncac o c,aca ornaa ~avac cur
                                      s exis att ew en er, ficial
22 rubiisner~, also avaiiaaie in LexisNexis Automated Judicial Council of
   California Civil Jury Instructions.
23
           PETITIONER alleges:
24

25
        PETITIONER, Abanoob Abdel-Malak, is an individual and is now,
   and at all times mentioned in this complaint was, a resident of County,
26
   California.

27      Defendant, [nameJ, is now, and at all times mentioned in this
   complaint was, a resident of County, California.
28
           PETITIONER does not know the true names of Respondents) DOE
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    1 throu h DOE 5 inclusive, and therefore sues them by these fictitious
    names. PETITIONER will amend this complaint to include their names
  2 and capacities once they are known.

          PETITIONER is informed and believes, and based on that
    information and belief alleges,. that, each of the Respondents) designated
  4 as a DOE is legally, responsible in some manner for the occurrences
    alle ed in this complaint, and unlawfully caused the injuries and damages
  5 to PETITIONER as alleged in this complaint.

  6
          At all times mentioned in this complaint, unless otherwise alleged,
  7 each defendant  was the agent, employee, and coconspirator of every other
    defendant, and in doing the acts alleged in this complaint, was acting
    within the course, scope, and authority of that agency, employment, and
  8 in furtherance of the conspiracy, and with the knowledge and consent of
  9 each of the other Respondent(s).

 10         The acts that are the subject of this complaint occurred on or about
      [dateJ, in [cityJ, County, California.
 11
            PETITIONER is [specify for instance: a 21 year old African-
 12 American college student of slig~it build.)

 13      Defendant, [name, and DOES 1 through 5 are [all white teenage
    males or as the case may be]. PETITIONER is informed and believes, and
 14 on that basis alleges, that each of Respondents) is[a member of the local
    High School football team or as the case may be].
 15

 16      fS~et forth detailed description of violence or threat of violence against
    PETITIONER'S person. or property giving rise to complaint. Any
 17 derogatory language, epithets, or other evidence
                                                        indicating that actions of
    Respondent(s). were motivated by bias should be ~ully set forth. If there
    were prior interactions between PETITIONS
 is indicating                                                and Respondents)
                prior tensions or bias, they should also be set forth.)
 19
            PETITIONER is informed and believes, and on that basis alleges,
 20 that the incidents described in paragraphs throu h inclusive, were
    motivated by Respondent(s)' hatred and prejudice o~[~frican-Americans
 21 or other protected class).

 22        [ If events also give rise to cause of action under Bane Act, Civ. Code,
       § 52.1, include Bane Act cause of action.
 23
            Respo~ndent(s), by their use of violence or threats of violence against
 24 PETITIONER because of PETITIONER'S [race or other protected status),
       violated PETITIONER'S right to be free from violence or intimidation by
 25 threats of violence as guaranteed by Civ. Code § 51.7.

 26
          As a direct and roximate result of the conduct of Respondents),
 27 and  each  of them, PETITIONER has suffered and will continue to suf er
    [specify injuries suffered and anticipated, for example: physical injuries,
 28 humiliation, and mental anguish.)

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         Respondent(s)' violation of PETITIONER's rights as guaranteed by
    Civ. Code  § 51.7 entitles PETITIONER to compensatory and punitive
  2 damages, a $25,000 civil penalt ,attorney fees, and injunctive relief, all of
    which are provided for in Civ. ode § 52 and are requested below.
          In doing the acts alleged in this complaint, Respondent(s) knew or
  4 should have known that their actions were likely to inure PETITIONER.
    PETITIONER is informed and believes, and on that basis alleges, .that
    Res ondent(s) intended to cause in~ur to PETITIONER and acted with a
    will~ul and conscious disregard o~ P~TITIONER's rights as secured by
  6 Civ. Code § 51.7, thus entitling PETITIONER to recover punitive
    damages pursuant to Civ. Code § 52, subd.(b)(1).
  7

  8   16. Unless Res ondent~s~ are restrained by a preliminary and permanent
      injunction, PE~ITION       will continue to Buff"er severe, irreparable harm
  9   in that [set forth facts indicating risk that Res ondent(s) .conduct will
      continue unless restrained and that PETITION will contanue to suffer
 to   injury.) PETITIONER has no ade uate remedy at law because monetary
      damages, which may compensate ~or past violence or threats of violence,
 11   will not afford adequate relief for the f"ear, humiliation, and risk of in'ur~
      that a continuation of Respondent(s)' conduct, in denial of PETITIONER s
 12   rights, will cause.

 13       WHEREFORE          PETITIONER              requests      judgment   against
      Respondents) as follows:
 14

 15        1. General damages according to proof;

 16        2. Special damages according to proof;
 17        3. Punitive damages pursuant to Civ. Code § 52, subd.(b)(1);
 18        4. A statutory civil penalty of $25,000 pursuant to Civ. Code § 52,
      subd.(b)(2);
 19

 20        5. Reasonable attorney fees, according to proof, pursuant to Civ.
      Code § 52, subd. (b)(3);
 21
         6. A preliminary injunction against Respondents), and each of
 22 them,   enjoining Respondent(s): [speci~ conduct to e en oined ~or
    example.• to stay 100 yards away rom P TITIONER and PE~ITIOI~E 's
 23 home and worksite and to re rain rom making telephone calls and
    mailin correspondence to P TITI NER, or attempting to contact
 24 PETI~ONER an any manner];

 25       7. A permanent in unction against.Respondent(s), and each of them,
    enjoinin    Respondent(~s) from: [specafy permanent injunctive relief
 26 requeste~J;

 27        8. PETITIONER's cost of suit; and
 2s
           9. Such other relief as the court deems just and proper.
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  1                                                                          Dated.
  2                                                                        agnature
                                                          Attorney for PE I'I'IONE
  3

  4        PETITIONER's paragraph: In the paragraph identifying

  S I PETITIONER,counsel should provide as much descriptive information as
  6 possible to establish PETITIONER's membership in a protected class and

  7 any particular vulnerability of the PETITIONER to the acts alleged to

  8 have occurred.
  9
           Respondents)paragraph: In this paragraph, counsel should describe
 10
      those characteristics of the Respondents) that are different from those of
 11
      the PETITIONER mentioned in the previous paragraph. The paragraphs
 12
      identifying PETITIONER and defendant should set the stage and clarify
 13
      the alleged motivational bias that led to the actions alleged in subsequent
 14
      paragraphs.
 15

 16        Preliminary injunction: If the PETITIONER seeks a preliminary

 17 injunction in a Ralph Act case, the PETITIONER must provide a

 18 sufficient factual basis for such relief in either a verified complaint or in a

 19 declaration filed when the injunction is sought. [See Code Civ. Proc., §

 20 527] While counsel may choose to file a verified complaint, the better

 21 practice is to also include a detailed declaration with the moving papers.

 22
           Emotional distress allegations and discovery: When alleging
 23
      emotional distress, counsel should consider the advantages and
 24
      disadvantages of:(1) recommending that a client receive therapy; or (2)
 25
      seeking reimbursement for therapeutic treatment. PETITIONER's
 26
      attorney should explore with the client any prior psychological or
 27
      psychiatric treatment and the effect of those records being sought in
 28
      discovery.
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                                      Conversion
           PETITIONERs reallege and incorporate the allegations set forth in
      each paragraph of this Ex-Yarte Application.
           PETITIONERs reallege and incorporate the alle ations set forth in
      each para raph of this Ex-Yarte Application, PETITI~ER was targeted
      because o~his erceived characteristic of being an Egyptian Middle
      Eastern Male ~ eaking Arabic with a and long name of ABANOOB
      MOUNIR RAG~EB A13DEL-MALAK,
           The Defendant's conduct was substantially motivated because
      PETITIONER was not white, not wealthy, not a resident of Riverside, was
      not an attorney,was not Mormon, and was called a "sand-nigger",
      attempted to place methamph~etamine in PETITIONERS clothing, and on
      a medical test the PETITIONER denied to take.
          PETITIONER was in possession of his personal property, Ex-Parte
 10  Court documents at the time Defendant's agents and employees falsely
     arrested and confiscate PETITIONER'S roperty and seized and
 1 1 immediately destroyed without notice. defendant's agents and employees
     unlawfully prohibited PETITIONERS from filing court documents and
 12 securing personal property. PETITIONER was threatened with forcible
     arrest and was then arrested and beaten.
 13
          The six enumerated `federally protected activities' are: `(A)
 14                                                               (B)
    enrolling in or attending,any public school or public college;.
    participating in or enjoying any benefit, service, privilege,
 15  rogram,facility,or activity provided or administered by any
      ~
     ta£e or subdivision thereof;(C) applying for or enjoyin
 16 employment,...;. (D)serving...as grand or petit juror!(~ traveling in
    or using any facility of interstate commerce,...;(F~ enjo~nn the oods [or]
 17 services [of certain places of public accommodation]. 18 U.~.C. §~
    245(b)(2).]
 18
            Respondents and its a~ gents and employees had a dut owed under
 19   color of law, to the PETITIONER. A duty was owed to the P~TITIdNER
      to allow him to file an Ex-Parte and purchase certified copies of court
 20   document's under California Civil Code §~ 2080.2, 2080.4 and 2080.6. and
      under 18 U.S. Code —Federally Protecte Activities. PET~TIONERs'
 21   property was not abandoned at the time that Defendant seized it and
      immediately destroyed it and Defendant's agents and employees knew
 22   that the ro erty was not abandoned. Defendant breached its dut to
       rotect ~~TIUNER's personal property and to protect PETITI~NER's
 23   ~ederally protected activity when its agents and em to ees wrongly
      exerted dominion over the property and denied PE~I~ONER his
 24   constitutional and statutory rights.
 25       Defendant had no legitimate governmental interest that gave its
    a ents and employees the legal right or justification for confiscating
 26 P~TITIONER's, court document's ro erty and then immediately
    demolishin it and arresting the ~~TI~IONER without prior notice to
 27 PETITIONER and without procedure to permit PETITIONER to recover
    his property, and without fair compensation to PETITIONER.
 28

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            As a direct and proximate consequence of the acts of Defendant's
      agents and employees, PETITIONERS have suffered and continue to
      suffer loss of their personal property and are entitled to compensatory
      damages for their property and other injury to their person.
            PETITIONERS also seek attorney fees under this claim pursuant to
      42 U.S.C. § 1988 and for violation of the Bane Act, Section 52.1,
      subdivision (b) which states that any individual whose rights have been
      interfered with by threats, intimidation or coercion,"may institute and
      prosecute in his or her own name and on his or her own behalf a civil
      action for damages including, but not limited to, damages under Section
      52, injunctive relied', and other appropriate equitable relief to protect the
       eaceable exercise or enjoyment of the right or rights secured.'(Civ. Code
        52.1.) Section 52 permits such relief as actual damages, statutory
        ama es (includin~civil penalties), exemplary damages, and attorney's
      fees. ~iv. Code § .)
               FRAUD/FORGERY/DENIED ACCESS TO COURTS
 to        PETITIONERS reallege and incorporate the alle ations set forth in
      each paragraph of this Ex-Yarte Application, PETITI~ER was targeted
 11   because of"his erceived characteristic of being an Egyptian Middle
      Eastern Male ~ eaking Arabic with a and long name of ABANOOB
 12   MOUNIR RAG~EB ABDEL-MALAK
            The Defendant's conduct was substantially motivated because
 13   PETITIONER was not white, not wealthy, not a resident of Riverside, was
      not an attorney,was not Mormon, and was called a "sand-nigger",
 14   attempted to place methamph~etamine in PETITIONERs clothing, and on
      a medical test the PETITIONER denied to take.
 15        PETITIONER was in possession of his personal property, Ex-Parte
      Court documents at the time Defendant's agents and employees falsely
 16   arrested and confiscate PETITIONER'S roperty and seized and
      immediately destroyed without notice. defendant's agents and employees
 17   unlawfully prohibited PETITIONERs from filing court documents and
      securing personal property. PETITIONER was threatened with forcible
 18   arrest and was then arrested and beaten, and threatened with retaliation
      by being in violation of"Contempt of Court" and "Trespassin "
 19         The six enumerated `federally protected activities are: `(A)
      enrolling in or attending any public school or public college;.
                                                                    (B)
 20   participating in or enjoying any benefit, service, privilege,
        rogram,facility,or activity provided or administered by any
 21   ~tate or subdivision thereof;(C) applying for or enjoyin
      employment,...; ~D) serving...as grand or petit juror;(~} traveling in
 22   or using any faci ity of interstate commerce,...; ~F) enjo in the oods [or]
         vice2[of certain places of public accommodation].' 1~U.~.C.
 23   245c~~Cespondent(s)
             )            and its a~ gents and employees had a dut         owed under
 24 color of law, to the PETITIONER. A duty was owed to the P~TITIC~NER
      to allow him to file an Ex-Parte and purchase certified copies of court
 25 document's under California Civil Code §~ 2080.2, 2080.4 and 2080.6. and
      under 18 U.S. Code — Federally Protecte Activities. PET~TIONERs'
 26 property was not abandoned at the time that Defendant seized it and
      immediately destroyed it and Defendant's agents and employees knew
 27 that the ro erty was not abandoned. Defendant breached its duty to
      protect ~~TIUNER's personal property and to protect PETITIUNER's
 28 federally protected activity when its agents and employees wrongly

                                            - t21-
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      exerted dominion over the property and denied PETITIONER his
      constitutional and statutory rights.
            Defendant had no legitimate overnmental interest that gave its
      a ents and employees the 1ega1 rig~t or justification for confiscating
      P~TITIONER's, court document's roperty and then immediately
      demolishin it and arresting the ~~TI'1'IONER without prior notice to
      PETITIONER and without procedure to permit PETITIONER to recover
      his property., and without fair compensation to PETITIONER.
            As a direct and proximate consequence of the acts of Defendant's
      agents and employees, PETITIONERS have suffered and continue to
      suffer loss of their personal property and are entitled to compensatory
      damages for their property and other injury to their person.
            As more fully described above, the forged court documents and false
      arrest for attemptang to file an ex-parte, in addition to the forged
      substitution of Attorney, and forged sti ulation. The court clerks,
      deputies, judicial officers were aware o~the incidents with my signature
      and false arrest.
            The misconduct described in this count was objectively unreasonable
 10   and was undertaken intentionally and with willful indifference to
      PETITIONER's constitutional rights. The conduct of Defendant was
 11   wanton, malicious and done with reckless disre~and for the rights and
      safety of PETITIONER and therefore warrants the im osition of
 12   exemplary and punitive damages as to Defendant DOS.
            As a result of Respondent(s)' misconduct described in this count,
 13   PETITIONER suffered extreme pain and suffering, loss of employment
      loss of earning capacity, loss of business earning capacity, loss of loss of
 14   liberty, great.mental anguish, humiliation, degradation, physical.and
      emotional pain and suffering, and other grievous and continuing injuries
 15   and damage~s.
            ABANOOB ABDEL-MALAK and SINAI ACQUISITION LLC seek
 16   dama es in the amount of $50,000,000.00.
            ~ETITIONERs also seeks attorney fees and expert fees under this
 17   claim pursuant to 42 U.S.C. § 1988 and for violation of the Bane Act,
      Section 52.1, subdivision (b) which states that any individual whose rights
 18   have been interfered with by threats, intimidation or coercion,"may
      institute and prosecute in his or her own name and on his or her own
 19   behalf a civil action for damages, including,but not limited to, damages
      under Section 52, injunctive relief, and other ap ropriate equitable relief
 20   to protect the peaceable exercise or enJoyment o~the right or rights
      secured."(Civ. Code§ 52.1.) Section 52 permits such relief as actual
 21   damages, statutory lamages (including civil penalties), exemplary
      damages, and attorney s fees. (Civ. Code § 52.).
 22
      VI. RELIEF REQUESTED
 23
           1.DECLARATORY RELIEF AND INJUNCTIVE RELIEF AND
 24        EQUITABLE RELIEF
           PETITIONERS reallege and incorporate the allegations set forth in
 25   each paragraph of this Ex-Yarte Application.
           A real and immediate difference exists between PETITIONER and
 26   Defendant regarding PETITIONERS rights and Defendant's duty owed to
      PETITIONEl~,s to his right to privacy, and access to courts without
 27   harassment under federally protected activities. Defendant's policies and
      actions have resulted and will result in irreparable injury to
 28   PETITIONER. There is no plain, adec~uate or complete remedy at law to
      address the wrongs described herein. llefendant has made it clear that it
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      intends to continue these practices of depriving and conspiring against
      PETITIONER without warrant and notice. Unless restrained by this
      court, Defendant will continue to implement this policy and ractice of
      confiscating and summarily destroying crucial evidence to P~TITIONER's
      Ex-Parte Application.
            Defendant's acts alleged above violate established constitutional
      rights of PETITIONER and Defendant could not reasonably have thought
      that the conduct of its agents and employees in seizing and destroying
      PETITIONERS' property and privacy was lawful.
            An actual controversy exists between PETITIONER and
      Respondent(s) in that Defendant's agents and employees have engaged in
      the unlawful and unconstitutional acts alleged herein and intend to
      continue to do so In addition to possible Fraud on the Court and Fraud
      Upon the Court. ~ETITIONERs claim that these acts are contrary to law
      and seek a declaration of their rights with regard to controversy
          As a direct and proximate consequence of the acts of Defendant's
    agents and employees, PETITIONER has suffered and will continue to
 10 suffer damages through injury to their person and the loss of their
    personal property, including loss of career.
 11
    WHEREFORE,PETITIONER Prays as follows:
 12
            1. Immediately Open A Hate Crime Police Report With The
 13 Federal Bureau of Investigations and Department of Justice
      p~ursuant Penal Code Section 13023, Penal Code section 832.5,
 14 (civil Code section 52.3 and 52.1, Penal Code section 1359.4, and 42
      U.S.C. 14141 regarding The Hate Crimes Mentioned Herein and
 15 The False Police Reports and An Order Granting Leave To Amend
      Complaint;
 16
            2. Immediately dismiss and/or investigate all orders, court
 17 documents, minute orders in case DVRI 1901830, 5:19-cv-01808 DOC KKx
      and FAMSS 1901320 and E074593, and criminal case M268212DV;
 ~8
            3. For an emergency protective order pursuant Penal Code section
 19 136.2; temporary restraining order, preliminary injunction and
        ermanent injunction, enjoining and restraining Respondent/Defendants
      ~pursuant
 20 rom engagin~g in the policies, ractices and conduct complained of herein
                to Unruh Civil Righ~s Act Ralph Civil Rights Act of 1976, Tom
 21 Bane Civil Rights Act ursuant to G~alifornia Civil (rode § 51, § 51.1, §
      51.5, § 51.6(b), § 51.7, ~52, § 52.1, § 52.3(a), § 52.4(a);
 22
          4. Immediately restraining and enjoining Respondent(s)'
 23 from destroying altering, or concealing video footage &   hone
    call recordings from July 1st 2019 inside the Riverside ~amil~y
 24 Court House and Riverside T~etention Center when PETITIONER
    was unlawfull arrested and falsely imprisoned while in line of
 2s the Riverside ~uperior courthouse; and,
 26      5. Permanently restraining and enjoining Respondent(s),from
    destro ing~ altering, accessing, or concealing documents pertaining to
 27 PETI~IONER's Medical Records.

 28

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           6. Temporarily restraining and enjoining Respondents)from
      destroy~n altering or concealing documents pertaining to case DVRI
      1901830,~AMSS 101320.
            7. Temporarily restraining and enjoining Respondent(s)'from
      destroying, altering, or concealing video footage &phone call recordings
      from July 1st, 2019 inside the Riverside Famil Court House and
      Riverside Detention Center when PETITION was arrested while in
      line of the court house.
           8. Temporarily restraining and enjoining Respondent(s)'from
      destro ing~ altering or concealingphone calls from the cell where the
      PETI~IOIVER was detained on July 1st, 2019.
            9. Temporarily restraining and enjoinin Respondents)from
      disclosing any Protected Information without~irst implementing
      reasonable safeguards to maintain and protect the privacy, security
      confidentiality, and integrity of such Protected Information;
 10
          10. Temporarily restraining and enjoining Respondents)from
 11 disclosing or benefiting from any Protected Information that any
    Defendant disclosed prior to date of entry of TRO and without having
 12 implemented reasonable safeguards to maintain and protect the privacy
    security, confidentiality, and integrity of such Protected Information;
 13
            11. Requiring Respondent(s) and any person hosting or otherwise
 14   controllin any Internet content, server, or website that contains
      Protected~nformation posted by or on behalf of any Defendant to
 15   immediately take steps to ensure that the Protected Information on any
      website, blog, or social media service is no lon er viewable or accessible by
 16   persons using the Internet; prevent the alteration, destruction, or erasure
      of any Internet content, servers, or websites that contain Protected
 17   Information posted by or on behalf of the Respondent(s); and implement
      reasonable safeguards to maintain and protect the privacy, security,
 18   confidentiality, and integrity of any Protected Information;
 19       12. Requiring Respondents) to provide notification to each person
    whose Protected Information they disclosed without implementing and .
 20 using reasonable safeguards to maintain and protect the privacy, security,
    confidentiality, and integrity of such Protected Information;
 21
           13. Restraining and enjoining Respondents) and certain third
 22   parties from destroying or concealing documents;
 23       14. Authorizing expedited discover from Respondents) and third
    parties, for the purpose of discovering information about Respondent(s)'
 24 identities, assets, and/or business activities;

 25       15. Requiring Respondents) to show cause why this Court should
    not issue a preliminary injunction extending such temporary relief
 26 pending an adjudication on the merits; and

 27        16. Providing the assistance of legal counsel in this highly
      complexed matter;
 2s
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        17. Preventing this filing to be randomly assigned to any Judge, .
    Co~t Clern,~ari Bailiff, Employee who has any connection or association
  2 wit Respo e (s)

  3        18. Providing for other equitable relief;
  4       19. Granting an emergency protective order, temporary
    restraining order, preliminary injunction and permanent in unction,
  5 enjoining and restraining Respondents)from engaging in t~e policies,
    practices and conduct complained of herein;
  6
           20. Issue a declaratory judgment that Defendant's~ policies,
  7   practices and conduct as alleged herein violates PETITION ERs' rights
      under the United States Constitution, the California Constitution and the
      laws of California;
  9        21. For an order certifying the injunctive relief class pursuant to
      F.R.Civ.P. 23(b)(2);
 to
           22. Fore~ qu~itable relief and investigation pertaining to case DVRI
 11   1901830 and FAMSS 1901320 based on fraud from the misconduct
      mentioned in this Ex-Parte Application;
 12
            23. Preliminarily and permanently enjoin Respondents)from
 13   violating the California Public Records Act;
 14      24. For damages three times actual damages for cost of medical
    treatment, lost wages, propert repair; payment f"or emotional suffering
 15 and distress but no less than $y1000.00 per incident pursuant to Cal. Civ.
    Code §§ 52, 52.1 and Cal. Government Code § 815.6;
 16
           25. For compensatory damages, including both survival damages
 17   and federal civil rights statutory damages under federal law and state
      law,in the amount of $60,000,000,00 or an amount to be proven at trial;
 18
           26.   For interest;
 19
           27.   For medical expenses and loss of financial support;
 20
              24. For punitive and exemplary damages against the individual
 21   Respondents) in an amount of $100,000,000.00 or an amount proven at
      tr~ al,
 22
          28. Grant PETITIONER-Petitioner reasonable attorney~s' fees and
 23 costs and experts'fees and costs of litigation under California (rode of
    Civil Procedure § 1021.5 California Government Code§ 54960.5, 42 U.S.C.
 24 § 1988, under Cal. Civ. Geode §§ 51.7, 52 & 52.1; and any other applicable
    provisions of law• and for the costs of suit and attorney fees and expert
 25 fees as provided ~y law;

 26      29. Granting the assistance of legal counsel in serving and
     roperly conducting the necessary elements with initiating and drafting a
 27   ~
     x-Yarte Application, in order to avoid the case being dismissed, due to
    my severe financial hardships from the misconduct in this Ex-Parte
 2s Application;

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            30.    For Civil Penalties under Cal. Civ. Code §§ 51.7, 52 & 52.1;
  2        31.     Award such other relief as the Court deems just and proper.
  3        32.     Open an Investigation and Report the Hate Crimes mentioned
      herein;
  4
            33. For general, special, compensatory (including lost.wages and
  5   benefits), statutory, exemplary and punitive damages according to proof;
  6        34.     For injunctive relief as described above;
  7        35.     For costs of suit;
  8        36. For attorneys fees as permitted by law; and
  9        37.     For any and all other appropriate relief the Court deems
      necessary
 10

 11   VII. CONCUSION
 12        I believe I have demonstrated my diligence and efforts in requesting
 13
      help with the color of law violations and HATE CRIMES I have
 14
      encountered, and now I am left with little choice but to Pray that this
 15
      Court will grant this Ex-Parte Application under the Ralph Act, Civil
 16
      Code Sections 51.7 and 52, states that it is a civil right for a person to be
 17
      free of violence or its threat against the person or his or her property
 1s
      based on a wide range of personal characteristics, including sexual
 19
      orientation or the perception of sexual orientation. The Ralph Act(and the
 20
      Unruh Act) is enforced by the Department of Fair Employment and
 21

 22
      Housing. The Ralph Act provides for civil penalties up to $25,000 in fines

 23
      for perpetrators of a hate crime and remedies for the victims of hate

 24   crimes of three times tie actual damages, but no less than $1,000, plus
 25   punitive damages and attorney's fees; is needed to protect me from the
 26   ongoing harassment, prior to proceeding in Superior Court with my Civil
 27   Rights Ex-Parte Application
 28               ~c..~ '~7 ~ ~ G~Z '1
      ~I DATED:"~~,`' "'—
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  1                                                               ~vq MaIgK
                                                         Your signature
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                                                        MALAK
  3                                                      In Pro Se
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